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          EXHIBIT HHH
Mil‘iR-EE’I-EE’IlS E19: 2216M From: 66626 61622444?l2l To: 1666524636? Page: 1/1
March 30, 2015
To Whom It May Concern:
Please be advised that the increase of income from royalties from 2013 to 2014 is for the music that I
have written and produced that get played on syndicated CBS television for the Arsino Hall show. As the
owner of the music, | get paid quarterly for the previous quarter’s usage of my music and because this
show is on syndicated television lam legally to he paid for the usage of my music every time it gets
played every night the show airs both nationally and internationally. I have already received $57,000.00
in rayalties for this year and expect another check for mugth the same amoant 4/13/15 and can
provide that should you need it. Ifyou have any questions please feel to call.
Sincerely,
Robin DiMaggio




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Writer Domestic Distribution For:
Member Name: ROBIN C DIMAGGIO
Member ID: 001578883
American Society of Composers, Authors and Publishers                                                                                  IPI #: 00598507201
1900 Broadway                                                                                                                                January 2015
New York, NY 10023
ROBIN C DIMAGGIO
5737 KANAN ROAD
SUITE 117
AGOURA HILLS, CA 91301
Royalty Gross                                  $56,626.86
Net Distribution Total                         $56,626.86
Advice #: 0000652918                     Date : 01-05-2015
Account #:5621
Retain This Portion For Your Records
American Society of Composers, Authors and Publishers                                                                         Advice #          0000652918




                                                                                                                  Case 1:17-ap-01099-VK                      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
1900 Broadway
New York, NY 10023
Date         01-05-2015
DEPOSITED INTO THE                           YOUR ENTIRE NET DISTRIBUTION HAS BEEN DEPOSITED IN YOUR BANK ACCOUNT (S).
ACCOUNT OF:                                                PLEASE REVIEW THE NET DISTRIBUTION SECTION OF YOUR STATEMENT FOR DETAILS.
ROBIN DIMAGGIO
ACCOUNT ENDING IN                 DEPOSIT AMOUNT
***********5621                   $56,626.86
Domestic Writer
January 2015
MEMO:                                                                                             NON NEGOTIABLE




                                                                                                                                                              Exhibit HHH-KKK Page 3 of 297
January 2015 Writer Domestic Distribution
April 01, 2014 to June 30, 2014 Performances
Survey Year 2014
Earnings Summary                                                                                                         Credit Value = $7.50
Member Name                                                                    Member ID                         IPI #
ROBIN C DIMAGGIO                                                               001578883                         00598507201
Year To Date Earnings Summary
Distribution Type   01/01 - 03/31         04/01 - 06/30     07/01 - 09/30     10/01 - 12/31     Total
Domestic                 $56,626.86                 $0.00             $0.00             $0.00    $56,626.86
International                 $0.00                 $0.00             $0.00             $0.00            $0.00
TOTAL                    $56,626.86                 $0.00             $0.00             $0.00    $56,626.86
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                                                                                                                                                                         Desc
January 2015 Writer Domestic Distribution
April 01, 2014 to June 30, 2014 Performances
Survey Year 2014
Performance Details                                                                            Credit Value = $7.50
Member Name                                                              Member ID     IPI #
ROBIN C DIMAGGIO                                                         001578883     00598507201
Statement Summary
Current
Performance Categories             Royalties        Adjustments       Total
ABC, CBS, NBC Network TV                       -                  -                -
FOX, CW, MY Network TV                         -                  -                -
Univision                                      -                  -                -
Local TV - Blanket                     $55,128.52                 -     $55,128.52
Local TV - Per Program                  $1,449.03                 -      $1,449.03
Cable TV - Blanket                        $49.30                  -           $49.30
Cable TV - Per Program                         -                  -                -
PBS                                            -                  -                -
Broadcast and Satellite Radio                  -                  -                -
Internet                                       -                  -                -
Additional Categories                          -                  -                -
Symphonic Concerts                             -                  -                -
Recitals                                       -                  -                -
Educational Concerts                           -                  -                -
Royalty Total                         $56,626.85                  -    $56,626.85
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January 2015 Writer Domestic Distribution
April 01, 2014 to June 30, 2014 Performances
Survey Year 2014
Performance Details                                                                               Credit Value = $7.50
Member Name                                                  Member ID                    IPI #
ROBIN C DIMAGGIO                                             001578883                    00598507201
Music User Summary
Performance Category: Local TV - Blanket
Current
Performance Categories
Royalties           Adjustments       Total
Local TV - Blanket                              $55,128.52               -   $55,128.52
Total                                          $55,128.52                -   $55,128.52
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                EXHIBIT III
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Payment Date   Card                                                   Payment        Cite
01/02/15       Shell Citibank 0663                                    $     100.00   Ex. LLL at 079
01/05/15       Citibank Card 0608                                     $     200.00   Ex. LLL at 240
01/07/15       Barclays Visa Black Card 8241                          $   2,403.73   Ex. KKK at 097
01/09/15       Citibank Costco Amex Card 1001                         $      35.27   Ex. LLL at 311
01/09/15       Amex 1004                                              $   1,757.04   Ex. JJJ at 002
01/09/15       Amex 1001                                              $      35.27   Ex. JJJ at 072
01/30/15       Barclays Visa Black Card 8241                          $   2,325.35   Ex. KKK at 100
02/03/15       Shell Citibank 0663                                    $     100.00   Ex. LLL at 082
02/11/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $   1,481.58   Ex. KKK at 002
02/12/15       Barclays Visa Black Card 8241                          $     358.13   Ex. KKK at 100
02/13/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $      13.23   Ex. KKK at 002
02/24/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $     582.22   Ex. KKK at 005
03/04/15       Citibank Card 0608                                     $   2,356.00   Ex. LLL at 244
03/24/15       Citibank Card 0608                                     $   3,504.47   Ex. LLL at 247
03/25/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $   3,827.37   Ex. KKK at 008
03/26/15       Barclays Visa Black Card 8241                          $     912.87   Ex. KKK at 104
04/04/15       Shell Citibank 0663                                    $     300.00   Ex. LLL at 086
04/10/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $   2,355.10   Ex. KKK at 008
04/14/15       Citibank Card 0608                                     $     241.00   Ex. LLL at 250
05/01/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $     702.03   Ex. KKK at 011
05/01/15       Shell Citibank 0663                                    $     316.00   Ex. LLL at 088
05/01/15       Citibank Costco Amex Card 1001                         $      95.17   Ex. LLL at 322
05/01/15       Amex 1001                                              $      95.17   Ex. JJJ at 080
05/07/15       Invincible Dimaggio Revolving Credit Line 1114         $     420.00   Ex. LLL at 150
05/27/15       Barclays Visa Black Card 8241                          $     400.00   Ex. KKK at 108
05/27/15       Citibank Costco Amex Card 1001                         $     100.00   Ex. LLL at 326
05/27/15       Amex 1001                                              $     100.00   Ex. JJJ at 083
06/02/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $     381.09   Ex. KKK at 014
06/02/15       Barclays Visa Black Card 8241                          $     385.10   Ex. KKK at 108
06/02/15       Citibank Card 0608                                     $   4,773.15   Ex. LLL at 252
06/04/15       Shell Citibank 0663                                    $     200.00   Ex. LLL at 090
07/02/15       Citibank Card 0608                                     $   1,485.44   Ex. LLL at 255
07/03/15       Barclays Visa Black Card 8241                          $     681.61   Ex. KKK at 110
07/06/15       Shell Citibank 0663                                    $     200.00   Ex. LLL at 092
08/03/15       Shell Citibank 0663                                    $     330.41   Ex. LLL at 094
08/10/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $     100.00   Ex. KKK at 020
08/10/15       Barclays Visa Black Card 8241                          $     100.00   Ex. KKK at 112
08/10/15       Invincible Dimaggio Revolving Credit Line 1114         $      50.00   Ex. LLL at 156
08/10/15       Citibank Card 0608                                     $      50.00   Ex. LLL at 258
08/13/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $   4,000.00   Ex. KKK at 020
08/13/15       Invincible Dimaggio Revolving Credit Line 1114         $     599.42   Ex. LLL at 156
08/13/15       Citibank Home Depot Card 4920                          $     187.69   Ex. LLL at 225
08/13/15       Citibank Card 0608                                     $   2,950.96   Ex. LLL at 258
08/13/15       Citibank Costco Amex Card 1001                         $     159.08   Ex. LLL at 338
08/13/15       Amex 1001                                              $     159.08   Ex. JJJ at 090
09/01/15       Citi 1939                                              $   2,100.00   Ex. LLL at 004
09/01/15       Invincible Dimaggio Revolving Credit Line 1114         $     200.00   Ex. LLL at 159
09/01/15       Citibank Card 0608                                     $     400.00   Ex. LLL at 261
09/02/15       Shell Citibank 0663                                    $      71.59   Ex. LLL at 096
09/05/15       Citi 1939                                              $   1,900.00   Ex. LLL at 007
09/05/15       Invincible Dimaggio Revolving Credit Line 1114         $     100.00   Ex. LLL at 159
09/05/15       Citibank Card 0608                                     $     400.00   Ex. LLL at 261


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Payment Date   Card                                                   Payment        Cite
09/12/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $     500.00   Ex. KKK at 023
09/12/15       Barclays Visa Black Card 9818                          $     500.00   Ex. KKK at 115
10/02/15       Citi 1939                                              $   2,132.16   Ex. LLL at 007
10/02/15       Invincible Dimaggio Revolving Credit Line 1114         $     549.73   Ex. LLL at 161
10/02/15       Citibank Home Depot Card 4920                          $     745.54   Ex. LLL at 227
10/03/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $   2,000.00   Ex. KKK at 026
10/03/15       Barclays MasterCard Black Card 1379                    $   1,431.15   Ex. KKK at 117
10/07/15       Shell Citibank 0663                                    $     118.36   Ex. LLL at 097
10/09/15       Citi 1939                                              $   2,178.00   Ex. LLL at 010
10/29/15       Citi 1939                                              $   4,000.00   Ex. LLL at 010
11/05/15       Barclaycard Arrival Plus World Elite MasterCard 0634   $   4,076.45   Ex. KKK at 029
11/05/15       Barclays MasterCard Black Card 1379                    $   5,833.11   Ex. KKK at 120
11/09/15       Citi 1939                                              $   4,573.83   Ex. LLL at 015
11/13/15       Citi 1939                                              $     600.00   Ex. LLL at 015
11/21/15       Barclays MasterCard Black Card 1379                    $      65.16   Ex. KKK at 123
11/25/15       Citi 1939                                              $     329.39   Ex. LLL at 015
12/08/15       Barclays MasterCard Black Card 1379                    $     462.57   Ex. KKK at 123
12/08/15       Citi 1939                                              $     130.23   Ex. LLL at 018
12/10/15       Shell Citibank 0663                                    $     400.00   Ex. LLL at 102
12/21/15       Citi 1939                                              $     100.00   Ex. LLL at 018
12/31/15       Citi 1939                                              $     500.00   Ex. LLL at 018
01/06/16       Citi 1939                                              $   2,000.00   Ex. LLL at 022
01/06/16       Citibank Card 0608                                     $   1,520.00   Ex. LLL at 269
01/08/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $     281.44   Ex. KKK at 035
01/28/16       Citi 1939                                              $      60.00   Ex. LLL at 022
01/28/16       Invincible Dimaggio Revolving Credit Line 1114         $      40.00   Ex. LLL at 167
01/28/16       Citibank Card 0608                                     $      40.00   Ex. LLL at 271
02/03/16       Citibank Home Depot Card 4920                          $      50.00   Ex. LLL at 234
02/03/16       Citibank Costco Amex Card 1001                         $      35.00   Ex. LLL at 354
02/03/16       Amex 1001                                              $      35.00   Ex. JJJ at 100
02/05/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $   4,043.49   Ex. KKK at 038
02/05/16       Barclays MasterCard Black Card 1379                    $   5,117.27   Ex. KKK at 128
02/05/16       Citi 1939                                              $   2,807.84   Ex. LLL at 025
02/05/16       Invincible Dimaggio Revolving Credit Line 1114         $   1,181.99   Ex. LLL at 170
02/05/16       Citibank Home Depot Card 4920                          $     840.00   Ex. LLL at 235
02/05/16       Citibank Card 0608                                     $     938.16   Ex. LLL at 271
02/05/16       Citibank Costco Amex Card 1001                         $     135.51   Ex. LLL at 354
02/05/16       Amex 1001                                              $     135.51   Ex. JJJ at 100
02/12/16       Shell Citibank 0663                                    $     300.00   Ex. LLL at 106
02/15/16       Citi 1939                                              $      20.85   Ex. LLL at 025
02/23/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $   1,030.14   Ex. KKK at 041
02/23/16       Barclays MasterCard Black Card 1379                    $   3,469.43   Ex. KKK at 131
02/23/16       Citi 1939                                              $     577.99   Ex. LLL at 025
02/23/16       Citibank Home Depot Card 4920                          $     211.40   Ex. LLL at 237
03/10/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $     248.50   Ex. KKK at 041
03/10/16       Barclays MasterCard Black Card 1379                    $     543.83   Ex. KKK at 131
03/14/16       Citi 1939                                              $     200.00   Ex. LLL at 028
03/25/16       Citi 1939                                              $     400.00   Ex. LLL at 028
03/25/16       Citibank Card 0608                                     $     200.00   Ex. LLL at 275
03/25/16       Citibank Costco Amex Card 1001                         $   1,535.00   Ex. LLL at 361
03/25/16       Amex 1001                                              $   1,535.00   Ex. JJJ at 104
03/31/16       Shell Citibank 0663                                    $     220.00   Ex. LLL at 110


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Payment Date   Card                                                   Payment         Cite
04/12/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $      100.00   Ex. KKK at 044
04/12/16       Barclays MasterCard Black Card 9683                    $      100.00   Ex. KKK at 135
05/03/16       Citi 1939                                              $       40.00   Ex. LLL at 031
05/03/16       Invincible Dimaggio Revolving Credit Line 1114         $       40.00   Ex. LLL at 176
05/03/16       Citibank Card 0608                                     $       40.00   Ex. LLL at 278
05/04/16       Citibank Costco Amex Card 1001                         $       35.00   Ex. LLL at 365
05/04/16       Amex 1001                                              $       35.00   Ex. JJJ at 107
05/10/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $      100.00   Ex. KKK at 048
05/10/16       Barclays MasterCard Black Card 9683                    $      100.00   Ex. KKK at 138
05/12/16       Shell Citibank 0663                                    $      300.00   Ex. LLL at 112
05/31/16       Citi 1939                                              $      100.00   Ex. LLL at 034
05/31/16       Invincible Dimaggio Revolving Credit Line 1114         $      100.00   Ex. LLL at 180
05/31/16       Citibank Card 0608                                     $      100.00   Ex. LLL at 283
06/02/16       Shell Citibank 0663                                    $      200.00   Ex. LLL at 114
06/03/16       Citibank Costco Amex Card 1001                         $      100.00   Ex. LLL at 369
06/03/16       Amex 1001                                              $      100.00   Ex. JJJ at 112
06/11/16       Barclays MasterCard Black Card 9683                    $      200.00   Ex. KKK at 141
06/13/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $      200.00   Ex. KKK at 051
06/27/16       Citi 1939                                              $    5,227.49   Ex. LLL at 037
06/27/16       Citibank Card 0608                                     $    5,059.37   Ex. LLL at 286
07/05/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $    1,500.00   Ex. KKK at 055
07/05/16       Barclays MasterCard Black Card 9683                    $    1,500.00   Ex. KKK at 143
07/05/16       Citibank Costco Card 2064                              $    1,000.00   Ex. LLL at 373
07/09/16       Shell Citibank 0663                                    $      300.00   Ex. LLL at 116
07/14/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $    7,234.14   Ex. KKK at 055
07/14/16       Barclays MasterCard Black Card 9683                    $    5,902.09   Ex. KKK at 143
07/14/16       Citi 1939                                              $    2,588.32   Ex. LLL at 039
07/14/16       Invincible Dimaggio Revolving Credit Line 1114         $    6,306.99   Ex. LLL at 182
07/14/16       Citibank Card 0608                                     $    2,759.29   Ex. LLL at 286
07/14/16       Citibank Costco Card 2064                              $    4,791.20   Ex. LLL at 376
07/15/16       Citibank Card 0608                                     $       93.17   Ex. LLL at 289
07/15/16       Citibank Costco Card 2064                              $      247.28   Ex. LLL at 376
07/20/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $       94.07   Ex. KKK at 058
07/20/16       Barclays MasterCard Black Card 9683                    $      156.53   Ex. KKK at 147
07/28/16       Amex 2003                                              $   18,358.88   Ex. JJJ at 047
07/30/16       Invincible Dimaggio Revolving Credit Line 1114         $       46.01   Ex. LLL at 184
07/30/16       Citibank Card 0608                                     $       97.72   Ex. LLL at 289
07/30/16       Citibank Costco Card 2064                              $    4,680.03   Ex. LLL at 376
08/10/16       Citi 1939                                              $    4,822.47   Ex. LLL at 041
08/10/16       Citibank Costco Card 7682                              $      311.36   Ex. LLL at 379
08/11/16       Citi 1939                                              $      137.62   Ex. LLL at 041
08/12/16       Barclays MasterCard Black Card 9683                    $    2,243.29   Ex. KKK at 147
08/14/16       Shell Citibank 0663                                    $      200.00   Ex. LLL at 118
08/15/16       Amex 2003                                              $    4,091.39   Ex. JJJ at 047
08/22/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $      973.82   Ex. KKK at 061
08/23/16       Citi 1939                                              $    3,992.00   Ex. LLL at 041
08/26/16       Amex 2003                                              $    6,360.93   Ex. JJJ at 054
09/01/16       Citibank Best Buy Visa Card 2756                       $    2,600.00   Ex. LLL at 217
09/02/16       Shell Citibank 0663                                    $      400.00   Ex. LLL at 120
09/03/16       Citi 1939                                              $    1,000.00   Ex. LLL at 041
09/06/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $      733.95   Ex. KKK at 061
09/06/16       Barclays MasterCard Black Card 9683                    $    4,549.20   Ex. KKK at 150


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Payment Date   Card                                                   Payment        Cite
09/06/16       Citi 1939                                              $   2,300.00   Ex. LLL at 041
09/06/16       Citibank Costco Card 7682                              $     100.00   Ex. LLL at 379
09/07/16       Citi 1939                                              $      87.13   Ex. LLL at 045
09/09/16       Citi 1939                                              $   2,300.00   Ex. LLL at 045
09/09/16       Citi 1939                                              $   2,300.00   Ex. LLL at 045
09/24/16       Citi 1939                                              $     699.90   Ex. LLL at 045
10/03/16       Invincible Dimaggio Revolving Credit Line 1114         $     128.63   Ex. LLL at 189
10/04/16       Citi 1939                                              $     103.48   Ex. LLL at 045
10/05/16       Citibank Best Buy Visa Card 2756                       $     581.55   Ex. LLL at 219
10/07/16       Citi 1939                                              $     158.90   Ex. LLL at 048
10/08/16       Invincible Dimaggio Revolving Credit Line 1114         $   5,125.86   Ex. LLL at 189
10/11/16       Citibank Costco Card 7682                              $      25.00   Ex. LLL at 383
10/20/16       Citi 1939                                              $   1,399.68   Ex. LLL at 048
10/20/16       Invincible Dimaggio Revolving Credit Line 1114         $     846.75   Ex. LLL at 189
10/20/16       Citibank Costco Card 7682                              $   2,885.38   Ex. LLL at 383
11/07/16       Barclays MasterCard Black Card 9683                    $     782.01   Ex. KKK at 155
11/07/16       Citi 1939                                              $       8.00   Ex. LLL at 050
11/07/16       Invincible Dimaggio Revolving Credit Line 1114         $     400.00   Ex. LLL at 192
11/07/16       Citibank Costco Card 7682                              $      51.88   Ex. LLL at 383
11/07/16       Discover Card 5237                                     $     267.30   Ex. MMM at 004
11/09/16       Shell Citibank 0663                                    $     300.00   Ex. LLL at 124
11/18/16       Barclaycard Arrival Plus World Elite MasterCard 0634   $   1,328.73   Ex. KKK at 070
11/18/16       Citi 1939                                              $   1,174.45   Ex. LLL at 050
11/18/16       Invincible Dimaggio Revolving Credit Line 1114         $     800.00   Ex. LLL at 192
11/18/16       Citibank Best Buy Visa Card 2756                       $     315.64   Ex. LLL at 222
11/18/16       Citibank Card 0608                                     $     504.77   Ex. LLL at 297
11/18/16       Citibank Costco Card 7682                              $     321.09   Ex. LLL at 386
11/25/16       Citi 1939                                              $       8.00   Ex. LLL at 050
12/03/16       Citi 1939                                              $     152.92   Ex. LLL at 050
12/03/16       Shell Citibank 0663                                    $     300.00   Ex. LLL at 126
12/15/16       Citi 1939                                              $   2,231.00   Ex. LLL at 053
12/20/16       Citi 1939                                              $   1,492.12   Ex. LLL at 053
12/20/16       Invincible Dimaggio Revolving Credit Line 1114         $   1,295.19   Ex. LLL at 195
12/21/16       Citi 1939                                              $       8.00   Ex. LLL at 053
01/03/17       Citi 1939                                              $   2,275.88   Ex. LLL at 053
01/04/17       Barclaycard Arrival Plus World Elite MasterCard 0634   $       2.99   Ex. KKK at 073
01/05/17       Shell Citibank 0663                                    $     150.00   Ex. LLL at 128
01/12/17       Citi 1939                                              $     158.90   Ex. LLL at 057
01/12/17       Invincible Dimaggio Revolving Credit Line 1114         $     279.28   Ex. LLL at 198
01/13/17       Citi 1939                                              $   1,938.13   Ex. LLL at 057
01/27/17       Shell Citibank 0663                                    $      83.78   Ex. LLL at 129
02/02/17       Barclays MasterCard Black Card 9683                    $     848.71   Ex. KKK at 159
02/02/17       Citi 1939                                              $   3,709.95   Ex. LLL at 057
02/02/17       Invincible Dimaggio Revolving Credit Line 1114         $   3,604.24   Ex. LLL at 202
02/10/17       Citi 1939                                              $   2,054.21   Ex. LLL at 061
02/10/17       Invincible Dimaggio Revolving Credit Line 1114         $     800.00   Ex. LLL at 202
02/10/17       Citibank Costco Card 7682                              $     172.92   Ex. LLL at 392
02/11/17       Citi 1939                                              $      23.47   Ex. LLL at 061
02/11/17       Citi 1939                                              $     180.00   Ex. LLL at 061
02/14/17       Citi 1939                                              $     252.58   Ex. LLL at 061
02/16/17       Citi 1939                                              $      66.78   Ex. LLL at 061
02/23/17       Barclaycard Arrival Plus World Elite MasterCard 0634   $      89.00   Ex. KKK at 077


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Payment Date   Card                                                   Payment        Cite
02/23/17       Barclays MasterCard Black Card 9683                    $     268.79   Ex. KKK at 161
02/25/17       Citi 1939                                              $     338.23   Ex. LLL at 061
02/25/17       Invincible Dimaggio Revolving Credit Line 1114         $   2,500.00   Ex. LLL at 202
02/25/17       Citibank Costco Card 7682                              $     489.07   Ex. LLL at 392
02/27/17       Shell Citibank 0663                                    $      50.00   Ex. LLL at 132
03/01/17       Citi 1939                                              $     530.19   Ex. LLL at 061
03/09/17       Citi 1939                                              $   3,000.00   Ex. LLL at 065
03/09/17       Invincible Dimaggio Revolving Credit Line 1114         $   1,623.40   Ex. LLL at 206
03/28/17       Citi 1939                                              $   5,000.00   Ex. LLL at 065
03/30/17       Citi 1939                                              $     164.98   Ex. LLL at 065
03/30/17       Shell Citibank 0663                                    $     100.00   Ex. LLL at 134
04/08/17       Citi 1939                                              $   1,332.82   Ex. LLL at 069
04/08/17       Invincible Dimaggio Revolving Credit Line 1114         $     500.00   Ex. LLL at 210
04/11/17       Citi 1939                                              $      39.99   Ex. LLL at 069
04/29/17       Citi 1939                                              $   1,137.99   Ex. LLL at 069
05/01/17       Citibank Costco Card 7682                              $   6,951.03   Ex. LLL at 396
05/02/17       Citibank Costco Card 7682                              $     145.00   Ex. LLL at 396
05/04/17       Shell Citibank 0663                                    $     200.00   Ex. LLL at 135
05/11/17       Citi 1939                                              $   7,391.39   Ex. LLL at 075
05/11/17       Citi Card 8943                                         $   7,391.39   Ex. LLL at 442
06/05/17       Barclaycard Arrival Plus World Elite MasterCard 0634   $     292.68   Ex. KKK at 081
06/05/17       Barclays MasterCard Black Card 9683                    $     977.14   Ex. KKK at 163
06/09/17       Citi 1939                                              $     529.75   Ex. LLL at 077
06/09/17       Citibank Costco 7682                                   $   1,000.00   Ex. LLL at 432
06/09/17       Citibank Costco 7682                                   $   3,000.00   Ex. LLL at 432
06/09/17       Citi Card 8943                                         $     529.75   Ex. LLL at 444
07/04/17       Citi 1939                                              $     100.00   Ex. LLL at 077
07/04/17       Citi Card 8943                                         $     100.00   Ex. LLL at 444
07/05/17       Barclaycard Arrival Plus World Elite MasterCard 0634   $      26.38   Ex. KKK at 083
07/05/17       Barclays MasterCard Black Card 9683                    $     131.74   Ex. KKK at 165
07/05/17       Citi Card Invincible Dimaggio 4419                     $     100.00   Ex. LLL at 414
07/06/17       Citi Card Invincible Dimaggio 4419                     $     100.00   Ex. LLL at 414
07/06/17       Citibank Costco 7682                                   $     100.00   Ex. LLL at 432
07/11/17       Citi Card 7352                                         $   1,000.00   Ex. LLL at 422
07/11/17       Citibank Costco 7682                                   $   3,680.41   Ex. LLL at 435
07/11/17       Citi Card 8943                                         $   3,352.42   Ex. LLL at 447
07/15/17       Citi Card 7352                                         $      53.61   Ex. LLL at 424
07/28/17       Citi Card 0673                                         $   1,061.97   Ex. LLL at 140
07/28/17       Citi Card Invincible Dimaggio 4419                     $     500.00   Ex. LLL at 417
07/28/17       Citibank Costco 7682                                   $   1,561.62   Ex. LLL at 435
07/28/17       Citi Card 8943                                         $   1,959.09   Ex. LLL at 447
08/10/17       Shell Citibank 0663                                    $     200.00   Ex. LLL at 479
09/01/17       Citibank Best Buy Visa Card 2756                       $     100.00   Ex. LLL at 466
09/27/17       Barclays MasterCard Black Card 9683                    $     150.00   Ex. KKK at 169
10/04/17       Barclays MasterCard Black Card 9683                    $   1,600.00   Ex. KKK at 169
                                                              Total   $ 319,244.27




                                                   5
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               EXHIBIT JJJ
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 001
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 002
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 003
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 004
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 005
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 006
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 007
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 008
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 009
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 010
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 24 of 297




                                                                            EX. JJJ - 011
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 25 of 297




                                                                            EX. JJJ - 012
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 26 of 297




                                                                            EX. JJJ - 013
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 27 of 297




                                                                            EX. JJJ - 014
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 28 of 297




                                                                            EX. JJJ - 015
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 29 of 297




                                                                            EX. JJJ - 016
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 30 of 297




                                                                            EX. JJJ - 017
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 31 of 297




                                                                            EX. JJJ - 018
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 019
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 020
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 021
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 022
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 36 of 297




                                                                            EX. JJJ - 023
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 024
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 025
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 026
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 027
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 028
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 029
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 030
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 031
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 45 of 297




                                                                            EX. JJJ - 032
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 46 of 297




                                                                            EX. JJJ - 033
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 47 of 297




                                                                            EX. JJJ - 034
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 48 of 297




                                                                            EX. JJJ - 035
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 49 of 297




                                                                            EX. JJJ - 036
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 50 of 297




                                                                            EX. JJJ - 037
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 51 of 297




                                                                            EX. JJJ - 038
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 52 of 297




                                                                            EX. JJJ - 039
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 53 of 297




                                                                            EX. JJJ - 040
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 54 of 297




                                                                            EX. JJJ - 041
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 55 of 297




                                                                            EX. JJJ - 042
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 56 of 297




                                                                            EX. JJJ - 043
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 57 of 297




                                                                            EX. JJJ - 044
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 58 of 297




                                                                            EX. JJJ - 045
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 59 of 297




                                                                            EX. JJJ - 046
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 60 of 297




                                                                            EX. JJJ - 047
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 048
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 62 of 297




                                                                            EX. JJJ - 049
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 63 of 297




                                                                            EX. JJJ - 050
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 051
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 65 of 297




                                                                            EX. JJJ - 052
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 66 of 297




                                                                            EX. JJJ - 053
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 67 of 297




                                                                            EX. JJJ - 054
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 68 of 297




                                                                            EX. JJJ - 055
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 69 of 297




                                                                            EX. JJJ - 056
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 70 of 297




                                                                            EX. JJJ - 057
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 71 of 297




                                                                            EX. JJJ - 058
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 72 of 297




                                                                            EX. JJJ - 059
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 73 of 297




                                                                            EX. JJJ - 060
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 74 of 297




                                                                            EX. JJJ - 061
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 75 of 297




                                                                            EX. JJJ - 062
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 76 of 297




                                                                            EX. JJJ - 063
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 77 of 297




                                                                            EX. JJJ - 064
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 78 of 297




                                                                            EX. JJJ - 065
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 79 of 297




                                                                            EX. JJJ - 066
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 80 of 297




                                                                            EX. JJJ - 067
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 81 of 297




                                                                            EX. JJJ - 068
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 82 of 297




                                                                            EX. JJJ - 069
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 83 of 297




                                                                            EX. JJJ - 070
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 84 of 297




                                                                            EX. JJJ - 071
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 85 of 297




                                                                            EX. JJJ - 072
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 86 of 297




                                                                            EX. JJJ - 073
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 87 of 297




                                                                            EX. JJJ - 074
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 88 of 297




                                                                            EX. JJJ - 075
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 89 of 297




                                                                            EX. JJJ - 076
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 90 of 297




                                                                            EX. JJJ - 077
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 91 of 297




                                                                            EX. JJJ - 078
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 92 of 297




                                                                            EX. JJJ - 079
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 93 of 297




                                                                            EX. JJJ - 080
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 94 of 297




                                                                            EX. JJJ - 081
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 95 of 297




                                                                            EX. JJJ - 082
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 96 of 297




                                                                            EX. JJJ - 083
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 97 of 297




                                                                            EX. JJJ - 084
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 98 of 297




                                                                            EX. JJJ - 085
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 99 of 297




                                                                            EX. JJJ - 086
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 100 of 297




                                                                            EX. JJJ - 087
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 101 of 297




                                                                            EX. JJJ - 088
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 102 of 297




                                                                            EX. JJJ - 089
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 103 of 297




                                                                            EX. JJJ - 090
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 104 of 297




                                                                            EX. JJJ - 091
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 105 of 297




                                                                            EX. JJJ - 092
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 106 of 297




                                                                            EX. JJJ - 093
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 107 of 297




                                                                            EX. JJJ - 094
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 108 of 297




                                                                            EX. JJJ - 095
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 109 of 297




                                                                            EX. JJJ - 096
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 097
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 098
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 099
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 100
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 101
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 102
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 116 of 297




                                                                            EX. JJJ - 103
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 117 of 297




                                                                            EX. JJJ - 104
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 118 of 297




                                                                            EX. JJJ - 105
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 119 of 297




                                                                            EX. JJJ - 106
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 120 of 297




                                                                            EX. JJJ - 107
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
                        Exhibit HHH-KKK Page 121 of 297




                                                                            EX. JJJ - 108
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 109
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 110
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 111
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 112
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 113
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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                                                                            EX. JJJ - 114
    Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08   Desc
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          EXHIBIT KKK
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                                                                          Desc
                                                                                                                                                                       March 13, 2015
                                                              Exhibit HHH-KKK Page 129 of 297Minimum Payment Due                                                              $25.00
                                                                                                                                  Previous Balance                              $0.00
                                                                                                                                  Statement Balance                          $582.22


Customer News                                          Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                              Page 1 of 6
                                                       Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
MANAGE YOUR                                            Statement Billing Period: 01/17/15 - 02/16/15                                                          www.BarclaycardUS.com
ACCOUNT ONLINE
                                                       Account Summary                                                        Activity Summary
It’s easy. Just log in to
                                                       Minimum Payment Due                                    $25.00          Previous Balance                                    $0.00
www.BarclaycardUS.com to view
                                                       Payment Due Date                                     03/13/15           - Payments                                     $1,494.81
up-to-date account activity,
                                                       Statement End Date                                   02/16/15          + Purchases                                     $2,077.03
download transactions, make
                                                       Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
payments and even transfer
                                                       Available Revolving Line                            $9,417.78          + Balance Transfers                                 $0.00
balances. You have 24/7 access!
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                       Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                       Overlimit Amount                                        $0.00          Statement Balance                                 $582.22



                                                         Payment Information




                                                                                                                                                                                                 157006 1/6
                                                         Statement Balance                                                                                                   $582.22
                                                         Minimum Payment Due                                                                                                  $25.00
                                                         Payment Due Date                                                                                                  3/13/2015
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                              2 years                                   $692.00

                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to www.BarclaycardUS.com.




          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  11
                                                                Card Services
    www.BarclaycardUS.com                                       P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $25.00
  Statement Balance                               $582.22
  Payment Due Date                      March 13, 2015



                                                                                                                                                                        EX. KKK - 001
                                                                                           Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                Desc
                        Exhibit HHH-KKK Page 130 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                          0
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)              4,150
                   Bonus Miles                                                                      0
                   Miles Redeemed this Period                                                       0
                   10% Travel Redemption Bonus                                                      0
                   Barclaycard Rewards Boost                                                        0
                   Participation Miles                                                              0
                   Adjustments                                                                      0
                   Miles Ending Balance                                                         4,150



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                    Remember, redeeming miles for travel statement credits offers the best
                    value and you get 10% of your miles back to use toward your next
                    redemption. So, if you redeem 25,000 miles for a travel statement credit,
                    you’ll get 2,500 miles back.




                                                                                                         157006 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                          Amount
                    02/11      02/11        Payment Received       CITIBANK FSB            -$1,481.58
                    02/13      02/13        Payment Received       CITIBANK FSB               -$13.23
                                              Total Payment Activity                       -$1,494.81

                    Purchases
                    01/29       02/02         CATALINAS BAR & GRILL LOS ANGELES CA           $298.79
                    02/02       02/03         AGOURA MEADOWS HEALTH AGOURA          CA        $52.59
                    02/02       02/03         ITALIA DELI & BAKE  AGOURA HILLS CA             $13.07
                    02/02       02/03         BOCCACCIOS         WESTLAKE VILLCA             $132.05
                    02/05       02/09         BARNEYS NEW YORK #7    BEVERLY HILLSCA         $479.60
                    02/05       02/09         FOUR SEASONS HOTELS LA LOS ANGELES CA           $86.30
                                              02/05/15 TO 02/05/15

                    02/05       02/09         FOUR SEASONS HOTELS LA LOS ANGELES CA             $58.15
                                              02/05/15 TO 02/05/15

                    02/07       02/09         ALBERTSONS #6335      CALABASAS CA             $221.03
                    02/07       02/09         CLEO HAIR SALON       OAK PARK CA              $140.00
                    02/09       02/10         CASTING NETWORKS       03234628200 CA            $1.49
                    02/10       02/11         PARK WEST PHARMACY INC WEST HILLS CA            $10.25
                    02/10       02/11         CASTING NETWORKS       03234628200 CA            $1.49
                    02/11       02/12         WALMART.COM           800-966-6546 AR          $299.00
                    02/10       02/12         SUGARFISH CALABASAS      CALABASAS CA           $45.83
                    02/11       02/12         RITE AID STORE 5539Q05 AGOURA HILLS CA           $3.60
                    02/11       02/12         RITE AID STORE 5539Q05 AGOURA HILLS CA          $40.97
                    02/11       02/12         CVS/PHARMACY #09751     AGOURA       CA         $28.48
                    02/11       02/12         CVS/PHARMACY #09751     AGOURA       CA         $18.52
                    02/11       02/12         CASTING NETWORKS       03234628200 CA            $1.49
                    02/11       02/12         CASTING NETWORKS       03234628200 CA            $1.49
                    02/11       02/12         CASTING NETWORKS       03234628200 CA            $1.49
                    02/11       02/12         CASTING NETWORKS       03234628200 CA            $1.49
                    02/11       02/13         LAKESIDE COMMUNITY HEA WEST HILLS CA            $30.00
                    02/11       02/13         EXOTIC THAI AGOURA INC AGOURA HILLS CA          $12.54
                    02/13       02/16         CASTING NETWORKS       03234628200 CA           $97.32
                                              Total Purchase Activity                       $2,077.03



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                          Amount

                                              Total Fees for this Period                         $0.00




                                                                                         EX. KKK - 002
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Summary of Fees and Interest (continued)

                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases




                                                                                                                                        157006 3/6
                        Current Purchases                                  ---              $0.00          14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 003
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                                                                          Desc
                                                                                                                                                                         April 13, 2015
                                                              Exhibit HHH-KKK Page 132 of 297Minimum Payment Due                                                                $25.00
                                                                                                                                  Previous Balance                             $582.22
                                                                                                                                  Statement Balance                          $1,758.40


Customer News                                          Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                              Page 1 of 6
                                                       Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
THE HANDY WAY TO PAY                                   Statement Billing Period: 02/17/15 - 03/16/15                                                          www.BarclaycardUS.com
Make payments online! You can
                                                       Account Summary                                                        Activity Summary
save time, postage and trips to the
                                                       Minimum Payment Due                                    $25.00          Previous Balance                                  $582.22
mailbox. Use your Barclaycard
                                                       Payment Due Date                                     04/13/15           - Payments                                       $582.22
Arrival Plus World Elite MasterCard®
                                                       Statement End Date                                   03/16/15          + Purchases                                     $1,758.40
at www.BarclaycardUS.com.
                                                       Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
                                                       Available Revolving Line                            $8,241.60          + Balance Transfers                                 $0.00
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                       Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                       Overlimit Amount                                        $0.00          Statement Balance                               $1,758.40



                                                         Payment Information




                                                                                                                                                                                                 154755 1/6
                                                         Statement Balance                                                                                                 $1,758.40
                                                         Minimum Payment Due                                                                                                  $25.00
                                                         Payment Due Date                                                                                                  4/13/2015
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                              9 years                                  $3,104.00
                                                                                                                                                            $2,196.00
                                                                          $61.00                                    3 years
                                                                                                                                                       (Savings = $908.00)
                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to www.BarclaycardUS.com.



          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  11
                                                                Card Services
    www.BarclaycardUS.com                                       P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $25.00
  Statement Balance                             $1,758.40
  Payment Due Date                        April 13, 2015



                                                                                                                                                                        EX. KKK - 004
                                                                                                              Page 2 of 6
Case 1:17-ap-01099-VK    Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                  Desc
                         Exhibit HHH-KKK Page 133 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                       4,150
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                               3,516
                   Bonus Miles                                                                                  40,000
                   Miles Redeemed this Period                                                                        0
                   10% Travel Redemption Bonus                                                                       0
                   Barclaycard Rewards Boost                                                                         0
                   Participation Miles                                                                               0
                   Adjustments                                                                                       0
                   Miles Ending Balance                                                                         47,666



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                     Remember, redeeming miles for travel statement credits offers the best
                     value and you get 10% of your miles back to use toward your next
                     redemption. So, if you redeem 25,000 miles for a travel statement credit,
                     you’ll get 2,500 miles back.




                                                                                                                            154755 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                                             Amount
                    02/24      02/24        Payment Received       CITIBANK FSB                                 -$582.22
                                              Total Payment Activity                                            -$582.22

                    Purchases
                    03/14     03/16           SOUTHWES 5262491840119 800-435-9792 TX                             $132.00
                                              BAIRSTOW/DALTON 03/14/2015 BUR PHX BUR
                                              Agency: #5262491840119

                    03/14       03/16         SOUTHWES 5262491825367 800-435-9792 TX                           $1,386.00
                                              DIMAGGIO/ROBIN C 03/14/2015 BUR PHX BUR
                                              Agency: #5262491825367

                    03/15       03/16         THEFRAGRANCEOUTLET#132 TEMPE                 AZ                    $138.31
                    03/15       03/16         PERFUMANIA #0270  TEMPE    AZ                                       $21.61
                                              Total Purchase Activity                                          $1,677.92

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    03/11     03/12           ALBERTSONS #6335           CALABASAS      CA                        $80.48
                                              Total Purchase Activity                                             $80.48



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Fees for this Period                                           $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Interest for this Period                                       $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                    Total Interest charged in 2015              $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                          EX. KKK - 005
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 134 of 297


                    Interest Charge Calculation - 28 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        154755 3/6




                                                                                                                        EX. KKK - 006
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                                                                         Desc
                                                                                                                                                                         May 13, 2015
                                                             Exhibit HHH-KKK Page 135 of 297Minimum Payment Due                                                               $25.00
                                                                                                                                 Previous Balance                          $1,758.40
                                                                                                                                 Statement Balance                           $405.32

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 03/17/15 - 04/16/15                                                          www.BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                    $25.00          Previous Balance                                $1,758.40
                                                      Payment Due Date                                     05/13/15           - Payments                                     $6,182.47
                                                      Statement End Date                                   04/16/15          + Purchases                                     $4,995.03
                                                      Revolving Line                                     $10,000.00           - Other Credits                                  $165.64
                                                      Available Revolving Line                            $9,594.68          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                      Overlimit Amount                                        $0.00          Statement Balance                                 $405.32



                                                        Payment Information




                                                                                                                                                                                                152066 1/6
                                                        Statement Balance                                                                                                   $405.32
                                                        Minimum Payment Due                                                                                                  $25.00
                                                        Payment Due Date                                                                                                  5/13/2015
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                            19 months                                   $455.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to www.BarclaycardUS.com.




         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  www.BarclaycardUS.com                                        P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                               $25.00
 Statement Balance                               $405.32
 Payment Due Date                         May 13, 2015



                                                                                                                                                                       EX. KKK - 007
                                                                                             Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                  Desc
                        Exhibit HHH-KKK Page 136 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                     47,666
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)              9,658
                   Bonus Miles                                                                      0
                   Fan Zone Miles                                                                   0
                   Participation Miles                                                              0
                   Barclaycard RewardsBoost                                                         0
                   Miles Redeemed This Period                                                       0
                   10% Travel Redemption Bonus                                                      0
                   Adjustments                                                                      0
                   Miles Ending Balance                                                        57,324



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                    Remember, redeeming miles for travel statement credits offers the best
                    value and you get 10% of your miles back to use toward your next
                    redemption. So, if you redeem 25,000 miles for a travel statement credit,
                    you’ll get 2,500 miles back.




                                                                                                           152066 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                            Amount
                    03/25      03/25        Payment Received       CITIBANK FSB              -$3,827.37
                    04/10      04/10        Payment Received       CITIBANK FSB              -$2,355.10
                                              Total Payment Activity                         -$6,182.47

                    Purchases
                    03/16       03/17         SQ * A A A SEDAN     Phoenix AZ                  $100.00
                    03/15       03/17         ROSS STORES #392     TEMPE   AZ                  $273.34
                    03/15       03/17         VILLA ITALIAN KITCHEN TEMPE    AZ                 $35.56
                    03/16       03/18         ARIZONA GRAND RESORT PHOENIX      AZ             $988.15
                                              03/14/15 TO 03/16/15

                    03/16       03/18         ARIZONA GRAND RESORT         PHOENIX   AZ         -$68.65
                                              03/14/15 TO 03/16/15

                    03/16       03/18         CANYON MEDICAL CTR COR CALABASAS CA              $268.00
                    03/18       03/20         POSTAL ANNEX #170       AGOURA HILLS CA           $13.73
                    03/19       03/20         SWEET XO           AGOURA HILLS CA                $90.14
                    03/19       03/20         AGOURA MEADOWS HEALTH AGOURA            CA        $30.47
                    03/18       03/20         SIX RESTAURANT        CALABASAS CA                $54.00
                    03/19       03/20         SM-DWNTWN STRUCT          SANTA MONICA CA          $1.00
                    03/22       03/24         AMALFI RISTORANTE       LOS ANGELES CA            $72.70
                    04/02       04/06         STONEHAUS            WESTLAKE VILLCA              $14.28
                    04/03       04/06         WALMART.COM            08009666546 AR            $125.94
                    04/01       04/06         MAEDA-EN            IRVINE   CA                   $36.55
                    04/03       04/06         CLEO HAIR SALON        OAK PARK CA               $145.00
                    04/03       04/06         CLEO HAIR SALON        OAK PARK CA                $47.30
                    04/03       04/06         OAKS THERAPY MASSAGE THOUSAND OAKSCA             $160.00
                    04/04       04/06         CLEO HAIR SALON        OAK PARK CA                $80.00
                    04/04       04/06         RITE AID STORE 5539Q05 AGOURA HILLS CA             $1.59
                    04/04       04/06         RITE AID STORE 5539Q05 AGOURA HILLS CA            $64.39
                    04/04       04/06         HEC ENTERTAINMENT OF L NORTH LONG BECA           $170.00
                    04/03       04/06         NEIMAN MARCUS 105        CANOGA PARK CA          $488.32
                    04/04       04/06         LA DESCARGA          LOS ANGELES CA               $28.00
                    04/09       04/10         VIBRATO GRILL JAZZ ETC BARRINGTON CA             $436.41
                                              Total Purchase Activity                         $3,656.22

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    03/17     03/18           POQUITO MAS      QPS WOODLAND HILLCA               $19.78
                    03/17     03/19           LAKESIDE COMMUNITY HEA WEST HILLS CA               $90.00
                    03/17     03/19           INTERSTATE VAPE INC  WOODLAND HILLCA               $31.61




                                                                                           EX. KKK - 008
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 137 of 297



                    Activity for MARTY N RICH - card ending in 0642 (continued)
                    Purchases
                    03/19         03/20            ALBERTSONS #6335    CALABASAS CA                                          $32.10
                    03/23         03/24            ALBERTSONS #6335    CALABASAS CA                                          $37.04
                    04/02         04/02            DOMINO'S 8405     818-991-5971 CA                                         $33.73
                    04/02         04/03            SVC ANIMAL REG     6788078974 GA                                          $30.00
                    04/02         04/03            SVC ANIMAL REG     6788078974 GA                                          $30.00
                    04/07         04/08            JCL HEALTH NETWORK    06234346200 AZ                                     $900.00
                    04/14         04/15            WAL-MART #5152      WEST HILLS CA                                         $65.90
                    04/14         04/16            WAL-MART #5152      WEST HILLS CA                                        -$32.69
                    04/14         04/16            WAL-MART #5152      WEST HILLS CA                                        -$64.30
                                                   Total Purchase Activity                                                 $1,173.17



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00




                                                                                                                                        152066 3/6
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 009
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                          June 13, 2015
                                                               Exhibit HHH-KKK Page 138 of 297Minimum Payment Due                                                               $25.00
                                                                                                                                   Previous Balance                            $405.32
                                                                                                                                   Statement Balance                           $341.44


Customer News                                           Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                               Page 1 of 6
                                                        Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
ANNUAL PRIVACY POLICY                                   Statement Billing Period: 04/17/15 - 05/16/15                                                          www.BarclaycardUS.com
Our Annual Privacy Policy is enclosed
                                                        Account Summary                                                        Activity Summary
for your review. You have the
                                                        Minimum Payment Due                                    $25.00          Previous Balance                                  $405.32
opportunity to choose how your
                                                        Payment Due Date                                     06/13/15           - Payments                                       $702.03
personal information can be shared.
                                                        Statement End Date                                   05/16/15          + Purchases                                       $638.15
Our Privacy Policy gives you the facts
                                                        Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
about:
                                                        Available Revolving Line                            $9,658.56          + Balance Transfers                                 $0.00
- How we collect, share, and
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
   protect your personal information
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
- The types of personal information
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
   that we collect and share
                                                        Overlimit Amount                                        $0.00          Statement Balance                                 $341.44
- What specific information you
   can limit us from sharing with
   others
- How you can contact us to limit                         Payment Information




                                                                                                                                                                                                    265674 1/6
   data sharing                                           Statement Balance                                                                                                   $341.44
                                                          Minimum Payment Due                                                                                                  $25.00
Please see the section in our Privacy                     Payment Due Date                                                                                                  6/13/2015
Policy labeled "To limit our direct                       Late Payment Warning: If we do not receive your minimum payment by the date
marketing," which describes how                           listed above, you may have to pay a late fee of up to $37.00.
we may provide offers for financial                       Minimum Payment Warning: If you make only the minimum payment each period,
products to you by mail, email,                           you will pay more in interest and it will take you longer to pay off your balance. For
telephone, and other channels such                        example:
as social media, and how you may
direct us not to send you such offers.                         If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…
Please understand that your
decisions could affect the types of                            Only the minimum payment                            16 months                                   $377.00
offers that are made available to
                                                          If you would like information about credit counseling services, please call 800-570-1403.
you.
                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to www.BarclaycardUS.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  2 11
                                                                 Card Services
    www.BarclaycardUS.com                                        P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $25.00
  Statement Balance                                $341.44
  Payment Due Date                         June 13, 2015



                                                                                                                                                                         EX. KKK - 010
                                                                                                              Page 2 of 6
Case 1:17-ap-01099-VK    Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                  Desc
                         Exhibit HHH-KKK Page 139 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                      57,324
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                               1,274
                   Bonus Miles                                                                                       0
                   Fan Zone Miles                                                                                    0
                   Participation Miles                                                                               0
                   Barclaycard RewardsBoost                                                                          0
                   Miles Redeemed This Period                                                                        0
                   10% Travel Redemption Bonus                                                                       0
                   Adjustments                                                                                       0
                   Miles Ending Balance                                                                         58,598



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                     Remember, redeeming miles for travel statement credits offers the best
                     value and you get 10% of your miles back to use toward your next
                     redemption. So, if you redeem 25,000 miles for a travel statement credit,
                     you’ll get 2,500 miles back.




                                                                                                                            265674 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                                             Amount
                    05/01      05/01        Payment Received       CITIBANK FSB                                 -$702.03
                                              Total Payment Activity                                            -$702.03

                    Purchases
                    04/20     04/21           WALMART.COM                800-966-6546 AR                         $125.94
                    04/30     05/01           CAFE CORDIALE             SHERMAN OAKS CA                          $341.44

                                              Total Purchase Activity                                            $467.38

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    04/17       04/20         HANAMI SUSHI       CALABASAS CA                                     $34.88
                    04/19       04/20         LABITE SERVICES   03104412483 CA                                    $38.03
                    04/17       04/20         TOBACCO ROYALE       CALADASAS CA                                   $43.48
                    04/27       04/29         EXOTIC THAI AGOURA INC AGOURA HILLS CA                              $16.35
                    04/30       04/30         DOMINO'S 8405      818-991-5971 CA                                  $30.19
                    04/29       04/30         ALBERTSONS #6335     CALABASAS CA                                    $7.84
                                              Total Purchase Activity                                            $170.77



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Fees for this Period                                           $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Interest for this Period                                       $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                    Total Interest charged in 2015              $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                          EX. KKK - 011
                                                                                                                          Page 3 of 6
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                           Exhibit HHH-KKK Page 140 of 297


                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        265674 3/6




                                                                                                                        EX. KKK - 012
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                                                                         Desc
                                                                                                                                                                         July 13, 2015
                                                             Exhibit HHH-KKK Page 141 of 297Minimum Payment Due                                                                  None
                                                                                                                                 Previous Balance                             $341.44
                                                                                                                                 Statement Balance                               $0.00

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 05/17/15 - 06/16/15                                                          www.BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                     $0.00          Previous Balance                                  $341.44
                                                      Payment Due Date                                     07/13/15           - Payments                                       $381.09
                                                      Statement End Date                                   06/16/15          + Purchases                                        $39.65
                                                      Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
                                                      Available Revolving Line                           $10,000.00          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                      Overlimit Amount                                        $0.00          Statement Balance                                   $0.00



                                                        Payment Information




                                                                                                                                                                                                148160 1/6
                                                        Statement Balance                                                                                                     $0.00
                                                        Minimum Payment Due                                                                                                   None
                                                        Payment Due Date                                                                                                  7/13/2015
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                             0 months                                     $0.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to www.BarclaycardUS.com.




         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  www.BarclaycardUS.com                                        P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                                None
 Statement Balance                                  $0.00
 Payment Due Date                         July 13, 2015



                                                                                                                                                                       EX. KKK - 013
                                                                                                                  Page 2 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                    Desc
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                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                          58,598
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                      80
                   Bonus Miles                                                                                           0
                   Fan Zone Miles                                                                                        0
                   Participation Miles                                                                                   0
                   Barclaycard RewardsBoost                                                                              0
                   Miles Redeemed This Period                                                                            0
                   10% Travel Redemption Bonus                                                                           0
                   Adjustments                                                                                           0
                   Miles Ending Balance                                                                             58,678



                          Get the most from your Barclaycard Arrival Plus Rewards Program
                     Remember, redeeming miles for travel statement credits offers the best
                     value and you get 10% of your miles back to use toward your next
                     redemption. So, if you redeem 25,000 miles for a travel statement credit,
                     you’ll get 2,500 miles back.




                                                                                                                                148160 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                                                 Amount
                    06/02      06/02        Payment Received       CITIBANK FSB                                     -$381.09

                                                Total Payment Activity                                              -$381.09

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    05/31     06/01             LABITE SERVICES            03104412483 CA                             $39.65
                                                Total Purchase Activity                                               $39.65



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                 Amount

                                                Total Fees for this Period                                             $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                 Amount

                                                Total Interest for this Period                                         $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                       Total Interest charged in 2015              $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                Promotional Balance       ANNUAL
                                                                 Rate End    Subject to PERCENTAGE               Interest
                                                                   Date    Interest Rate RATE (APR)               Charge
                    Purchases
                        Current Purchases                            ---              $0.00        14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks             ---              $0.00        14.99% (v)      $0.00




                                                                                                                EX. KKK - 014
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 143 of 297


                    Interest Charge Calculation - 31 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        148160 3/6




                                                                                                                        EX. KKK - 015
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08August
                                                                                                      Due Date
                                                                                                                      Desc13, 2015
                                                               Exhibit HHH-KKK Page 144 of 297Minimum Payment Due          $25.00
                                                                                                                                   Previous Balance                                 $0.00
                                                                                                                                   Statement Balance                              $852.87


Customer News                                           Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                               Page 1 of 6
                                                        Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
YOUR BALANCE TRANSFER                                   Statement Billing Period: 06/17/15 - 07/16/15                                                          www.BarclaycardUS.com
OPPORTUNITY
                                                        Account Summary                                                        Activity Summary
You have a promotional APR
                                                        Minimum Payment Due                                    $25.00          Previous Balance                                    $0.00
balance transfer offer waiting for
                                                        Payment Due Date                                     08/13/15           - Payments                                         $0.00
you - log on to
                                                        Statement End Date                                   07/16/15          + Purchases                                       $873.19
www.BarclaycardUS.com or call
                                                        Revolving Line                                     $10,000.00           - Other Credits                                   $20.32
1-866-558-1107 by September 1,
                                                        Available Revolving Line                            $9,147.13          + Balance Transfers                                 $0.00
2015 to learn more.
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                        Overlimit Amount                                        $0.00          Statement Balance                                 $852.87



                                                          Payment Information




                                                                                                                                                                                                    147142 1/6
                                                          Statement Balance                                                                                                   $852.87
                                                          Minimum Payment Due                                                                                                  $25.00
                                                          Payment Due Date                                                                                                  8/13/2015
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:

                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…

                                                               Only the minimum payment                              4 years                                  $1,118.00
                                                                                                                                                             $1,080.00
                                                                           $30.00                                    3 years
                                                                                                                                                         (Savings = $38.00)
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to www.BarclaycardUS.com.



           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    www.BarclaycardUS.com                                        P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $25.00
  Statement Balance                                $852.87
  Payment Due Date                      August 13, 2015



                                                                                                                                                                         EX. KKK - 016
                                                                                                                Page 2 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                  Desc
                           Exhibit HHH-KKK Page 145 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                        58,678
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                 1,704
                   Bonus Miles                                                                                         0
                   Fan Zone Miles                                                                                      0
                   Participation Miles                                                                                 0
                   Barclaycard RewardsBoost                                                                            0
                   Miles Redeemed This Period                                                                          0
                   Travel Redemption Bonus                                                                             0
                   Adjustments                                                                                         0
                   Miles Ending Balance                                                                           60,382



                          Get the most from your Barclaycard Arrival Plus Rewards Program
                                              Earn 2X miles on all purchases.
                             And remember, every time you redeem for travel statement credits,
                                 you earn miles back to use toward your next redemption.




                                                                                                                              147142 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Purchases
                    Trans Date Posting Date Transaction Description                                               Amount
                    07/12      07/13        STARBUCKS #11603 WOODL Woodland HillCA                                 $17.40
                    07/12      07/14        ROSS STORES #39        TARZANA CA                                      $40.31

                                              Total Purchase Activity                                               $57.71

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    07/10     07/13           ALIEXPRESS           DOVER          DE                              $777.48
                    07/10     07/13           ALIEXPRESS           DOVER          DE                               $38.00
                    07/13     07/14           ALIEXPRESS           DOVER          DE                              -$20.32
                                              Total Purchase Activity                                             $795.16



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                               Amount

                                              Total Fees for this Period                                             $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                               Amount

                                              Total Interest for this Period                                         $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                     Total Interest charged in 2015              $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                              Promotional Balance       ANNUAL
                                                               Rate End    Subject to PERCENTAGE               Interest
                                                                 Date    Interest Rate RATE (APR)               Charge
                    Purchases
                        Current Purchases                          ---              $0.00        14.99% (v)      $0.00




                                                                                                              EX. KKK - 017
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 146 of 297


                    Interest Charge Calculation - 30 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        147142 3/6




                                                                                                                        EX. KKK - 018
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                       Desc
                                                                                                                 September 13, 2015
                                                              Exhibit HHH-KKK Page 147 of 297Minimum Payment Due            $25.00
                                                                                                                                  Previous Balance                              $852.87
                                                                                                                                  Statement Balance                            $1,383.36


Customer News                                          Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                              Page 1 of 6
                                                       Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
YOUR BALANCE TRANSFER                                  Statement Billing Period: 07/17/15 - 08/16/15                                                                 BarclaycardUS.com
OPPORTUNITY
                                                       Account Summary                                                        Activity Summary
You have a promotional APR
                                                       Minimum Payment Due                                    $25.00          Previous Balance                                  $852.87
balance transfer offer waiting for
                                                       Payment Due Date                                     09/13/15           - Payments                                     $4,100.00
you - log on to BarclaycardUS.com
                                                       Statement End Date                                   08/16/15          + Purchases                                     $4,674.03
or call 1-866-558-1107 by October 1,
                                                       Revolving Line                                     $10,000.00           - Other Credits                                   $43.54
2015 to learn more.
                                                       Available Revolving Line                            $8,616.64          + Balance Transfers                                 $0.00
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                       Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                       Overlimit Amount                                        $0.00          Statement Balance                               $1,383.36



                                                         Payment Information




                                                                                                                                                                                                 258427 1/6
                                                         Statement Balance                                                                                                 $1,383.36
                                                         Minimum Payment Due                                                                                                  $25.00
                                                         Payment Due Date                                                                                                  9/13/2015
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                              7 years                                  $2,250.00
                                                                                                                                                            $1,728.00
                                                                          $48.00                                    3 years
                                                                                                                                                       (Savings = $522.00)
                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to BarclaycardUS.com.



          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  11
                                                                Card Services
    BarclaycardUS.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $25.00
  Statement Balance                             $1,383.36
  Payment Due Date                September 13, 2015



                                                                                                                                                                        EX. KKK - 019
                                                                                                  Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                       Desc
                        Exhibit HHH-KKK Page 148 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                          60,382
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                   9,260
                   Bonus Miles                                                                           0
                   Fan Zone Miles                                                                        0
                   Participation Miles                                                                   0
                   Barclaycard RewardsBoost                                                              0
                   Miles Redeemed This Period                                                       65,000
                   Travel Redemption Bonus                                                               0
                   Adjustments                                                                           0
                   Miles Ending Balance                                                              4,642



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                             Earn 2X miles on all purchases.
                            And remember, every time you redeem for travel statement credits,
                                you earn miles back to use toward your next redemption.




                                                                                                                258427 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                                 Amount
                    08/10      08/10        Payment Received       CITIBANK FSB                     -$100.00
                    08/13      08/13        Payment Received       CITIBANK FSB                   -$4,000.00
                                              Total Payment Activity                              -$4,100.00

                    Purchases
                    08/04     08/05           T-MOBILE TEL PAYMENT 800-937-8997 W A                 $223.21
                    08/06     08/07           SQ *PJB TRANSPORTS  Dorval    QC                       $37.90
                                              50.00 CAD @ 1.31926

                    08/04       08/07         AIR CAN 0147664778261 NEW YORK               NY       $599.00
                                              DIMAGGIO/ROBIN 08/04/2015 LAX YUL
                                              Agency: AIR CANADA #0147664778261

                    08/06       08/10         LES DELICES DE L'ERABL DORVAL               QC          $21.55
                                              28.40 CAD @ 1.31786

                    08/07       08/10         LAX AIRPORT P 2B    LOS ANGELES CA                     $90.00
                    08/06       08/10         AIR CAN 00149314275292 WINNIPEG MB                    $953.00
                                              1,256.05 CAD @ 1.31799
                                              DIMAGGIO/ROBIN C ADT 08/06/2015 YUL LAX
                                              Agency: VOYAGES A LA CARTE #0149314275292

                    08/07       08/10         MEDITERRANEAN PITA GRI CALABASAS CA                    $21.78
                    08/06       08/11         AIR CAN 00149314275292 WINNIPEG MB                    $449.23
                                              592.00 CAD @ 1.31781
                                              DIMAGGIO/ROBINC 08/06/2015 YUL LAX
                                              Agency: 6999164 #0149314275292

                    08/10       08/12         TOBACCO ROYALE      CALADASAS CA                        $35.87
                    08/10       08/13         MEDITERRANEAN PITA GRI CALABASAS CA                     $17.42
                                              Total Purchase Activity                              $2,448.96

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    07/17       07/20         ALIEXPRESS      DOVER      DE                           $14.90
                    07/17       07/20         AGOURA HILLS STADIUM 8 AGOURA HILLS CA                  $18.00
                    07/17       07/20         AGOURA HILLS STADIUM 8 AGOURA HILLS CA                  $15.12
                    07/17       07/20         AGOURA HILLS STADIUM 8 AGOURA HILLS CA                   $4.00
                    07/17       07/20         HUGOS AGOURA HILLS     AGOURA HILLS CA                  $52.42
                    07/18       07/20         EXOTIC THAI AGOURA INC AGOURA HILLS CA                  $27.25
                    07/23       07/24         LABITE SERVICES   03104412483 CA                        $64.99
                    07/24       07/27         EXOTIC THAI AGOURA INC AGOURA HILLS CA                  $23.98
                    07/30       07/31         ALIEXPRESS      DOVER      DE                           $55.46
                    07/30       07/31         ALIEXPRESS      DOVER      DE                           $28.00
                    07/31       07/31         ALIEXPRESS      DOVER      DE                            $6.99
                    07/31       08/03         AVALONBAY RENT       877-282-6246 VA                 $1,509.39




                                                                                                EX. KKK - 020
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 149 of 297



                    Activity for MARTY N RICH - card ending in 0642 (continued)
                    Purchases
                    08/04         08/04            DOMINO'S 8405       818-991-5971 CA                                         $3.36
                    08/04         08/04            DOMINO'S 8405       818-991-5971 CA                                        $31.51
                    08/03         08/04            ALBERTSONS #6335     CALABASAS CA                                          $82.15
                    08/04         08/06            TOBACCO ROYALE        CALADASAS CA                                         $14.00
                    08/05         08/06            ALBERTSONS #6335     CALABASAS CA                                          $26.50
                    08/05         08/06            PARTY HOUSE LIQOUR      AGOURA HILLS CA                                    $21.84
                    08/04         08/07            MEDITERRANEAN PITA GRI CALABASAS CA                                        $10.89
                    08/05         08/07            EXOTIC THAI AGOURA INC AGOURA HILLS CA                                     $27.25
                    08/05         08/07            PARTY HOUSE LIQUOR      AGOURA HILLS CA                                    $13.10
                    08/06         08/07            IN-N-OUT BURGER #297 WESTLAKE VILLCA                                       $14.72
                    08/06         08/10            TOBACCO ROYALE        CALADASAS CA                                         $81.55
                    08/07         08/10            ALBERTSONS #6335     CALABASAS CA                                          $52.54
                    08/08         08/10            ALIEXPRESS       DOVER       DE                                           -$43.54
                    08/12         08/13            DNH*GODADDY.COM          480-5058855 AZ                                    $25.16
                                                   Total Purchase Activity                                                 $2,181.53



                    Summary of Fees and Interest




                                                                                                                                        258427 3/6
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 021
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08October
                                                                                                    Due Date
                                                                                                                     Desc13, 2015
                                                             Exhibit HHH-KKK Page 150 of 297Minimum Payment Due           $45.69
                                                                                                                                 Previous Balance                             $1,383.36
                                                                                                                                 Statement Balance                            $2,489.42

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 08/17/15 - 09/16/15                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                    $45.69          Previous Balance                                $1,383.36
                                                      Payment Due Date                                     10/13/15           - Payments                                       $500.00
                                                      Statement End Date                                   09/16/15          + Purchases                                     $1,611.81
                                                      Revolving Line                                     $10,000.00           - Other Credits                                   $26.76
                                                      Available Revolving Line                            $7,510.58          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                 $21.01
                                                      Overlimit Amount                                        $0.00          Statement Balance                               $2,489.42



                                                        Payment Information




                                                                                                                                                                                                144074 1/6
                                                        Statement Balance                                                                                                $2,489.42
                                                        Minimum Payment Due                                                                                                 $45.69
                                                        Payment Due Date                                                                                                10/13/2015
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                             12 years                                  $4,742.00
                                                                                                                                                           $3,096.00
                                                                         $86.00                                    3 years
                                                                                                                                                     (Savings = $1,646.00)
                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.



         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                               $45.69
 Statement Balance                             $2,489.42
 Payment Due Date                    October 13, 2015



                                                                                                                                                                       EX. KKK - 022
                                                                                           Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                Desc
                        Exhibit HHH-KKK Page 151 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                      4,642
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)              3,172
                   Bonus Miles                                                                      0
                   Fan Zone Miles                                                                   0
                   Participation Miles                                                              0
                   Barclaycard RewardsBoost                                                         0
                   Miles Redeemed This Period                                                       0
                   Travel Redemption Bonus                                                          0
                   Adjustments                                                                      0
                   Miles Ending Balance                                                         7,814



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                             Earn 2X miles on all purchases.
                            And remember, every time you redeem for travel statement credits,
                                you earn miles back to use toward your next redemption.




                                                                                                          144074 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                          Amount
                    09/12      09/14        Payment Received       CITIBANK FSB              -$500.00
                                              Total Payment Activity                         -$500.00

                    Purchases
                    09/07       09/07         ARAMARK GREEK THTR RES LOS ANGELES CA              $90.50
                    09/08       09/09         ANIMAL CLINIC OF THE O THOUSAND OAKSCA            $129.00
                    09/08       09/09         SEA BREEZE DENTAL CARE AGOURA HILLS CA            $198.15
                    09/08       09/09         ALBERTSONS #6335      CALABASAS CA                $136.24
                    09/08       09/10         CANYON CLEANERS        AGOURA HILLS CA             $78.50
                    09/09       09/10         CVS/PHARMACY #09751     AGOURA     CA             $247.75
                                              Total Purchase Activity                           $880.14

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    08/15       08/17         ALBERTSONS #6335      CALABASAS CA                 $17.43
                    08/17       08/18         ALIEXPRESS         DOVER      DE                   $56.66
                    08/21       08/24         ALIEXPRESS         DOVER      DE                   $70.00
                    08/21       08/24         ALIEXPRESS         DOVER      DE                    $3.98
                    08/22       08/24         ALIEXPRESS         DOVER      DE                   $23.76
                    08/21       08/24         SAFETY FIRST DRIVING S WESTLAKE VILLCA            $299.00
                    08/24       08/25         ALIEXPRESS         DOVER      DE                   $12.59
                    08/25       08/26         ALIEXPRESS         DOVER      DE                   $12.34
                    08/26       08/27         ALIEXPRESS         DOVER      DE                   $32.19
                    09/10       09/10         DOMINO'S 8405        818-991-5971 CA               $23.72
                    09/10       09/11         PETSMART INC 103      WESTLAKE VILLCA              $70.00
                    09/09       09/11         PAYPAL *CHSPE-SCOE      4029357733 CA             $110.00
                    09/12       09/14         ALIEXPRESS         DOVER      DE                  -$26.76
                                              Total Purchase Activity                           $704.91



                    Summary of Fees and Interest
                    Interest Charged
                    Trans Date Posting Date Transaction Description                          Amount
                    09/16       09/16         INTEREST CHARGE ON PURCHASES                       $21.01
                                              Total Interest for this Period                     $21.01
                    Fees Charged
                    Trans Date Posting Date Transaction Description                          Amount

                                              Total Fees for this Period                          $0.00




                                                                                        EX. KKK - 023
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015               $21.01
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---            $1,649.23        14.99% (v)     $21.01
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                $21.01




                                                                                                                                        144074 3/6
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 024
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                     Desc
                                                                                                                November 13, 2015
                                                             Exhibit HHH-KKK Page 153 of 297Minimum Payment Due           $60.88
                                                                                                                                 Previous Balance                             $2,489.42
                                                                                                                                 Statement Balance                            $3,118.52

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 09/17/15 - 10/16/15                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                    $60.88          Previous Balance                                $2,489.42
                                                      Payment Due Date                                     11/13/15           - Payments                                     $2,000.00
                                                      Statement End Date                                   10/16/15          + Purchases                                     $2,599.10
                                                      Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
                                                      Available Revolving Line                            $6,881.48          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                 $30.00
                                                      Overlimit Amount                                        $0.00          Statement Balance                               $3,118.52



                                                        Payment Information




                                                                                                                                                                                                242103 1/6
                                                        Statement Balance                                                                                                $3,118.52
                                                        Minimum Payment Due                                                                                                 $60.88
                                                        Payment Due Date                                                                                                11/13/2015
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                             14 years                                  $6,156.00
                                                                                                                                                           $3,888.00
                                                                        $108.00                                    3 years
                                                                                                                                                     (Savings = $2,268.00)
                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.



         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                               $60.88
 Statement Balance                             $3,118.52
 Payment Due Date                 November 13, 2015



                                                                                                                                                                       EX. KKK - 025
                                                                                           Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                Desc
                        Exhibit HHH-KKK Page 154 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                    7,814
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)            5,198
                   Bonus Miles                                                                    0
                   Fan Zone Miles                                                                 0
                   Participation Miles                                                            0
                   Barclaycard RewardsBoost                                                       0
                   Miles Redeemed This Period                                                     0
                   Travel Redemption Bonus                                                        0
                   Adjustments                                                                    0
                   Miles Ending Balance                                                      13,012



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                             Earn 2X miles on all purchases.
                            And remember, every time you redeem for travel statement credits,
                                you earn miles back to use toward your next redemption.




                                                                                                          242103 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                          Amount
                    10/03      10/05        Payment Received       CITIBANK FSB            -$2,000.00
                                              Total Payment Activity                       -$2,000.00

                    Purchases
                    10/10       10/13         MEDITERRANEAN PITA GRI CALABASAS CA                $10.89
                    10/12       10/14         TOBACCO ROYALE         CALADASAS CA                $15.00
                    10/13       10/14         BEST BUY     00001123 THOUSAND OAKSCA             $166.07
                    10/13       10/15         CHICK-FIL-A #03175    THOUSAND OAKSCA              $25.92
                                              Total Purchase Activity                           $217.88

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    09/15       09/17         RAINBOW BAR & GRILL     WEST HOLLYWOOCA          $26.00
                    09/16       09/17         ALIEXPRESS        DOVER      DE                  $28.07
                    09/15       09/17         TOBACCO ROYALE         CALADASAS CA              $40.00
                    09/24       09/25         SQ *EDITPLUS - CAREY-I Los Angeles CA            $70.00
                    09/23       09/25         TOBACCO ROYALE         CALADASAS CA              $28.00
                    10/03       10/05         ALIEXPRESS        DOVER      DE                  $14.23
                    10/03       10/05         ALIEXPRESS        DOVER      DE                  $13.97
                    10/06       10/08         IN *INTERSTATE VAPE IN 323-2475524 CA           $171.35
                    10/07       10/08         FGI INSURANCE       08183409991 CA            $1,549.03
                    10/12       10/13         ALIEXPRESS        DOVER      DE                 $342.92
                    10/15       10/16         ALIEXPRESS        DOVER      DE                  $97.65
                                              Total Purchase Activity                       $2,381.22



                    Summary of Fees and Interest
                    Interest Charged
                    Trans Date Posting Date Transaction Description                          Amount
                    10/16       10/16         INTEREST CHARGE ON PURCHASES                       $30.00
                                              Total Interest for this Period                     $30.00
                    Fees Charged
                    Trans Date Posting Date Transaction Description                          Amount

                                              Total Fees for this Period                          $0.00




                                                                                        EX. KKK - 026
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 155 of 297


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015               $51.01
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---            $2,432.76        14.99% (v)     $30.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                $30.00




                                                                                                                                        242103 3/6
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 027
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                     Desc
                                                                                                                December 13, 2015
                                                             Exhibit HHH-KKK Page 156 of 297Minimum Payment Due             None
                                                                                                                                 Previous Balance                             $3,118.52
                                                                                                                                 Statement Balance                              -$15.98

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 10/17/15 - 11/16/15                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                     $0.00          Previous Balance                                $3,118.52
                                                      Payment Due Date                                     12/13/15           - Payments                                     $4,076.45
                                                      Statement End Date                                   11/16/15          + Purchases                                     $1,065.15
                                                      Revolving Line                                     $10,000.00           - Other Credits                                  $123.20
                                                      Available Revolving Line                           $10,000.00          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                      Overlimit Amount                                        $0.00          Statement Balance                                 -$15.98



                                                        Payment Information




                                                                                                                                                                                                139153 1/6
                                                        Statement Balance                                                                                                  -$15.98
                                                        Minimum Payment Due                                                                                                  None
                                                        Payment Due Date                                                                                                12/13/2015
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                             0 months                                     $0.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.




         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                                None
 Statement Balance                                -$15.98
 Payment Due Date                 December 13, 2015



                                                                                                                                                                       EX. KKK - 028
                                                                                          Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08               Desc
                        Exhibit HHH-KKK Page 157 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                  13,012
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)           1,884
                   Bonus Miles                                                                   0
                   Fan Zone Miles                                                                0
                   Participation Miles                                                           0
                   Barclaycard RewardsBoost                                                      0
                   Miles Redeemed This Period                                                    0
                   Travel Redemption Bonus                                                       0
                   Adjustments                                                                   0
                   Miles Ending Balance                                                     14,896



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                           Earn 2X miles on all purchases.
                          And remember, every time you redeem for travel statement credits,
                              you earn miles back to use toward your next redemption.




                                                                                                        139153 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                         Amount
                    11/05      11/05        Payment Received       CITIBANK FSB           -$4,076.45
                                              Total Payment Activity                      -$4,076.45

                    Purchases
                    10/22       10/23         THE UPS STORE 1093   CALABASAS CA                $10.00
                    10/22       10/23         AJ WINE SPIRITS INC CALABASAS CA                 $10.75
                    10/22       10/26         SANTA FE CAFE       CALABASAS CA                  $9.59
                    10/22       10/26         CANYON MEDICAL CENT     Newbury Park CA         $250.00
                                              Total Purchase Activity                         $280.34

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    10/19       10/21         TOBACCO ROYALE       CALADASAS CA                $43.24
                    10/22       10/23         ALIEXPRESS       DOVER    DE                     $94.43
                    10/24       10/26         ALIEXPRESS       DOVER    DE                     $24.56
                    10/25       10/26         ALIEXPRESS       DOVER    DE                    $355.44
                    10/24       10/27         ALIEXPRESS       DOVER    DE                     $26.99
                    10/27       10/28         ALIEXPRESS       DOVER    DE                     $17.00
                    10/27       10/28         ALIEXPRESS       DOVER    DE                      $6.74
                    10/27       10/28         ALIEXPRESS       DOVER    DE                      $7.19
                    10/31       11/02         PETSMART INC 103    WESTLAKE VILLCA             $130.00
                    11/02       11/03         ALIEXPRESS       DOVER    DE                    -$28.00
                    11/04       11/06         BARE ESCENTUALS #065 THOUSAND OAKSCA             $17.21
                    11/04       11/06         BARE ESCENTUALS #065 THOUSAND OAKSCA             $19.35
                    11/06       11/09         ALIEXPRESS       DOVER    DE                      $4.34
                    11/09       11/10         ALIEXPRESS       DOVER    DE                     $22.81
                    11/09       11/10         ALIEXPRESS       DOVER    DE                    -$95.20
                    11/11       11/12         ALIEXPRESS       DOVER    DE                      $3.51
                    11/11       11/12         ALIEXPRESS       DOVER    DE                     $12.00
                                              Total Purchase Activity                         $661.61



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                         Amount

                                              Total Fees for this Period                        $0.00




                                                                                        EX. KKK - 029
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Summary of Fees and Interest (continued)

                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015               $51.01
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases




                                                                                                                                        139153 3/6
                        Current Purchases                                  ---              $0.00          14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate



                    Customer Notifications

                   As of your statement date, your account reflects a credit balance that you may apply to
                   future purchases. If you choose, you may request a refund by contacting us at
                   1-866-558-1107 or BarclaycardUS.com.




                                                                                                                        EX. KKK - 030
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08January
                                                                                                    Due Date
                                                                                                                    Desc 13, 2016
                                                             Exhibit HHH-KKK Page 159 of 297Minimum Payment Due           $25.00
                                                                                                                                 Previous Balance                               -$15.98
                                                                                                                                 Statement Balance                              $281.44

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 11/17/15 - 12/16/15                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                    $25.00          Previous Balance                                  -$15.98
                                                      Payment Due Date                                     01/13/16           - Payments                                         $0.00
                                                      Statement End Date                                   12/16/15          + Purchases                                       $431.04
                                                      Revolving Line                                     $10,000.00           - Other Credits                                  $133.62
                                                      Available Revolving Line                            $9,718.56          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                      Overlimit Amount                                        $0.00          Statement Balance                                 $281.44



                                                        Payment Information




                                                                                                                                                                                                137336 1/6
                                                        Statement Balance                                                                                                   $281.44
                                                        Minimum Payment Due                                                                                                  $25.00
                                                        Payment Due Date                                                                                                  1/13/2016
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                            13 months                                   $305.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.




         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                               $25.00
 Statement Balance                               $281.44
 Payment Due Date                    January 13, 2016



                                                                                                                                                                       EX. KKK - 031
                                                                                                              Page 2 of 6
Case 1:17-ap-01099-VK    Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                  Desc
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                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                      14,896
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                 594
                   Bonus Miles                                                                                       0
                   Fan Zone Miles                                                                                    0
                   Participation Miles                                                                               0
                   Barclaycard RewardsBoost                                                                          0
                   Miles Redeemed This Period                                                                   12,000
                   Redemption Bonus                                                                                  0
                   Adjustments                                                                                       0
                   Ending Miles Balance                                                                          3,490



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                              Earn 2X miles on all purchases.
                            And remember, every time you redeem for travel statement credits,
                                 you get miles back to use toward your next redemption.




                                                                                                                            137336 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Purchases
                    Trans Date Posting Date Transaction Description                                             Amount
                    11/23      11/25        FOUR SEASONS WESTLAKE              WESTLAKE VILLCA                   $62.95
                                              11/22/15 TO 11/23/15

                    11/24       11/25         FOUR SEASONS WESTLAKE            WESTLAKE VILLCA                   -$62.95

                                              Total Purchase Activity                                              $0.00

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    11/23       11/25         IN *INTERSTATE VAPE IN 323-2475524 CA                               $11.12
                    11/28       11/30         ALIEXPRESS        DOVER      DE                                    -$27.00
                    12/04       12/07         ALIEXPRESS        DOVER      DE                                    -$36.17
                    12/06       12/08         BED BATH & BEYOND #138 THOUSAND OAKSCA                              $28.36
                    12/08       12/09         ALIEXPRESS        DOVER      DE                                    $328.61
                    12/09       12/10         ALIEXPRESS        DOVER      DE                                     -$7.50
                                              Total Purchase Activity                                            $297.42



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Fees for this Period                                           $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Interest for this Period                                       $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                    Total Interest charged in 2015            $51.01
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                          EX. KKK - 032
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        137336 3/6




                                                                                                                        EX. KKK - 033
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                      Desc
                                                                                                                  February 13, 2016
                                                               Exhibit HHH-KKK Page 162 of 297Minimum Payment Due           $25.00
                                                                                                                                   Previous Balance                              $281.44
                                                                                                                                   Statement Balance                            $1,899.50


Customer News                                           Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                               Page 1 of 6
                                                        Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
VARIABLE APR INFORMATION                                Statement Billing Period: 12/17/15 - 01/16/16                                                                 BarclaycardUS.com
As a result of the recent increase in
                                                        Account Summary                                                        Activity Summary
the Prime Rate, variable annual
                                                        Minimum Payment Due                                    $25.00          Previous Balance                                  $281.44
percentage rates (APRs) have risen
                                                        Payment Due Date                                     02/13/16           - Payments                                       $281.44
accordingly. Your APRs are displayed
                                                        Statement End Date                                   01/16/16          + Purchases                                     $1,991.31
on this billing statement in the
                                                        Revolving Line                                     $10,000.00           - Other Credits                                   $91.81
section titled “Interest Charge
                                                        Available Revolving Line                            $8,100.50          + Balance Transfers                                 $0.00
Calculation”. If you have a variable
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
rate, indicated by a (v), a change in
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
the Prime Rate could affect your
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
minimum payment due. This is
                                                        Overlimit Amount                                        $0.00          Statement Balance                               $1,899.50
because your APR is used to
calculate the interest charge, which
is included in your minimum
payment due.                                              Payment Information




                                                                                                                                                                                                  241158 1/6
                                                          Statement Balance                                                                                                 $1,899.50
                                                          Minimum Payment Due                                                                                                  $25.00
                                                          Payment Due Date                                                                                                  2/13/2016
YOUR BALANCE TRANSFER
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
OPPORTUNITY                                               listed above, you may have to pay a late fee of up to $37.00.
You have a promotional APR
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
balance transfer offer waiting for                        you will pay more in interest and it will take you longer to pay off your balance. For
you -log on to BarclaycardUS.com or                       example:
call 1-866-558-1107 by
March 2, 2016 to learn more.                                   If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…

                                                               Only the minimum payment                             10 years                                  $3,458.00
                                                                                                                                                             $2,376.00
                                                                           $66.00                                    3 years
                                                                                                                                                       (Savings = $1,082.00)
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to BarclaycardUS.com.



           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  11
                                                                 Card Services
    BarclaycardUS.com                                            P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $25.00
  Statement Balance                              $1,899.50
  Payment Due Date                    February 13, 2016



                                                                                                                                                                         EX. KKK - 034
                                                                                            Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                 Desc
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                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                     3,490
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)             3,800
                   Bonus Miles                                                                     0
                   Fan Zone Miles                                                                  0
                   Participation Miles                                                             0
                   Barclaycard RewardsBoost                                                        0
                   Miles Redeemed This Period                                                      0
                   Redemption Bonus                                                                0
                   Adjustments                                                                     0
                   Ending Miles Balance                                                        7,290



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                            Earn 2X miles on all purchases.
                          And remember, every time you redeem for travel statement credits,
                               you get miles back to use toward your next redemption.




                                                                                                          241158 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                           Amount
                    01/08      01/08        Payment Received       CITIBANK FSB               -$281.44
                                              Total Payment Activity                          -$281.44

                    Purchases
                    12/22       12/23         ENCINO PLAZA SURGICAL ENCINO        CA           $91.62
                    12/22       12/23         OAKDALE PHARMACY         ENCINO     CA            $9.73
                    12/22       12/24         LOVIS DELICATESSEN INC CALABASAS CA              $45.49
                    12/23       12/24         BAJA FRESH 89        WEST HILLS CA               $13.46
                    12/23       12/24         USC UNIVERSITY HOSPITA LOS ANGELES CA           $103.57
                    12/23       12/28         SHELL OIL 57444585103 AGOURA       CA            $37.18
                    12/23       12/28         USC UNV HOSP 25094038 LOS ANGELES CA             $11.40
                    12/23       12/28         USC UNV HOSP 25094038 LOS ANGELES CA             $12.43
                    12/22       12/28         MEDITERRANEAN PITA GRI CALABASAS CA               $8.71
                    12/24       12/28         USC MED PLAZA PHARMACY LOS ANGELES CA            $17.95
                    12/24       12/28         USC UNIVERSITY HOSPITA LOS ANGELES CA             $5.97
                    12/24       12/28         USC UNIVERSITY HOSPITA LOS ANGELES CA            $33.89
                    12/24       12/28         USC UNV HOSP 25094038 LOS ANGELES CA             $19.12
                    12/24       12/28         USC UNV HOSP 25094038 LOS ANGELES CA             $10.15
                    12/24       12/28         USC UNV HOSP 25094038 LOS ANGELES CA             $22.80
                    12/23       12/29         USC UNIVERSITY HOSPITA LOS ANGELES CA           -$27.24
                    12/27       12/29         AJ WINE & SPIRITS INC. CALABASAS CA              $45.45
                    12/27       12/29         SPAGHETTINI SEAL BEACH SEAL BEACH CA            $428.84
                    12/27       12/29         EXXONMOBIL 97640445 SEAL BEACH CA                $11.95
                    12/27       12/29         EXXONMOBIL 97640445 SEAL BEACH CA                $37.68
                    12/30       12/31         RADIOSHACK COR00135582 AGOURA          CA        $39.22
                    12/30       12/31         STARBUCKS #05858 CALAB Calabasas CA              $10.60
                    12/30       12/31         STARBUCKS #05858 CALAB Calabasas CA              $11.90
                    12/30       12/31         RITE AID STORE - 5539 AGOURA HILLS CA             $1.20
                    12/30       12/31         AJ WINE & SPIRITS INC. CALABASAS CA             $197.44
                    12/30       12/31         RALPHS #0026         AGOURA     CA                $6.98
                    12/30       12/31         GREEN BASIL THAI RESTA CALABASAS CA              $27.07
                    12/31       01/04         STARBUCKS #05777 SHERM Sherman Oaks CA            $9.65
                    01/01       01/04         THE SUNSET RESTAURANT MALIBU         CA         $150.00
                    12/31       01/04         FOUR SEASONS WLAKE SPA WESTLAKE VILLCA           $79.03
                    01/02       01/04         PETSMART INC 103       WESTLAKE VILLCA           $31.80
                    01/02       01/04         DELKIND INC         AGOURA HILLS CA              $89.70
                    01/02       01/04         CANYON CLEANERS         AGOURA HILLS CA          $82.00
                    01/02       01/05         AGOURA'S FAMOUS DELI & AGOURA HILLS CA           $69.30
                                              Total Purchase Activity                        $1,746.04




                                                                                          EX. KKK - 035
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 164 of 297



                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    Trans Date    Posting Date     Transaction Description                                                  Amount
                    01/01         01/04            ALIEXPRESS          DOVER    DE                                            $19.99
                    01/01         01/04            ALIEXPRESS          DOVER    DE                                            $11.69
                    01/01         01/04            ALIEXPRESS          DOVER    DE                                             $5.81
                    01/01         01/04            TACO BELL #2106 QPS CALABASAS CA                                            $5.66
                    01/01         01/04            TACO BELL #2106 QPS CALABASAS CA                                           $10.10
                    01/01         01/04            MEDITERRANEAN PITA GRI CALABASAS CA                                        $23.38
                    01/05         01/07            TOBACCO ROYALE          CALADASAS CA                                       $17.12
                    01/08         01/11            ALIEXPRESS          DOVER    DE                                            $14.60
                    01/08         01/11            ALIEXPRESS          DOVER    DE                                           -$29.11
                    01/12         01/13            ALIEXPRESS          DOVER    DE                                           -$35.46
                    01/11         01/13            TOBACCO ROYALE          CALADASAS CA                                       $64.22
                    01/13         01/14            ALIEXPRESS          DOVER    DE                                            $32.00
                    01/13         01/14            ALIEXPRESS          DOVER    DE                                            $13.46
                                                   Total Purchase Activity                                                  $153.46



                    Summary of Fees and Interest




                                                                                                                                        241158 3/6
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $0.00                             Total Interest charged in 2016                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 036
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                                                                          Desc
                                                                                                                                                                       March 13, 2016
                                                              Exhibit HHH-KKK Page 165 of 297Minimum Payment Due                                                               $25.00
                                                                                                                                  Previous Balance                          $1,899.50
                                                                                                                                  Statement Balance                          $851.80


Customer News                                          Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                              Page 1 of 6
                                                       Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
YOUR 2015 ANNUAL SUMMARY                               Statement Billing Period: 01/17/16 - 02/16/16                                                                 BarclaycardUS.com
IS HERE!
                                                       Account Summary                                                        Activity Summary
It’s a handy breakdown of all your
                                                       Minimum Payment Due                                    $25.00          Previous Balance                                $1,899.50
card transactions during the past
                                                       Payment Due Date                                     03/13/16           - Payments                                     $4,043.49
year. You can view, download and
                                                       Statement End Date                                   02/16/16          + Purchases                                     $2,940.24
print it at BarclaycardUS.com. See
                                                       Revolving Line                                     $10,000.00           - Other Credits                                   $33.45
itemized purchases and payments -
                                                       Available Revolving Line                            $9,148.20          + Balance Transfers                                 $0.00
listed by category, organized by
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
month. Make
                                                       Available Cash Line                                 $4,000.00          + Fees Charged                                     $89.00
tax-time easier - get details of
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
your transactions, including
                                                       Overlimit Amount                                        $0.00          Statement Balance                                 $851.80
those made by authorized users .


                                                         Payment Information




                                                                                                                                                                                                 133597 1/6
                                                         Statement Balance                                                                                                   $851.80
                                                         Minimum Payment Due                                                                                                  $25.00
                                                         Payment Due Date                                                                                                  3/13/2016
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                              4 years                                  $1,122.00
                                                                                                                                                            $1,080.00
                                                                          $30.00                                    3 years
                                                                                                                                                        (Savings = $42.00)
                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to BarclaycardUS.com.



          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  11
                                                                Card Services
    BarclaycardUS.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $25.00
  Statement Balance                               $851.80
  Payment Due Date                      March 13, 2016



                                                                                                                                                                        EX. KKK - 037
                                                                                           Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                Desc
                        Exhibit HHH-KKK Page 166 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                    7,290
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)            5,820
                   Bonus Miles                                                                    0
                   Fan Zone Miles                                                                 0
                   Participation Miles                                                            0
                   Barclaycard RewardsBoost                                                       0
                   Miles Redeemed This Period                                                     0
                   Redemption Bonus                                                               0
                   Adjustments                                                                    0
                   Ending Miles Balance                                                      13,110



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                            Earn 2X miles on all purchases.
                          And remember, every time you redeem for travel statement credits,
                               you get miles back to use toward your next redemption.




                                                                                                         133597 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                          Amount
                    02/05      02/05        Payment Received       CITIBANK FSB            -$4,043.49
                                              Total Payment Activity                       -$4,043.49

                    Purchases
                    01/16       01/18         TACO BELL #2106 QPS CALABASAS CA                  $5.66
                    01/17       01/18         LA LIVE PARKING GARAGE LOS ANGELES CA            $25.00
                    01/17       01/18         BOBBYS COFFEE SHOP       WOODLAND HILLCA         $60.61
                    01/17       01/18         9021 PHO THOUSAND OAKS THOUSAND OAKSCA           $46.55
                    01/17       01/18         ALBERTSONS #6335       CALABASAS CA              $16.93
                    01/17       01/19         SHELL OIL 57444585400 CALABASAS CA               $25.02
                    01/17       01/19         SHELL OIL 57444585400 CALABASAS CA               $34.50
                    01/17       01/19         7-ELEVEN 39055       CALABASAS CA                $34.00
                    01/17       01/19         8173 GREAT CLIPS AT TW AGOURA        CA          $27.00
                    01/18       01/19         9021 PHO THOUSAND OAKS THOUSAND OAKSCA           $75.58
                    01/19       01/20         RALPHS #0026         AGOURA      CA             $238.17
                    01/18       01/20         CALABASAS MARKET & LIQ CALABASAS CA              $79.17
                    01/19       01/20         9021 PHO THOUSAND OAKS THOUSAND OAKSCA           $88.10
                    01/18       01/20         GRECOS NY PIZZARIA      SHERMANOAKS CA           $78.00
                    01/19       01/20         IN-N-OUT BURGER #297 WESTLAKE VILLCA             $25.07
                    01/19       01/20         CINEPOLIS LUXURY CINEM THOUSAND OAKSCA           $56.00
                    01/20       01/21         AJ WINE & SPIRITS INC. CALABASAS CA              $36.87
                    01/20       01/21         LHC             THOUSAND OAKSCA                  $42.91
                    01/19       01/21         LHC             THOUSAND OAKSCA                   $9.00
                    01/20       01/21         LHC             THOUSAND OAKSCA                  $19.04
                    01/20       01/21         GREEN BASIL THAI RESTA CALABASAS CA              $31.16
                    01/21       01/22         JACK IN THE BOX #31QPS CALABASAS CA              $18.72
                    01/23       01/25         CHEVRON 0094240        CALABASAS CA              $32.30
                    01/23       01/25         TUESDAY MORNING # 0220 WOODLAND HILLCA          $273.49
                    01/24       01/25         ALBERTSONS #6335       CALABASAS CA              $16.36
                    01/24       01/26         MICHAEL'S PIZZA       CALABASAS CA               $50.92
                    02/05       02/08         CASTING NETWORKS         03234628200 CA          $14.90
                    02/10       02/11         041790 MALIBU CANYO       08007040154 CA        $789.00
                                              Total Purchase Activity                       $2,250.03

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    01/15     01/18           TACO BELL #2106     QPS CALABASAS CA             $17.51
                    01/16     01/18           MICHAEL'S PIZZA       CALABASAS CA               $20.88




                                                                                         EX. KKK - 038
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 167 of 297



                    Activity for MARTY N RICH - card ending in 0642 (continued)
                    Purchases
                    01/17         01/18            CVS/PHARMACY #09751      AGOURA     CA                                     $7.07
                    01/17         01/18            ALBERTSONS #6335      CALABASAS CA                                        $34.15
                    01/18         01/19            ALIEXPRESS        DOVER      DE                                           $14.37
                    01/19         01/20            ALIEXPRESS        DOVER      DE                                          -$13.46
                    01/19         01/20            LAL MIRCH         AGOURA HILLS CA                                         $19.62
                    01/18         01/20            CVS/PHARMACY #09751      AGOURA     CA                                    $52.97
                    01/21         01/25            LHC             THOUSAND OAKSCA                                           $38.26
                    01/21         01/25            LHC             THOUSAND OAKSCA                                           $12.49
                    01/21         01/25            CINEPOLIS LUXURY CINEM THOUSAND OAKSCA                                    $74.00
                    01/22         01/25            TOBACCO ROYALE         CALADASAS CA                                       $47.55
                    01/24         01/25            BLU JAM CAFE MULHOLLAN WOODLAND HILLCA                                    $23.03
                    01/24         01/26            TOBACCO ROYALE         CALADASAS CA                                       $20.88
                    01/28         02/01            MICHAEL'S PIZZA     CALABASAS CA                                           $5.44
                    01/28         02/01            TOBACCO ROYALE         CALADASAS CA                                       $27.18
                    01/30         02/01            ALBERTSONS #6335      CALABASAS CA                                        $18.75
                    01/30         02/01            LAL MIRCH         AGOURA HILLS CA                                         $42.51
                    02/02         02/03            ALIEXPRESS        DOVER      DE                                          $128.00
                    02/03         02/04            ALIEXPRESS        DOVER      DE                                           $17.66




                                                                                                                                        133597 3/6
                    02/07         02/08            ALIEXPRESS        DOVER      DE                                            $3.60
                    02/07         02/08            ALIEXPRESS        DOVER      DE                                           $13.04
                    02/11         02/12            SQ *EDITPLUS - CAREY-I Los Angeles CA                                     $10.00
                    02/12         02/15            ALIEXPRESS        DOVER      DE                                          -$19.99
                    02/13         02/15            ALIEXPRESS        DOVER      DE                                           $18.99
                    02/13         02/15            ALIEXPRESS        DOVER      DE                                            $2.60
                    02/13         02/15            ALIEXPRESS        DOVER      DE                                           $19.66
                                                   Total Purchase Activity                                                  $656.76



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount
                    01/29         01/29            ANNUAL FEE                                                                 $89.00
                                                   Total Fees for this Period                                                 $89.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                            Total Interest charged in 2016                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 039
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                                                                         Desc
                                                                                                                                                                        April 13, 2016
                                                             Exhibit HHH-KKK Page 168 of 297Minimum Payment Due                                                                  None
                                                                                                                                 Previous Balance                             $851.80
                                                                                                                                 Statement Balance                               $0.00

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 0634                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 02/17/16 - 03/16/16                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                     $0.00          Previous Balance                                  $851.80
                                                      Payment Due Date                                     04/13/16           - Payments                                     $1,278.64
                                                      Statement End Date                                   03/16/16          + Purchases                                       $613.27
                                                      Revolving Line                                     $10,000.00           - Other Credits                                  $186.43
                                                      Available Revolving Line                           $10,000.00          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                      Overlimit Amount                                        $0.00          Statement Balance                                   $0.00



                                                        Payment Information




                                                                                                                                                                                                132416 1/6
                                                        Statement Balance                                                                                                     $0.00
                                                        Minimum Payment Due                                                                                                   None
                                                        Payment Due Date                                                                                                  4/13/2016
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                             0 months                                     $0.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.




         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                                None
 Statement Balance                                  $0.00
 Payment Due Date                        April 13, 2016



                                                                                                                                                                       EX. KKK - 040
                                                                                            Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                 Desc
                        Exhibit HHH-KKK Page 169 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                    13,110
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)               852
                   Bonus Miles                                                                     0
                   Fan Zone Miles                                                                  0
                   Participation Miles                                                             0
                   Barclaycard RewardsBoost                                                        0
                   Miles Redeemed This Period                                                      0
                   Redemption Bonus                                                                0
                   Adjustments                                                                     0
                   Ending Miles Balance                                                       13,962



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                            Earn 2X miles on all purchases.
                          And remember, every time you redeem for travel statement credits,
                               you get miles back to use toward your next redemption.




                                                                                                          132416 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Payments
                    Trans Date Posting Date Transaction Description                           Amount
                    02/23      02/23        Payment Received       CITIBANK FSB             -$1,030.14
                    03/10      03/10        Payment Received       CITIBANK FSB               -$248.50
                                              Total Payment Activity                        -$1,278.64

                    Purchases
                    01/16       02/17         WPC CLUB NOK68200518 LOS ANGELES CA               $38.00
                    01/16       02/17         WPC CLUB NOK68200518 LOS ANGELES CA               $25.00
                    01/16       02/17         WPC CLUB NOK68200518 LOS ANGELES CA               $12.00
                    01/16       02/17         WPC CLUB NOK68200518 LOS ANGELES CA               $33.00
                    01/16       02/17         WPC CLUB NOK68200518 LOS ANGELES CA               $34.00
                    01/16       02/17         WPC CLUB NOK68200518 LOS ANGELES CA               $33.00
                    03/05       03/07         CASTING NETWORKS    03234628200 CA                $14.90
                                              Total Purchase Activity                         $189.90

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    02/16       02/17         ALIEXPRESS      DOVER      DE                      $8.16
                    02/20       02/22         ALIEXPRESS      DOVER      DE                     -$4.82
                    02/22       02/23         MCDONALD'S F11331     CALABASAS        CA          $9.35
                    02/23       02/24         ALIEXPRESS      DOVER      DE                    -$19.58
                    02/24       02/25         ALIEXPRESS      DOVER      DE                   -$128.00
                    02/25       02/25         ALIEXPRESS      DOVER      DE                    -$19.66
                    02/25       02/25         ALIEXPRESS      DOVER      DE                    -$14.37
                    03/02       03/03         AZ FAREPHOENIX MUNICIP PHOENIX         AZ        $405.86
                                              Total Purchase Activity                         $236.94



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                           Amount

                                              Total Fees for this Period                         $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                           Amount

                                              Total Interest for this Period                     $0.00




                                                                                          EX. KKK - 041
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 170 of 297


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                            Total Interest charged in 2016                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 29 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00




                                                                                                                                        132416 3/6
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 042
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                                                                         Desc
                                                                                                                                                                         May 13, 2016
                                                             Exhibit HHH-KKK Page 171 of 297Minimum Payment Due                                                               $27.23
                                                                                                                                 Previous Balance                               $0.00
                                                                                                                                 Statement Balance                         $2,723.45

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 7
                                                      Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 03/17/16 - 04/16/16                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                    $27.23          Previous Balance                                    $0.00
                                                      Payment Due Date                                     05/13/16           - Payments                                       $100.00
                                                      Statement End Date                                   04/16/16          + Purchases                                     $2,860.10
                                                      Revolving Line                                     $10,000.00           - Other Credits                                   $36.65
                                                      Available Revolving Line                            $7,276.55          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                      Overlimit Amount                                        $0.00          Statement Balance                               $2,723.45



                                                        Payment Information




                                                                                                                                                                                                229466 1/7
                                                        Statement Balance                                                                                                 $2,723.45
                                                        Minimum Payment Due                                                                                                  $27.23
                                                        Payment Due Date                                                                                                  5/13/2016
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                             13 years                                  $5,348.00
                                                                                                                                                           $3,420.00
                                                                         $95.00                                    3 years
                                                                                                                                                     (Savings = $1,928.00)
                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.



         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                               $27.23
 Statement Balance                             $2,723.45
 Payment Due Date                         May 13, 2016



                                                                                                                                                                       EX. KKK - 043
                                                                                           Page 2 of 7
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                Desc
                        Exhibit HHH-KKK Page 172 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                   13,962
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)            5,652
                   Bonus Miles                                                                    0
                   Fan Zone Miles                                                                 0
                   Participation Miles                                                            0
                   Barclaycard RewardsBoost                                                       0
                   Miles Redeemed This Period                                                     0
                   Redemption Bonus                                                               0
                   Adjustments                                                                    0
                   Ending Miles Balance                                                      19,614



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                              Earn 2X miles on all purchases.
                            And remember, every time you redeem for travel statement credits,
                                 you get miles back to use toward your next redemption.




                                                                                                          229466 2/7
                    Activity for ROBIN C DIMAGGIO - card ending in 1872
                    Payments
                    Trans Date Posting Date Transaction Description                          Amount
                    04/12      04/12        Payment Received       CITIBANK FSB              -$100.00
                                              Total Payment Activity                         -$100.00

                    Purchases
                    04/06       04/11         SUNSET OIL & MINI MART WEST HOLLYWOOCA              $5.53
                    04/06       04/11         SUNSET OIL & MINI MART WEST HOLLYWOOCA             $43.00
                    04/06       04/11         NO RANCH BEAUTY SALON3 WESTLAKE VILLCA            $166.84
                    04/11       04/12         LADYFACE ALEHOUSE & BR AGOURA HILLS CA             $61.23
                    04/11       04/13         USA PETRO #68101     AGOURA HILLS CA               $20.00
                    04/12       04/13         PETCO 552 63505523 WOODLAND HILLCA                 $32.68
                    04/12       04/13         STARBUCKS #11603 WOODL Woodland HillCA             $18.60
                    04/12       04/13         STARBUCKS #11603 WOODL Woodland HillCA              $5.50
                    04/12       04/13         STARBUCKS #11603 WOODL Woodland HillCA              $3.15
                    04/12       04/13         STARBUCKS #11603 WOODL Woodland HillCA              $3.75
                    04/11       04/13         AGOURA HILLS STADIUM 8 AGOURA HILLS CA             $40.50
                    04/12       04/13         DOMINO'S 8405       CALABASAS CA                   $18.03
                    04/12       04/13         CVS/PHARMACY #09751     AGOURA      CA             $51.99
                    04/12       04/14         YOGIS GRILL WOODLAND WOODLAND HILLCA               $10.23
                    04/13       04/14         STARBUCKS #05549 LOS A Los Angeles CA               $2.55
                    04/13       04/14         COFFEE BEAN STORE     STUDIO CITY CA               $10.08
                    04/13       04/14         GREEN BASIL THAI RESTA CALABASAS CA                $26.80
                    04/13       04/15         SCHROEDER AND SCHROEDE AGOURA HILLS CA             $45.00
                    04/13       04/15         SANTA FE CAFE       CALABASAS CA                    $6.48
                    04/14       04/15         ABC PHARMACY OF BH      BEVERLY HILLSCA             $7.59
                    04/14       04/15         ABC PHARMACY OF BH      BEVERLY HILLSCA             $6.50
                                              Total Purchase Activity                           $586.03

                    Activity for ROBIN C DIMAGGIO - card ending in 0634
                    Purchases
                    03/19     03/21           CHOCOLATINE        THOUSAND OAKSCA                 $27.00
                    03/19     03/21           ENTERPRISERENT-A-CAR THOUSAND OAKSCA              $279.35
                                              03/19/16

                    03/21       03/22         ALBERTSONS #6335     CALABASAS CA                 $159.73
                    03/21       03/22         SIT N SLEEP AGOURA 37 AGOURA HILLS CA             $218.20
                    03/21       03/23         SCHROEDER AND SCHROEDE AGOURA HILLS CA             $45.00
                    03/22       03/23         CHEVRON 0099693      AGOURA    CA                  $10.00
                    03/22       03/23         CHOCOLATINE         THOUSAND OAKSCA                $63.55
                    03/21       03/23         AGOURA'S FAMOUS DELI & AGOURA HILLS CA             $38.16




                                                                                        EX. KKK - 044
                                                                                                                   Page 3 of 7
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                    Activity for ROBIN C DIMAGGIO - card ending in 0634 (continued)
                    Purchases
                    03/22         03/23          T MOBILE 7818     THOUSAND OAKSCA                                   $224.37
                    03/22         03/23          TJ MAXX #835      THOUSAND OAKSCA                                   $144.49
                    03/22         03/24          SELECT COMFORT 100   THOUSAND OAKSCA                                 $20.74
                    03/22         03/24          U-HAUL OF AGOURA     AGOURA    CA                                    $45.07
                                                 03/23/16

                    03/22         03/24          ZUMIEZ #293      THOUSAND OAKSCA                                      $96.69
                    04/05         04/06          CASTING NETWORKS     03234628200 CA                                   $14.90
                    04/06         04/07          PETCO 1180 63511802 WESTLAKE VLG CA                                   $45.92
                                                 Total Purchase Activity                                            $1,433.17

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    Trans Date    Posting Date   Transaction Description                                             Amount
                    03/17         03/21          FOODCOURT GRILLE        WINTERHAVEN CA                                $24.09
                    03/17         03/21          IRONWOOD STEAKHOUSE        WINTERHAVEN CA                           $302.36
                    03/17         03/21          OCOTILLO BAR          WINTERHAVEN CA                                   $8.25
                    03/17         03/21          OCOTILLO BAR          WINTERHAVEN CA                                  $11.51




                                                                                                                                 229466 3/7
                    03/26         03/28          ALIEXPRESS          DOVER    DE                                      -$18.99
                    03/26         03/28          ALIEXPRESS          DOVER    DE                                      -$17.66
                    03/29         03/30          ALIEXPRESS          DOVER    DE                                       $94.00
                    03/31         04/01          ALIEXPRESS          DOVER    DE                                       $39.99
                    04/01         04/04          ALIEXPRESS          DOVER    DE                                       $23.99
                    04/01         04/04          ALIEXPRESS          DOVER    DE                                       $60.00
                    04/02         04/04          ALIEXPRESS          DOVER    DE                                        $6.99
                    04/02         04/04          ALIEXPRESS          DOVER    DE                                       $67.82
                    04/04         04/04          ALIEXPRESS          DOVER    DE                                       $65.44
                    04/04         04/04          ALIEXPRESS          DOVER    DE                                       $60.36
                    04/04         04/05          ALIEXPRESS          DOVER    DE                                        $9.65
                    04/13         04/13          ALIEXPRESS          DOVER    DE                                        $7.71
                    04/13         04/14          ALIEXPRESS          DOVER    DE                                       $58.74
                                                 Total Purchase Activity                                             $804.25



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                  Amount

                                                 Total Fees for this Period                                             $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                  Amount

                                                 Total Interest for this Period                                         $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                       Total Interest charged in 2016              $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                 Promotional Balance       ANNUAL
                                                                  Rate End    Subject to PERCENTAGE               Interest
                                                                    Date    Interest Rate RATE (APR)               Charge
                    Purchases
                        Current Purchases                             ---              $0.00        15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks              ---              $0.00        15.24% (v)      $0.00




                                                                                                                 EX. KKK - 045
                                                                                                                          Page 4 of 7
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                    Interest Charge Calculation - 31 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        229466 4/7




                                                                                                                        EX. KKK - 046
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                                                                         Desc
                                                                                                                                                                        June 13, 2016
                                                             Exhibit HHH-KKK Page 175 of 297Minimum Payment Due                                                               $77.58
                                                                                                                                 Previous Balance                          $2,723.45
                                                                                                                                 Statement Balance                         $3,526.34

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 04/17/16 - 05/16/16                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                    $77.58          Previous Balance                                $2,723.45
                                                      Payment Due Date                                     06/13/16           - Payments                                       $100.00
                                                      Statement End Date                                   05/16/16          + Purchases                                       $918.35
                                                      Revolving Line                                     $10,000.00           - Other Credits                                   $58.21
                                                      Available Revolving Line                            $6,473.66          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                 $42.75
                                                      Overlimit Amount                                        $0.00          Statement Balance                               $3,526.34



                                                        Payment Information




                                                                                                                                                                                                132061 1/6
                                                        Statement Balance                                                                                                 $3,526.34
                                                        Minimum Payment Due                                                                                                  $77.58
                                                        Payment Due Date                                                                                                  6/13/2016
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                             15 years                                  $7,129.00
                                                                                                                                                           $4,428.00
                                                                        $123.00                                    3 years
                                                                                                                                                     (Savings = $2,701.00)
                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.



         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                               $77.58
 Statement Balance                             $3,526.34
 Payment Due Date                        June 13, 2016



                                                                                                                                                                       EX. KKK - 047
                                                                                           Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                Desc
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                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                   19,614
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)            1,724
                   Bonus Miles                                                                    0
                   Fan Zone Miles                                                                 0
                   Participation Miles                                                            0
                   Barclaycard RewardsBoost                                                       0
                   Miles Redeemed This Period                                                     0
                   Redemption Bonus                                                               0
                   Adjustments                                                                    0
                   Ending Miles Balance                                                      21,338



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                              Earn 2X miles on all purchases.
                            And remember, every time you redeem for travel statement credits,
                                 you get miles back to use toward your next redemption.




                                                                                                          132061 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 1872
                    Payments
                    Trans Date Posting Date Transaction Description                          Amount
                    05/10      05/10        Payment Received       CITIBANK FSB              -$100.00
                                              Total Payment Activity                         -$100.00

                    Purchases
                    04/14       04/18         ABM PARKING DOHENY PLA BEVERLY HILLSCA              $6.45
                    04/14       04/18         PHO SO 1 RESTAURANT   RESEDA    CA                 $40.26
                    04/15       04/18         CALABASAS PET WASH INC CALABASAS CA               $120.00
                    04/14       04/18         TRIMANA         BEVERLY HILLSCA                    $27.58
                    04/15       04/18         CAFE OLE        CALABASAS CA                       $16.85
                    04/15       04/18         AGOURA'S FAMOUS DELI & AGOURA HILLS CA             $33.29
                                              Total Purchase Activity                           $244.43

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    04/16       04/18         ALIEXPRESS        DOVER      DE                    $90.46
                    04/18       04/19         ALIEXPRESS        DOVER      DE                   $153.58
                    04/18       04/19         ALIEXPRESS        DOVER      DE                    $13.78
                    04/19       04/20         ALIEXPRESS        DOVER      DE                    $65.52
                    04/20       04/21         ALIEXPRESS        DOVER      DE                     $7.10
                    04/20       04/21         ALIEXPRESS        DOVER      DE                    $71.88
                    04/20       04/21         ALIEXPRESS        DOVER      DE                    $22.99
                    04/21       04/22         ALIEXPRESS        DOVER      DE                   -$58.21
                    04/21       04/22         TBMBM            8888018697 NV                     $59.99
                    04/24       04/26         TOBACCO ROYALE        CALADASAS CA                 $39.50
                    04/29       05/02         BREAKDOWN SERVICES      03102769166 CA              $3.50
                    05/04       05/05         A A A CA MBR RENEWAL - R 08774282277 CA           $125.00
                    05/08       05/09         REDBOX *DVD RENTAL      866-733-2693 IL            $19.62
                    05/12       05/16         81161 - TARZANA MEDICA TARZANA        CA            $1.00
                                              Total Purchase Activity                           $615.71



                    Summary of Fees and Interest
                    Interest Charged
                    Trans Date Posting Date Transaction Description                          Amount
                    05/16       05/16         INTEREST CHARGE ON PURCHASES                       $42.75
                                              Total Interest for this Period                     $42.75




                                                                                         EX. KKK - 048
                                                                                                                          Page 3 of 6
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                    Summary of Fees and Interest (continued)

                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                            Total Interest charged in 2016               $42.75
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases




                                                                                                                                        132061 3/6
                        Current Purchases                                  ---            $3,409.35        15.24% (v)     $42.75
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                $42.75
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 049
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                           July 13, 2016
                                                               Exhibit HHH-KKK Page 178 of 297Minimum Payment Due                                                               $124.97
                                                                                                                                   Previous Balance                           $3,526.34
                                                                                                                                   Statement Balance                          $6,654.27


Customer News                                           Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                               Page 1 of 7
                                                        Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
CONGRATULATIONS!                                        Statement Billing Period: 05/17/16 - 06/16/16                                                                 BarclaycardUS.com
Because you have managed your
                                                        Account Summary                                                        Activity Summary
account responsibly, we've increased
                                                        Minimum Payment Due                                   $124.97          Previous Balance                                $3,526.34
your credit line to $11,500.00. This
                                                        Payment Due Date                                     07/13/16           - Payments                                       $200.00
increase is effective right away, so it
                                                        Statement End Date                                   06/16/16          + Purchases                                     $3,397.94
is available to you now. We hope
                                                        Revolving Line                                     $11,500.00           - Other Credits                                  $129.03
this increase makes it easier and
                                                        Available Revolving Line                            $4,845.73          + Balance Transfers                                 $0.00
more convenient to use your
                                                        Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
Barclaycard Arrival Plus World Elite
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
MasterCard® for all of your
                                                        Past Due Amount                                         $0.00          + Interest Charged                                 $59.02
purchases.
                                                        Overlimit Amount                                        $0.00          Statement Balance                               $6,654.27



                                                          Payment Information




                                                                                                                                                                                                  132215 1/7
                                                          Statement Balance                                                                                                 $6,654.27
                                                          Minimum Payment Due                                                                                                 $124.97
                                                          Payment Due Date                                                                                                  7/13/2016
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:

                                                              If you make no additional                    You will pay off the
                                                             charges using this card and                  balance shown on this                   And you will end up paying
                                                                each month you pay…                       statement in about…                      an estimated total of…

                                                               Only the minimum payment                             20 years                                 $14,257.00
                                                                                                                                                             $8,316.00
                                                                          $231.00                                    3 years
                                                                                                                                                       (Savings = $5,941.00)
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to BarclaycardUS.com.



           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  11
                                                                 Card Services
    BarclaycardUS.com                                            P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                              $124.97
  Statement Balance                              $6,654.27
  Payment Due Date                          July 13, 2016



                                                                                                                                                                         EX. KKK - 050
                                                                                          Page 2 of 7
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08               Desc
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                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                  21,338
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)           6,540
                   Bonus Miles                                                                   0
                   Participation Miles                                                           0
                   Barclaycard RewardsBoost                                                      0
                   Miles Redeemed This Period                                                    0
                   Redemption Bonus                                                              0
                   Adjustments                                                                   0
                   Ending Miles Balance                                                     27,878



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                            Earn 2X miles on all purchases.
                          And remember, every time you redeem for travel statement credits,
                               you get miles back to use toward your next redemption.




                                                                                                        132215 2/7
                    Activity for ROBIN C DIMAGGIO - card ending in 1872
                    Payments
                    Trans Date Posting Date Transaction Description                         Amount
                    06/13      06/13        Payment Received       CITIBANK FSB             -$200.00
                                              Total Payment Activity                        -$200.00

                    Purchases
                    06/04       06/06         ROCK & BREWS         LOS ANGELES CA              $59.01
                    06/05       06/06         STARBUCKS #05636 CALAB Calabasas CA               $2.55
                    06/05       06/06         STARBUCKS #05636 CALAB Calabasas CA              $26.00
                    06/03       06/06         KLIMA           MIAMI BEACH FL                  $139.38
                    06/05       06/06         ALBERTSONS #6335       CALABASAS CA              $57.75
                    06/05       06/06         MCDONALD'S F11331       CALABASAS CA             $24.02
                    06/05       06/07         STARBUCKS H06 12291548 MIAMI       FL             $7.38
                    06/05       06/07         CORNER BAKERY         CALABASAS CA               $43.91
                    06/05       06/07         EXXONMOBIL 97654214 CALABASAS CA                  $9.00
                    06/05       06/07         EXXONMOBIL 97654214 CALABASAS CA                 $29.00
                    06/07       06/08         BANFIELD 0103       WESTLAKE VILLCA             $125.59
                    06/07       06/08         LEO AND LILY       WOODLAND HILLCA              $102.08
                    06/07       06/09         STARBUCKS STORE 11603 WOODLAND HILLCA             $3.25
                    06/08       06/09         STARBUCKS #05858 CALAB Calabasas CA               $6.50
                    06/08       06/09         STARBUCKS #05858 CALAB Calabasas CA              $40.00
                    06/07       06/09         IN *INTERSTATE VAPE IN 323-2475524 CA            $58.86
                    06/09       06/10         STARBUCKS #05858 CALAB Calabasas CA               $9.50
                    06/09       06/10         STARBUCKS #05858 CALAB Calabasas CA              $27.70
                    06/09       06/10         STARBUCKS #00635 AGOUR Agoura        CA           $6.80
                    06/10       06/13         TIC TOC CLEANERS      AGOURA HILLS CA            $92.25
                    06/10       06/13         STARBUCKS #06610 VALLE Valley VillagCA            $4.25
                    06/10       06/13         LEO AND LILY       WOODLAND HILLCA               $83.27
                    06/09       06/13         EXXONMOBIL 97654214 CALABASAS CA                 $38.00
                    06/11       06/13         STARBUCKS #05858 CALAB Calabasas CA              $19.80
                    06/10       06/14         FOUR SEASONS WLAKE FB WESTLAKE VILLCA            $32.25
                    06/10       06/14         FOUR SEASONS WLAKE FB WESTLAKE VILLCA            $32.43
                    06/10       06/14         FOUR SEASONS WLAKE SPA WESTLAKE VILLCA          $134.00
                    06/13       06/14         STARBUCKS #05858 CALAB Calabasas CA              $14.20
                    06/13       06/14         STARBUCKS #05858 CALAB Calabasas CA              $41.70
                    06/12       06/14         EXXONMOBIL 97654214 CALABASAS CA                 $44.00
                    06/13       06/15         THE OAKS GOURMET MARKE LOS ANGELES CA            $55.87
                    06/13       06/15         THE OAKS GOURMET MARKE LOS ANGELES CA            $32.25
                    06/12       06/15         MEDITERRANEAN PITA GRI CALABASAS CA              $43.97
                    06/13       06/15         PRO DRUM SHOP         LOS ANGELES CA            $170.85
                    06/13       06/15         PRO DRUM SHOP         LOS ANGELES CA             $18.00
                    06/13       06/15         YOGIS GRILL WOODLAND WOODLAND HILLCA             $35.44




                                                                                        EX. KKK - 051
                                                                                               Page 3 of 7
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                    Desc
                        Exhibit HHH-KKK Page 180 of 297



                    Activity for ROBIN C DIMAGGIO - card ending in 1872 (continued)
                    Purchases
                    06/13        06/15          HIDDEN VP       WOODLAND HILLCA                   $43.57
                    06/14        06/15          LIANYIN*FLATBOOTSA   SHANGHAI CHN                $174.91
                    06/14        06/15          LEO AND LILY     WOODLAND HILLCA                  $56.13
                    06/14        06/16          FOUR SEASONS WLAKE FB WESTLAKE VILLCA             $21.08
                    06/14        06/16          FOUR SEASONS WLAKE SPA WESTLAKE VILLCA            $79.03
                                                Total Purchase Activity                         $2,045.53

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    Trans Date   Posting Date   Transaction Description                          Amount
                    05/22        05/23          AGI*LIABILITYINSURANCE 800-370-1990 FL             $32.25
                    05/21        05/23          CALABASAS MARKET & LIQ CALABASAS CA                 $6.00
                    05/22        05/23          ALIEXPRESS          DOVER       DE               $141.80
                    05/21        05/23          SANTA FE CAFE         CALABASAS CA                  $5.39
                    05/23        05/24          ALIEXPRESS          DOVER       DE                 $69.03
                    05/22        05/25          MEDITERRANEAN PITA GRI CALABASAS CA                $50.61
                    05/24        05/26          CALABASAS MARKET & LIQ CALABASAS CA                 $8.99




                                                                                                             132215 3/7
                    05/24        05/26          CAFE OLE           CALABASAS CA                     $4.95
                    05/24        05/26          CAFE OLE           CALABASAS CA                     $4.95
                    05/25        05/26          CVS/PHARMACY #09751         AGOURA     CA          $11.76
                    05/25        05/27          CALABASAS MARKET & LIQ CALABASAS CA                 $6.14
                    05/25        05/30          SANTA FE CAFE         CALABASAS CA                 $18.03
                    05/27        05/30          7-ELEVEN 39055        CANOGA PARK CA               $20.04
                    05/29        05/30          MICHAELS PIZZA         CALABASAS CA                $22.02
                    05/30        05/31          ALIEXPRESS          DOVER       DE                 $72.80
                    05/30        05/31          ALIEXPRESS          DOVER       DE                -$65.52
                    06/02        06/03          SHERMAN OAKS 76           SHERMAN OAKS CA          $40.02
                    06/03        06/06          CASTING NETWORKS           03234628200 CA           $1.49
                    06/03        06/06          GOODWILL STORE #35         LOS ANGELES CA          $62.92
                    06/03        06/06          IN *INTERSTATE VAPE IN 323-2475524 CA              $27.80
                    06/03        06/06          AGOURA HILLS STADIUM 8 AGOURA HILLS CA             $29.00
                    06/03        06/06          AGOURA HILLS STADIUM 8 AGOURA HILLS CA              $9.72
                    06/04        06/06          MICHAELS PIZZA         CALABASAS CA                $38.10
                    06/05        06/06          MICHAELS PIZZA         CALABASAS CA                $32.22
                    06/03        06/06          CALABASAS MARKET & LIQ CALABASAS CA                $12.59
                    06/03        06/06          HOME RESTAURANT            LOS ANGELES CA          $25.38
                    06/03        06/06          TOBACCO ROYALE           CALABASAS CA              $27.18
                    06/07        06/08          ALIEXPRESS          DOVER       DE                 $63.51
                    06/08        06/09          ALIEXPRESS          DOVER       DE               $103.00
                    06/08        06/10          CALABASAS MARKET & LIQ CALABASAS CA                 $7.99
                    06/10        06/13          MICHAELS PIZZA         CALABASAS CA                 $7.62
                    06/10        06/13          ALIEXPRESS          DOVER       DE                -$63.51
                    06/12        06/13          ALIEXPRESS          DOVER       DE                 $12.50
                    06/12        06/13          ALIEXPRESS          DOVER       DE                 $76.00
                    06/10        06/13          CALABASAS MARKET & LIQ CALABASAS CA                 $5.75
                    06/10        06/13          SANTA FE CAFE         CALABASAS CA                 $17.22
                    06/12        06/14          7-ELEVEN 39055        CANOGA PARK CA                $6.02
                    06/12        06/14          SANTA FE CAFE         CALABASAS CA                 $14.71
                    06/14        06/15          ALIEXPRESS          DOVER       DE               $100.00
                    06/14        06/15          GREEN BASIL THAI RESTA CALABASAS CA                $13.08
                    06/14        06/16          PICK UP STIX 703 CALAB CALABASAS CA                $18.06
                    06/15        06/16          BOBBYS COFFEE SHOP         WOODLAND HILLCA         $27.23
                    06/15        06/16          CHEVRON 0305025          VALENCIA CA                $4.23
                    06/14        06/16          CALABASAS MARKET & LIQ CALABASAS CA                 $8.68
                    06/14        06/16          SANTA FE CAFE         CALABASAS CA                  $8.66
                    06/14        06/16          TOBACCO ROYALE           CALABASAS CA              $13.00
                    06/15        06/16          EXXONMOBIL 98706013 NEWHALL             CA         $20.00
                    06/15        06/16          ITALIA DELI & BAKE      AGOURA HILLS CA            $43.97
                                                Total Purchase Activity                         $1,223.38




                                                                                             EX. KKK - 052
                                                                                                                          Page 4 of 7
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                    Summary of Fees and Interest
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount
                    06/16         06/16            INTEREST CHARGE ON PURCHASES                                               $59.02
                                                   Total Interest for this Period                                             $59.02
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                            Total Interest charged in 2016              $101.77
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle




                                                                                                                                        132215 4/7
                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---            $4,555.05        15.24% (v)     $59.02
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                $59.02
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 053
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08August
                                                                                                    Due Date
                                                                                                                    Desc13, 2016
                                                             Exhibit HHH-KKK Page 182 of 297Minimum Payment Due          $85.51
                                                                                                                                 Previous Balance                             $6,654.27
                                                                                                                                 Statement Balance                             $157.07

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 06/17/16 - 07/16/16                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                    $85.51          Previous Balance                                $6,654.27
                                                      Payment Due Date                                     08/13/16           - Payments                                     $8,734.14
                                                      Statement End Date                                   07/16/16          + Purchases                                     $2,169.95
                                                      Revolving Line                                     $11,500.00           - Other Credits                                   $17.80
                                                      Available Revolving Line                           $11,342.93          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                 $84.79
                                                      Overlimit Amount                                        $0.00          Statement Balance                                 $157.07



                                                        Payment Information




                                                                                                                                                                                                234249 1/6
                                                        Statement Balance                                                                                                   $157.07
                                                        Minimum Payment Due                                                                                                  $85.51
                                                        Payment Due Date                                                                                                  8/13/2016
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                             5 months                                   $161.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.




         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                               $85.51
 Statement Balance                               $157.07
 Payment Due Date                     August 13, 2016



                                                                                                                                                                       EX. KKK - 054
                                                                                          Page 2 of 6
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                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                  27,878
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)           4,312
                   Bonus Miles                                                                   0
                   Participation Miles                                                           0
                   Barclaycard RewardsBoost                                                      0
                   Miles Redeemed This Period                                                    0
                   Redemption Bonus                                                              0
                   Adjustments                                                                   0
                   Ending Miles Balance                                                     32,190



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                            Earn 2X miles on all purchases.
                          And remember, every time you redeem for travel statement credits,
                               you get miles back to use toward your next redemption.




                                                                                                        234249 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 1872
                    Payments
                    Trans Date Posting Date Transaction Description                         Amount
                    07/05      07/05        Payment Received       CITIBANK FSB           -$1,500.00
                    07/14      07/14        Payment Received       CITIBANK FSB           -$7,234.14
                                              Total Payment Activity                      -$8,734.14

                    Purchases
                    06/27     06/28           LEO AND LILY      WOODLAND HILLCA                $72.32
                    07/06     07/07           GOOGLE *HBO Dig Sv Inc g.co/payhelp#CA           $14.99

                                              Total Purchase Activity                          $87.31

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    06/16       06/17         ALIEXPRESS        DOVER      DE                  $21.98
                    06/16       06/17         BOBBYS COFFEE SHOP      WOODLAND HILLCA          $20.00
                    06/15       06/17         SIX FLAGS MAGIC MOUQ84 VALENCIA CA               $16.23
                    06/16       06/17         GREEN BASIL THAI RESTA CALABASAS CA              $21.80
                    06/16       06/20         TOBACCO ROYALE         CALABASAS CA              $21.75
                    06/16       06/20         TOBACCO ROYALE         CALABASAS CA              $38.50
                    06/17       06/20         ALBERTSONS #6335      CALABASAS CA               $37.58
                    06/18       06/20         TWC*TIME WARNER CABLE 888-TWCABLE CA            $150.26
                    06/18       06/20         MICHAELS PIZZA       CALABASAS CA                $26.79
                    06/18       06/20         ALIEXPRESS        DOVER      DE                   $8.56
                    06/16       06/20         MEDITERRANEAN PITA GRI CALABASAS CA              $19.60
                    06/20       06/22         CALABASAS MARKET & LIQ CALABASAS CA               $6.49
                    06/20       06/22         SANTA FE CAFE       CALABASAS CA                 $22.50
                    06/23       06/24         CHEVRON 0094240       CALABASAS CA               $29.99
                    06/23       06/24         CARE FIRST RX      WEST HILLS CA                  $3.22
                    06/23       06/27         SHELL OIL 57444585400 CALABASAS CA               $42.61
                    06/26       06/27         AGI*LIABILITYINSURANCE 800-370-1990 FL          -$17.80
                    06/24       06/27         SHARKYS WOODFIRED MEX CALABASAS CA               $25.70
                    06/25       06/27         NUTRALUCID.COM         8446072496 CA             $54.94
                    06/24       06/27         CALABASAS MARKET & LIQ CALABASAS CA               $9.45
                    06/25       06/27         CALABASAS MARKET & LIQ CALABASAS CA              $16.81
                    06/26       06/28         EXOTIC THAI AGOURA INC AGOURA HILLS CA           $34.34
                    06/27       06/29         CALABASAS MARKET & LIQ CALABASAS CA               $7.58
                    06/27       06/29         TOBACCO ROYALE         CALABASAS CA              $38.00
                    06/28       06/29         SQ *MELISSA SEWELL     OAK PARK CA              $120.00
                    06/27       06/30         MEDITERRANEAN PITA GRI CALABASAS CA              $25.05
                    06/28       06/30         AL MULINO EATALIAN BAK THOUSAND OAKSCA          $695.91
                    06/28       06/30         SANTA FE CAFE       CALABASAS CA                 $15.80




                                                                                        EX. KKK - 055
                                                                                                                          Page 3 of 6
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                    Activity for MARTY N RICH - card ending in 0642 (continued)
                    Purchases
                    06/28         06/30            TOBACCO ROYALE         CALABASAS CA                                        $21.75
                    06/29         06/30            ITALIA DELI & BAKE    AGOURA HILLS CA                                      $31.14
                    06/30         07/01            MICHAELS PIZZA       CALABASAS CA                                          $21.55
                    07/01         07/04            ALIEXPRESS         DOVER      DE                                           $18.74
                    06/30         07/04            CALABASAS MARKET & LIQ CALABASAS CA                                         $9.48
                    07/01         07/04            HABIT WOODLAND #7 Q91 WOODLAND HILLCA                                       $2.18
                    07/01         07/04            HABIT WOODLAND #7 Q91 WOODLAND HILLCA                                       $2.07
                    07/01         07/04            MEDITERRANEAN PITA GRI CALABASAS CA                                        $19.60
                    07/01         07/04            TOBACCO ROYALE         CALABASAS CA                                        $39.55
                    07/04         07/05            MICHAELS PIZZA       CALABASAS CA                                           $6.53
                    07/05         07/06            ALIEXPRESS         DOVER      DE                                           $13.88
                    07/05         07/06            ALIEXPRESS         DOVER      DE                                           $24.25
                    07/02         07/06            ALIEXPRESS         DOVER      DE                                           $25.90
                    07/08         07/08            ALIEXPRESS         DOVER      DE                                           $36.00
                    07/08         07/11            ALIEXPRESS         DOVER      DE                                           $11.68
                    07/09         07/11            ALIEXPRESS         DOVER      DE                                           $24.70
                    07/09         07/11            SANTA FE CAFE        CALABASAS CA                                          $16.51
                    07/09         07/11            0925 Sizzler      North HollywoCA                                          $30.77




                                                                                                                                        234249 3/6
                    07/08         07/11            EXOTIC THAI AGOURA INC AGOURA HILLS CA                                     $33.25
                    07/11         07/12            MICHAELS PIZZA       CALABASAS CA                                          $25.62
                    07/11         07/12            BOBBYS COFFEE SHOP      WOODLAND HILLCA                                    $21.41
                    07/11         07/13            SHELL OIL 57444584700 WOODLAND HILLCA                                      $42.36
                    07/11         07/14            MEDITERRANEAN PITA GRI CALABASAS CA                                        $23.96
                    07/13         07/15            SMOKEDAY            630-2901036 IL                                         $29.14
                    07/13         07/15            SANTA FE CAFE        CALABASAS CA                                          $19.18
                                                   Total Purchase Activity                                                 $2,064.84



                    Summary of Fees and Interest
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount
                    07/16         07/16            INTEREST CHARGE ON PURCHASES                                               $84.79
                                                   Total Interest for this Period                                             $84.79
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                            Total Interest charged in 2016              $186.56
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---            $6,761.35        15.24% (v)     $84.79
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                $84.79
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 056
           Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                      Desc
                                                                                                                September 13, 2016
                                                             Exhibit HHH-KKK Page 185 of 297Minimum Payment Due            $25.00
                                                                                                                                 Previous Balance                               $157.07
                                                                                                                                 Statement Balance                              $938.30

                                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                             Page 1 of 6
                                                      Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 07/17/16 - 08/16/16                                                                 BarclaycardUS.com

                                                      Account Summary                                                        Activity Summary
                                                      Minimum Payment Due                                    $25.00          Previous Balance                                  $157.07
                                                      Payment Due Date                                     09/13/16           - Payments                                        $94.07
                                                      Statement End Date                                   08/16/16          + Purchases                                     $1,159.63
                                                      Revolving Line                                     $11,500.00           - Other Credits                                  $284.33
                                                      Available Revolving Line                           $10,561.70          + Balance Transfers                                 $0.00
                                                      Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
                                                      Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                      Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                      Overlimit Amount                                        $0.00          Statement Balance                                 $938.30



                                                        Payment Information




                                                                                                                                                                                                235194 1/6
                                                        Statement Balance                                                                                                   $938.30
                                                        Minimum Payment Due                                                                                                  $25.00
                                                        Payment Due Date                                                                                                  9/13/2016
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                   You will pay off the
                                                            charges using this card and                 balance shown on this                   And you will end up paying
                                                               each month you pay…                      statement in about…                      an estimated total of…

                                                             Only the minimum payment                              4 years                                  $1,282.00
                                                                                                                                                           $1,188.00
                                                                         $33.00                                    3 years
                                                                                                                                                       (Savings = $94.00)
                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.



         Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
  Make payments online at                                                                                                                                                                  11
                                                               Card Services
  BarclaycardUS.com                                            P.O. Box 60517
                                                               City of Industry, CA 91716-0517

  Check for address change.
  Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
  Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

 Account Number               IDPOS=token001-8888
 Minimum Payment Due                               $25.00
 Statement Balance                               $938.30
 Payment Due Date                September 13, 2016



                                                                                                                                                                       EX. KKK - 057
                                                                                            Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                 Desc
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                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                    32,190
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)             2,072
                   Bonus Miles                                                                     0
                   Participation Miles                                                             0
                   Barclaycard RewardsBoost                                                        0
                   Miles Redeemed This Period                                                 32,064
                   Redemption Bonus                                                                0
                   Adjustments                                                                     0
                   Ending Miles Balance                                                        2,198



                        Get the most from your Barclaycard Arrival Plus Rewards Program
                                            Earn 2X miles on all purchases.
                          And remember, every time you redeem for travel statement credits,
                               you get miles back to use toward your next redemption.




                                                                                                          235194 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 1872
                    Payments
                    Trans Date Posting Date Transaction Description                           Amount
                    07/20      07/20        Payment Received       CITIBANK FSB                -$94.07
                                              Total Payment Activity                           -$94.07

                    Purchases
                    07/20       07/20         Cash back stmt credit 32,064 Points             -$160.32
                    07/20       07/21         BEST BUY     00001123 THOUSAND OAKSCA            $120.00
                    07/31       08/01         WUHANZY*HAVEFUNEDOS          SHENZHEN CHN         $48.07
                    08/07       08/08         GOOGLE *HBO Dig Sv Inc g.co/payhelp#CA            $14.99
                                              Total Purchase Activity                           $22.74

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    07/17       07/18         ALIEXPRESS       DOVER      DE                   $13.00
                    07/17       07/18         ALIEXPRESS       DOVER      DE                  -$76.00
                    07/22       07/25         ALIEXPRESS       DOVER      DE                   $12.88
                    07/24       07/25         ALIEXPRESS       DOVER      DE                   $50.37
                    07/24       07/25         ALIEXPRESS       DOVER      DE                   $12.00
                    07/26       07/26         FANDANGO.COM         FANDANGO.COM CA             $21.75
                    07/25       07/27         076530 THOUSAND OAKS 1 THOUSAND OAKSCA           $25.53
                    07/26       07/27         ALIEXPRESS       DOVER      DE                   $75.95
                    07/26       07/27         ALIEXPRESS       DOVER      DE                   $27.94
                    07/26       07/27         PAULA'S CHOICE     800-831-4088 W A             $125.91
                    07/27       07/27         ALIEXPRESS       DOVER      DE                  $175.00
                    07/27       07/28         ALIEXPRESS       DOVER      DE                   $27.94
                    07/27       07/28         ALIEXPRESS       DOVER      DE                   $12.00
                    07/27       07/28         ALIEXPRESS       DOVER      DE                   $12.69
                    07/27       07/28         ALIEXPRESS       DOVER      DE                   $25.38
                    07/27       07/28         ALIEXPRESS       DOVER      DE                   $13.65
                    07/28       07/28         ALIEXPRESS       DOVER      DE                   $31.89
                    07/28       07/28         ALIEXPRESS       DOVER      DE                  -$48.01
                    07/29       08/01         ROSS STORES #16    THOUSAND OAKSCA               $53.73
                    07/29       08/01         MEDITERRANEAN PITA G CALABASAS CA                $31.03
                    07/29       08/01         TOBACCO ROYALE       CALABASAS CA                $77.19
                    08/05       08/05         ALIEXPRESS       DOVER      DE                    $9.61
                    08/10       08/11         FANDANGONOW          LOS ANGELES CA               $4.99
                    08/10       08/12         CALABASAS MARKET & LIQ CALABASAS CA               $8.20
                    08/11       08/15         CALABASAS MARKET & LIQ CALABASAS CA               $6.00
                    08/11       08/15         SANTA FE CAFE      CALABASAS CA                  $17.22
                    08/12       08/15         BOBBYS COFFEE SHOP    WOODLAND HILLCA            $30.48




                                                                                          EX. KKK - 058
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 187 of 297



                    Activity for MARTY N RICH - card ending in 0642 (continued)
                    Purchases
                    08/13         08/15            7-ELEVEN 39055    CANOGA PARK CA                                            $6.48
                    08/13         08/15            ALIEXPRESS       DOVER    DE                                                $5.71
                    08/15         08/16            ALIEXPRESS       DOVER    DE                                               $41.01
                    08/15         08/16            ALBERTSONS #6335    CALABASAS CA                                           $14.69
                    08/16         08/16            ALIEXPRESS       DOVER    DE                                                $6.35
                                                   Total Purchase Activity                                                  $852.56



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00




                                                                                                                                        235194 3/6
                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                            Total Interest charged in 2016              $186.56
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 059
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08October
                                                                                                     Due Date
                                                                                                                      Desc13, 2016
                                                              Exhibit HHH-KKK Page 188 of 297Minimum Payment Due           $25.00
                                                                                                                                  Previous Balance                               $938.30
                                                                                                                                  Statement Balance                               $85.37


Customer News                                          Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                              Page 1 of 6
                                                       Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
YOUR BALANCE TRANSFER                                  Statement Billing Period: 08/17/16 - 09/16/16                                                                 BarclaycardUS.com
OPPORTUNITY
                                                       Account Summary                                                        Activity Summary
You have a promotional
                                                       Minimum Payment Due                                    $25.00          Previous Balance                                  $938.30
APR balance transfer offer
                                                       Payment Due Date                                     10/13/16           - Payments                                     $1,707.77
waiting for you - log on to
                                                       Statement End Date                                   09/16/16          + Purchases                                       $854.84
BarclaycardUS.com or call
                                                       Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
1-866-558-1107 by November 1, 2016
                                                       Available Revolving Line                           $11,414.63          + Balance Transfers                                 $0.00
to learn more.
                                                       Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
                                                       Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                       Overlimit Amount                                        $0.00          Statement Balance                                  $85.37



                                                         Payment Information




                                                                                                                                                                                                   229691 1/6
                                                         Statement Balance                                                                                                   $85.37
                                                         Minimum Payment Due                                                                                                 $25.00
                                                         Payment Due Date                                                                                                10/13/2016
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                             4 months                                    $88.00

                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to BarclaycardUS.com.




          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  1 11
                                                                Card Services
    BarclaycardUS.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $25.00
  Statement Balance                                 $85.37
  Payment Due Date                    October 13, 2016



                                                                                                                                                                        EX. KKK - 060
                                                                                          Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08               Desc
                        Exhibit HHH-KKK Page 189 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                      2,198
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)              1,708
                   Bonus Miles                                                                      0
                   Participation Miles                                                              0
                   Barclaycard RewardsBoost                                                         0
                   Miles Redeemed This Period                                                       0
                   Redemption Bonus                                                                 0
                   Adjustments                                                                      0
                   Ending Miles Balance                                                         3,906



                          Get the most from your Barclaycard Arrival Plus Rewards Program
                              Earn 2X miles on all purchases. And remember, every time you
                                redeem for travel statement credits, you get miles back to
                                            use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                          229691 2/6
                    Payments
                    Trans Date Posting Date Transaction Description                           Amount
                    08/22      08/22        Payment Received       CITIBANK FSB               -$973.82
                    09/06      09/06        Payment Received       CITIBANK FSB               -$733.95
                                              Total Payment Activity                         -$1,707.77

                    Purchases
                    09/04     09/05           DAYANG TRADE CO.LTD     BEIJING    CHN           $120.73
                    09/04     09/05           EDEN TRADING        YIWU                         $115.01
                    09/07     09/08           GOOGLE *HBO Dig Sv Inc g.co/payhelp#CA            $14.99
                                              Total Purchase Activity                          $250.73

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    08/16       08/17         ALIEXPRESS        DOVER     DE                    $35.52
                    08/21       08/22         ALIEXPRESS        DOVER     DE                   $138.00
                    08/18       08/22         MEDITERRANEAN PITA G CALABASAS CA                 $11.97
                    08/21       08/22         ALIEXPRESS        DOVER     DE                     $7.32
                    08/21       08/22         FANDANGONOW           LOS ANGELES CA               $4.99
                    08/23       08/24         ALIEXPRESS        DOVER     DE                   $230.14
                    08/27       08/29         ALIEXPRESS        DOVER     DE                    $11.88
                    09/01       09/01         ALIEXPRESS        DOVER     DE                     $9.99
                    09/01       09/01         ALIEXPRESS        DOVER     DE                    $35.41
                    09/01       09/02         BOBBYS COFFEE SHOP     WOODLAND HILLCA            $15.24
                    09/02       09/05         PAYPAL *HEYIJIE113   4029357733 CA                $13.90
                    09/03       09/05         ALIEXPRESS        DOVER     DE                    $19.37
                    09/06       09/08         TOBACCO ROYALE        CALABASAS CA                $59.35
                    09/06       09/08         AGOURA S FAMOUS DELI & AGOURA HILLS CA             $7.36
                    09/08       09/08         ALIEXPRESS        DOVER     DE                     $3.67
                                              Total Purchase Activity                          $604.11



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                           Amount

                                              Total Fees for this Period                         $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                           Amount

                                              Total Interest for this Period                     $0.00




                                                                                       EX. KKK - 061
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                            Total Interest charged in 2016              $186.56
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00




                                                                                                                                        229691 3/6
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 062
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                      Desc
                                                                                                                 November 13, 2016
                                                              Exhibit HHH-KKK Page 191 of 297Minimum Payment Due             None
                                                                                                                                  Previous Balance                                $85.37
                                                                                                                                  Statement Balance                              -$31.30


Customer News                                          Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                              Page 1 of 6
                                                       Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
YOUR BALANCE TRANSFER                                  Statement Billing Period: 09/17/16 - 10/16/16                                                                 BarclaycardUS.com
OPPORTUNITY
                                                       Account Summary                                                        Activity Summary
You have a promotional APR
                                                       Minimum Payment Due                                     $0.00          Previous Balance                                   $85.37
balance transfer offer waiting for
                                                       Payment Due Date                                     11/13/16           - Payments                                         $0.00
you - log on to BarclaycardUS.com or
                                                       Statement End Date                                   10/16/16          + Purchases                                        $46.41
call 1-866-558-1107 by December 1,
                                                       Revolving Line                                     $11,500.00           - Other Credits                                  $163.08
2016 to learn more.
                                                       Available Revolving Line                           $11,500.00          + Balance Transfers                                 $0.00
                                                       Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
                                                       Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                       Overlimit Amount                                        $0.00          Statement Balance                                 -$31.30



                                                         Payment Information




                                                                                                                                                                                                 238027 1/6
                                                         Statement Balance                                                                                                  -$31.30
                                                         Minimum Payment Due                                                                                                  None
                                                         Payment Due Date                                                                                                11/13/2016
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                             0 months                                     $0.00

                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to BarclaycardUS.com.




          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  11
                                                                Card Services
    BarclaycardUS.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                                None
  Statement Balance                                -$31.30
  Payment Due Date                 November 13, 2016



                                                                                                                                                                        EX. KKK - 063
                                                                                                                  Page 2 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                    Desc
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                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                           3,906
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                   (234)
                   Bonus Miles                                                                                           0
                   Participation Miles                                                                                   0
                   Barclaycard RewardsBoost                                                                              0
                   Miles Redeemed This Period                                                                            0
                   Redemption Bonus                                                                                      0
                   Adjustments                                                                                           0
                   Ending Miles Balance                                                                              3,672



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                238027 2/6
                    Purchases
                    Trans Date Posting Date Transaction Description                                                 Amount
                    09/14      09/19        EDEN TRADING          YIWU                                              -$115.01
                    07/31      09/19        WUHANZY*HAVEFUNEDOS                    SHENZHEN      CHN                 -$48.07

                                                Total Purchase Activity                                             -$163.08

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    09/18     09/19             ALIEXPRESS           DOVER          DE                                $46.41
                                                Total Purchase Activity                                               $46.41



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                 Amount

                                                Total Fees for this Period                                             $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                 Amount

                                                Total Interest for this Period                                         $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                      Total Interest charged in 2016            $186.56
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                Promotional Balance       ANNUAL
                                                                 Rate End    Subject to PERCENTAGE               Interest
                                                                   Date    Interest Rate RATE (APR)               Charge
                    Purchases
                        Current Purchases                            ---              $0.00        15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks             ---              $0.00        15.24% (v)      $0.00




                                                                                                                EX. KKK - 064
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Interest Charge Calculation - 30 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate



                    Customer Notifications

                   As of your statement date, your account reflects a credit balance that you may apply to
                   future purchases. If you choose, you may request a refund by contacting us at
                   1-866-558-1107 or BarclaycardUS.com.




                                                                                                                                        238027 3/6




                                                                                                                        EX. KKK - 065
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                      Desc
                                                                                                                 December 13, 2016
                                                              Exhibit HHH-KKK Page 194 of 297Minimum Payment Due           $25.00
                                                                                                                                  Previous Balance                               -$31.30
                                                                                                                                  Statement Balance                            $1,328.73


Customer News                                          Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                              Page 1 of 6
                                                       Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
YOUR BALANCE TRANSFER                                  Statement Billing Period: 10/17/16 - 11/16/16                                                                 BarclaycardUS.com
OPPORTUNITY
                                                       Account Summary                                                        Activity Summary
You have a promotional
                                                       Minimum Payment Due                                    $25.00          Previous Balance                                  -$31.30
APR balance transfer offer
                                                       Payment Due Date                                     12/13/16           - Payments                                         $0.00
waiting for you - log on to
                                                       Statement End Date                                   11/16/16          + Purchases                                     $1,456.01
BarclaycardUS.com
                                                       Revolving Line                                     $11,500.00           - Other Credits                                   $95.98
or call 1-866-558-1107 by
                                                       Available Revolving Line                           $10,171.27          + Balance Transfers                                 $0.00
January 10, 2017 to learn more.
                                                       Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
                                                       Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                       Overlimit Amount                                        $0.00          Statement Balance                               $1,328.73



                                                         Payment Information




                                                                                                                                                                                                 136595 1/6
                                                         Statement Balance                                                                                                $1,328.73
                                                         Minimum Payment Due                                                                                                 $25.00
                                                         Payment Due Date                                                                                                12/13/2016
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                              7 years                                  $2,145.00
                                                                                                                                                            $1,656.00
                                                                          $46.00                                    3 years
                                                                                                                                                       (Savings = $489.00)
                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to BarclaycardUS.com.



          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  11
                                                                Card Services
    BarclaycardUS.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $25.00
  Statement Balance                             $1,328.73
  Payment Due Date                 December 13, 2016



                                                                                                                                                                        EX. KKK - 066
                                                                                                                   Page 2 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                     Desc
                           Exhibit HHH-KKK Page 195 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                            3,672
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                    2,720
                   Bonus Miles                                                                                            0
                   Participation Miles                                                                                    0
                   Barclaycard RewardsBoost                                                                               0
                   Miles Redeemed This Period                                                                             0
                   Redemption Bonus                                                                                       0
                   Adjustments                                                                                            0
                   Ending Miles Balance                                                                               6,392



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                 136595 2/6
                                                       No Transaction Activity At This Time


                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    Trans Date    Posting Date   Transaction Description                                             Amount
                    10/14         10/17          ALIEXPRESS          DOVER     DE                                     -$95.98
                    10/16         10/17          DNH*GODADDY.COM           480-5058855 AZ                              $25.16
                    10/23         10/24          BREAKDOWN SERVICES       03102769166 CA                               $44.00
                    11/13         11/14          URBAN HOME N ELEVAR       08056040909 CA                           $1,386.85
                                                 Total Purchase Activity                                            $1,360.03



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                  Amount

                                                 Total Fees for this Period                                             $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                  Amount

                                                 Total Interest for this Period                                         $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                       Total Interest charged in 2016            $186.56
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                 Promotional Balance       ANNUAL
                                                                  Rate End    Subject to PERCENTAGE               Interest
                                                                    Date    Interest Rate RATE (APR)               Charge
                    Purchases
                        Current Purchases                             ---              $0.00        15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks              ---              $0.00        15.24% (v)      $0.00




                                                                                                                 EX. KKK - 067
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Interest Charge Calculation - 31 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        136595 3/6




                                                                                                                        EX. KKK - 068
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08January
                                                                                                     Due Date
                                                                                                                     Desc 13, 2017
                                                              Exhibit HHH-KKK Page 197 of 297Minimum Payment Due             $2.99
                                                                                                                                  Previous Balance                             $1,328.73
                                                                                                                                  Statement Balance                                $2.99


Customer News                                          Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                              Page 1 of 6
                                                       Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
YOUR BALANCE TRANSFER                                  Statement Billing Period: 11/17/16 - 12/16/16                                                                 BarclaycardUS.com
OPPORTUNITY
                                                       Account Summary                                                        Activity Summary
You have a promotional APR
                                                       Minimum Payment Due                                     $2.99          Previous Balance                                $1,328.73
balance transfer offer waiting for
                                                       Payment Due Date                                     01/13/17           - Payments                                     $1,328.73
you - log on to BarclaycardUS.com or
                                                       Statement End Date                                   12/16/16          + Purchases                                         $2.99
call 1-866-558-1107 by February 1,
                                                       Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
2017 to learn more.
                                                       Available Revolving Line                           $11,497.01          + Balance Transfers                                 $0.00
                                                       Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
                                                       Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                       Overlimit Amount                                        $0.00          Statement Balance                                   $2.99



                                                         Payment Information




                                                                                                                                                                                                 244184 1/6
                                                         Statement Balance                                                                                                     $2.99
                                                         Minimum Payment Due                                                                                                   $2.99
                                                         Payment Due Date                                                                                                  1/13/2017
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.




          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  11
                                                                Card Services
    BarclaycardUS.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                                $2.99
  Statement Balance                                  $2.99
  Payment Due Date                    January 13, 2017



                                                                                                                                                                        EX. KKK - 069
                                                                                                                  Page 2 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                    Desc
                           Exhibit HHH-KKK Page 198 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                           6,392
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                       6
                   Bonus Miles                                                                                           0
                   Participation Miles                                                                                   0
                   Barclaycard RewardsBoost                                                                              0
                   Miles Redeemed This Period                                                                            0
                   Redemption Bonus                                                                                      0
                   Adjustments                                                                                           0
                   Ending Miles Balance                                                                              6,398



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                244184 2/6
                    Payments
                    Trans Date Posting Date Transaction Description                                                 Amount
                    11/18      11/18        Payment Received       CITIBANK FSB                                   -$1,328.73

                                                Total Payment Activity                                            -$1,328.73

                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    11/28     11/29             FANDANGONOW                  LOS ANGELES CA                            $2.99
                                                Total Purchase Activity                                                $2.99



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                 Amount

                                                Total Fees for this Period                                             $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                 Amount

                                                Total Interest for this Period                                         $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $89.00                      Total Interest charged in 2016            $186.56
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                Promotional Balance       ANNUAL
                                                                 Rate End    Subject to PERCENTAGE               Interest
                                                                   Date    Interest Rate RATE (APR)               Charge
                    Purchases
                        Current Purchases                            ---              $0.00        15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks             ---              $0.00        15.24% (v)      $0.00




                                                                                                                EX. KKK - 070
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 199 of 297


                    Interest Charge Calculation - 30 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        244184 3/6




                                                                                                                        EX. KKK - 071
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                      Desc
                                                                                                                  February 13, 2017
                                                               Exhibit HHH-KKK Page 200 of 297Minimum Payment Due             None
                                                                                                                                   Previous Balance                                  $2.99
                                                                                                                                   Statement Balance                                 $0.00


Customer News                                           Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                               Page 1 of 5
                                                        Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
VARIABLE APR INFORMATION                                Statement Billing Period: 12/17/16 - 01/16/17                                                                 BarclaycardUS.com
As a result of the recent increase
                                                        Account Summary                                                        Activity Summary
in the Prime Rate, variable annual
                                                        Minimum Payment Due                                     $0.00          Previous Balance                                      $2.99
percentage rates (APRs) have risen
                                                        Payment Due Date                                     02/13/17           - Payments                                           $2.99
accordingly. Your APRs are displayed
                                                        Statement End Date                                   01/16/17          + Purchases                                           $0.00
on this billing statement in the
                                                        Revolving Line                                     $11,500.00           - Other Credits                                      $0.00
section titled "Interest Charge
                                                        Available Revolving Line                           $11,500.00          + Balance Transfers                                   $0.00
Calculation." If you have a variable
                                                        Cash Credit Line                                    $4,600.00          + Cash Advances                                       $0.00
rate, indicated by a (v), a change in
                                                        Available Cash Line                                 $4,600.00          + Fees Charged                                        $0.00
the Prime Rate could affect your
                                                        Past Due Amount                                         $0.00          + Interest Charged                                    $0.00
minimum payment due. This is
                                                        Overlimit Amount                                        $0.00          Statement Balance                                     $0.00
because your APR is used to
calculate the interest charge, which
is included in your minimum
payment due.                                              Payment Information




                                                                                                                                                                                                  140939 1/5
                                                          Statement Balance                                                                                                     $0.00
                                                          Minimum Payment Due                                                                                                   None
                                                          Payment Due Date                                                                                                  2/13/2017
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:

                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…

                                                               Only the minimum payment                             0 months                                     $0.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to BarclaycardUS.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  11
                                                                 Card Services
    BarclaycardUS.com                                            P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                 None
  Statement Balance                                   $0.00
  Payment Due Date                    February 13, 2017



                                                                                                                                                                         EX. KKK - 072
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 201 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                                   6,398
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                               0
                   Bonus Miles                                                                                                   0
                   Participation Miles                                                                                           0
                   Barclaycard RewardsBoost                                                                                      0
                   Miles Redeemed This Period                                                                                    0
                   Redemption Bonus                                                                                              0
                   Adjustments                                                                                                   0
                   Ending Miles Balance                                                                                      6,398



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                        140939 2/5
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    01/04      01/04        Payment Received       CITIBANK FSB                                              -$2.99
                                                   Total Payment Activity                                                     -$2.99



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $0.00                             Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.49% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.49% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.74% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 073
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                        March 13, 2017
                                                               Exhibit HHH-KKK Page 202 of 297Minimum Payment Due                                                              $25.00
                                                                                                                                   Previous Balance                              $0.00
                                                                                                                                   Statement Balance                           $89.00


Important Customer                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                               Page 1 of 5
   Information                                          Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
                                                        Statement Billing Period: 01/17/17 - 02/16/17                                                                 BarclaycardUS.com

YOUR 2016 ANNUAL                                        Account Summary                                                        Activity Summary
SUMMARY IS HERE!                                        Minimum Payment Due                                    $25.00          Previous Balance                                     $0.00
It's a handy breakdown of all                           Payment Due Date                                     03/13/17           - Payments                                          $0.00
your card transactions during                           Statement End Date                                   02/16/17          + Purchases                                          $0.00
the past year. You can view,                            Revolving Line                                     $11,500.00           - Other Credits                                     $0.00
download and print it at                                Available Revolving Line                           $11,411.00          + Balance Transfers                                  $0.00
BarclaycardUS.com.                                      Cash Credit Line                                    $4,600.00          + Cash Advances                                      $0.00
See itemized purchases and                              Available Cash Line                                 $4,600.00          + Fees Charged                                      $89.00
payments - listed by category,                          Past Due Amount                                         $0.00          + Interest Charged                                   $0.00
organized by month. Make                                Overlimit Amount                                        $0.00          Statement Balance                                   $89.00
tax-time easier - get details
of your transactions, including
those made by authorized users.                           Payment Information




                                                                                                                                                                                                  140071 1/5
                                                          Statement Balance                                                                                                    $89.00
YOUR BALANCE TRANSFER                                     Minimum Payment Due                                                                                                  $25.00
OPPORTUNITY                                               Payment Due Date                                                                                                  3/13/2017
You have a promotional APR                                Late Payment Warning: If we do not receive your minimum payment by the date
balance transfer offer waiting                            listed above, you may have to pay a late fee of up to $37.00.
for you - log on to                                       Minimum Payment Warning: If you make only the minimum payment each period,
BarclaycardUS.com                                         you will pay more in interest and it will take you longer to pay off your balance. For
or call 1-866-558-1107 by                                 example:
April 4, 2017 to learn more .
                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…

                                                               Only the minimum payment                             4 months                                    $91.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to BarclaycardUS.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  11
                                                                 Card Services
    BarclaycardUS.com                                            P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $25.00
  Statement Balance                                  $89.00
  Payment Due Date                       March 13, 2017



                                                                                                                                                                         EX. KKK - 074
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 203 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                                   6,398
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                               0
                   Bonus Miles                                                                                                   0
                   Participation Miles                                                                                           0
                   Barclaycard RewardsBoost                                                                                      0
                   Miles Redeemed This Period                                                                                    0
                   Redemption Bonus                                                                                              0
                   Adjustments                                                                                                   0
                   Ending Miles Balance                                                                                      6,398



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                        140071 2/5
                                                          No Transaction Activity At This Time



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount
                    01/31         01/31            ANNUAL FEE                                                                 $89.00
                                                   Total Fees for this Period                                                 $89.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $89.00                            Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.49% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.49% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.74% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 075
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                          April 13, 2017
                                                               Exhibit HHH-KKK Page 204 of 297Minimum Payment Due                                                                  None
                                                                                                                                   Previous Balance                              $89.00
                                                                                                                                   Statement Balance                               $0.00


Important Customer                                      Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                               Page 1 of 5
   Information                                          Primary Account Number Ending in: 1872                                                             Questions? Call 1-866-558-1107
                                                        Statement Billing Period: 02/17/17 - 03/16/17                                                                 BarclaycardUS.com

CHANGES TO YOUR Barclaycard                             Account Summary                                                        Activity Summary
WORLD ELITE MASTERCARD®                                 Minimum Payment Due                                     $0.00          Previous Balance                                    $89.00
BENEFITS:                                               Payment Due Date                                     04/13/17           - Payments                                         $89.00
On April 1, 2017, your Auto                             Statement End Date                                   03/16/17          + Purchases                                          $0.00
Rental Collision Damage Waiver,                         Revolving Line                                     $11,500.00           - Other Credits                                     $0.00
Trip Cancellation and Interruption,                     Available Revolving Line                           $11,500.00          + Balance Transfers                                  $0.00
and Purchase Security coverage will                     Cash Credit Line                                    $4,600.00          + Cash Advances                                      $0.00
increase - and your Price Protection                    Available Cash Line                                 $4,600.00          + Fees Charged                                       $0.00
and Extended Protection                                 Past Due Amount                                         $0.00          + Interest Charged                                   $0.00
notification timeframes will be                         Overlimit Amount                                        $0.00          Statement Balance                                    $0.00
extended. The provider/contact
information will change as well.
You'll also receive                                       Payment Information
a new benefit: Trip Delay. Your




                                                                                                                                                                                                  139005 1/5
                                                          Statement Balance                                                                                                     $0.00
Identity Theft, Travel Accident                           Minimum Payment Due                                                                                                   None
Insurance, and Return Protection                          Payment Due Date                                                                                                  4/13/2017
coverage will stay the same, but
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
the provider/contact information                          listed above, you may have to pay a late fee of up to $37.00.
will change. For details about your
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
individual benefits, please see the                       you will pay more in interest and it will take you longer to pay off your balance. For
new Guide to Benefits at                                  example:
BarclaycardUS.com.
                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
YOUR BALANCE TRANSFER                                                                                                                              an estimated total of…
                                                                 each month you pay…                      statement in about…
OPPORTUNITY
You have a promotional APR                                     Only the minimum payment                             0 months                                     $0.00
balance transfer offer waiting                            If you would like information about credit counseling services, please call 800-570-1403.
 for you - log on to
                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
BarclaycardUS.com                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
or call 1-866-558-1107                                    to BarclaycardUS.com.
by April 4, 2017 to learn more.



           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  11
                                                                 Card Services
    BarclaycardUS.com                                            P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                 None
  Statement Balance                                   $0.00
  Payment Due Date                         April 13, 2017



                                                                                                                                                                         EX. KKK - 076
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 205 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                                   6,398
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                               0
                   Bonus Miles                                                                                                   0
                   Participation Miles                                                                                           0
                   Barclaycard RewardsBoost                                                                                      0
                   Miles Redeemed This Period                                                                                    0
                   Redemption Bonus                                                                                              0
                   Adjustments                                                                                                   0
                   Ending Miles Balance                                                                                      6,398



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                        139005 2/5
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    02/23      02/23        Payment Received       CITIBANK FSB                                              -$89.00
                                                   Total Payment Activity                                                    -$89.00



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $89.00                            Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 28 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.49% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.49% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.74% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 077
              Case 1:17-ap-01099-VK                          Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                                                                      Desc
                                                                                                                                                                    June 13, 2017
                                                             Exhibit HHH-KKK Page 206 of 297Minimum Payment Due                                                           $25.00
                                                                                                                              Previous Balance                              $0.00
                                                                                                                              Statement Balance                          $292.68


Important Customer                                    Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                          Page 1 of 5
   Information                                        Primary Account Number Ending in: 1872                                                          Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 04/17/17 - 05/16/17                                                              BarclaycardUS.com

YOUR BALANCE TRANSFER                                  Account Summary                                                     Activity Summary
OPPORTUNITY                                            Minimum Payment Due                                 $25.00          Previous Balance                                   $0.00
You have a promotional APR                             Payment Due Date                                  06/13/17           - Payments                                        $0.00
balance transfer offer waiting for                     Statement End Date                                05/16/17          + Purchases                                      $292.68
you - log on to BarclaycardUS.com or                   Revolving Line                                  $11,500.00           - Other Credits                                   $0.00
call 1-866-558-1107 by July 5, 2017                    Available Revolving Line                        $11,207.32          + Balance Transfers                                $0.00
to learn more.                                         Cash Credit Line                                 $4,600.00          + Cash Advances                                    $0.00
                                                       Available Cash Line                              $4,600.00          + Fees Charged                                     $0.00
                                                       Past Due Amount                                      $0.00          + Interest Charged                                 $0.00
                                                       Overlimit Amount                                     $0.00          Statement Balance                                $292.68



                                                        Payment Information




                                                                                                                                                                                                  140269 1/5
                                                        Statement Balance                                                                                                $292.68
                                                        Minimum Payment Due                                                                                               $25.00
                                                        Payment Due Date                                                                                               6/13/2017
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                  You will pay off the
                                                            charges using this card and                balance shown on this                 And you will end up paying
                                                               each month you pay…                     statement in about…                    an estimated total of…

                                                             Only the minimum payment                          13 months                                  $319.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.




 Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
   Make payments online at                                                                                                                                                                   11
                                                               Card Services
    BarclaycardUS.com                                          P.O. Box 60517
                                                               City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                    ------ manifest line ---------
                                                                                                    ROBIN C DIMAGGIO
                                                                                                    117
                                                                                                    5737 KANAN RD
    Amount Enclosed:        $                                                                       AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                              $25.00
  Statement Balance                               $292.68
  Payment Due Date                         June 13, 2017



                                                                                                                                                                    EX. KKK - 078
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 207 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                                   6,398
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                             586
                   Bonus Miles                                                                                                   0
                   Participation Miles                                                                                           0
                   Barclaycard RewardsBoost                                                                                      0
                   Miles Redeemed This Period                                                                                    0
                   Redemption Bonus                                                                                              0
                   Adjustments                                                                                                   0
                   Ending Miles Balance                                                                                      6,984



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                        140269 2/5
                                                          No Transaction Activity At This Time


                    Activity for MARTY N RICH - card ending in 0642
                    Purchases
                    Trans Date Posting Date Transaction Description                                                         Amount
                    05/02      05/03        DNH*GODADDY.COM          480-5058855 AZ                                         $136.68
                    05/04      05/05        A A A CA MBR RENEWAL - R 08774282277 CA                                         $156.00
                                                   Total Purchase Activity                                                  $292.68



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $89.00                            Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.74% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.74% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.99% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 079
              Case 1:17-ap-01099-VK                          Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                                                                      Desc
                                                                                                                                                                     July 13, 2017
                                                             Exhibit HHH-KKK Page 208 of 297Minimum Payment Due                                                            $25.00
                                                                                                                              Previous Balance                            $292.68
                                                                                                                              Statement Balance                            $26.38


Important Customer                                    Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                          Page 1 of 5
   Information                                        Primary Account Number Ending in: 1872                                                          Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 05/17/17 - 06/16/17                                                              BarclaycardUS.com

YOUR BALANCE TRANSFER                                  Account Summary                                                     Activity Summary
OPPORTUNITY                                            Minimum Payment Due                                 $25.00          Previous Balance                                 $292.68
You have a promotional APR                             Payment Due Date                                  07/13/17           - Payments                                      $292.68
balance transfer offer waiting for                     Statement End Date                                06/16/17          + Purchases                                       $26.38
you - log on to BarclaycardUS.com or                   Revolving Line                                  $11,500.00           - Other Credits                                   $0.00
call 1-866-558-1107 by August 1,                       Available Revolving Line                        $11,473.62          + Balance Transfers                                $0.00
2017 to learn more.                                    Cash Credit Line                                 $4,600.00          + Cash Advances                                    $0.00
                                                       Available Cash Line                              $4,600.00          + Fees Charged                                     $0.00
                                                       Past Due Amount                                      $0.00          + Interest Charged                                 $0.00
                                                       Overlimit Amount                                     $0.00          Statement Balance                                 $26.38



                                                        Payment Information




                                                                                                                                                                                                  249290 1/5
                                                        Statement Balance                                                                                                 $26.38
                                                        Minimum Payment Due                                                                                               $25.00
                                                        Payment Due Date                                                                                               7/13/2017
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                  You will pay off the
                                                            charges using this card and                balance shown on this                 And you will end up paying
                                                               each month you pay…                     statement in about…                    an estimated total of…

                                                             Only the minimum payment                           2 months                                   $27.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.




 Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
   Make payments online at                                                                                                                                                                   11
                                                               Card Services
    BarclaycardUS.com                                          P.O. Box 60517
                                                               City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                    ------ manifest line ---------
                                                                                                    ROBIN C DIMAGGIO
                                                                                                    117
                                                                                                    5737 KANAN RD
    Amount Enclosed:        $                                                                       AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                              $25.00
  Statement Balance                                $26.38
  Payment Due Date                          July 13, 2017



                                                                                                                                                                    EX. KKK - 080
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 209 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                                   6,984
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                              52
                   Bonus Miles                                                                                                   0
                   Participation Miles                                                                                           0
                   Barclaycard RewardsBoost                                                                                      0
                   Miles Redeemed This Period                                                                                    0
                   Redemption Bonus                                                                                              0
                   Adjustments                                                                                                   0
                   Ending Miles Balance                                                                                      7,036



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                        249290 2/5
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    06/05      06/05        Payment Received       CITIBANK FSB                                             -$292.68
                                                   Total Payment Activity                                                   -$292.68

                    Purchases
                    06/06     06/07                APL* ITUNES.COM/BILL             866-712-7753 CA                           $26.38
                                                   Total Purchase Activity                                                    $26.38



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $89.00                            Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.74% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.74% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.99% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 081
              Case 1:17-ap-01099-VK                           Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08August
                                                                                                     Due Date
                                                                                                                     Desc13, 2017
                                                              Exhibit HHH-KKK Page 210 of 297Minimum Payment Due            None
                                                                                                                              Previous Balance                                $26.38
                                                                                                                              Statement Balance                                $0.00


Important Customer                                    Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                          Page 1 of 5
   Information                                        Primary Account Number Ending in: 1872                                                          Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 06/17/17 - 07/16/17                                                              BarclaycardUS.com

YOUR BALANCE TRANSFER                                  Account Summary                                                     Activity Summary
OPPORTUNITY                                            Minimum Payment Due                                  $0.00          Previous Balance                                  $26.38
You have a promotional APR                             Payment Due Date                                  08/13/17           - Payments                                       $26.38
balance transfer offer waiting for                     Statement End Date                                07/16/17          + Purchases                                        $0.00
you - log on to BarclaycardUS.com or                   Revolving Line                                  $11,500.00           - Other Credits                                   $0.00
call 1-866-558-1107 by September 5,                    Available Revolving Line                        $11,500.00          + Balance Transfers                                $0.00
2017 to learn more.                                    Cash Credit Line                                 $4,600.00          + Cash Advances                                    $0.00
                                                       Available Cash Line                              $4,600.00          + Fees Charged                                     $0.00
                                                       Past Due Amount                                      $0.00          + Interest Charged                                 $0.00
                                                       Overlimit Amount                                     $0.00          Statement Balance                                  $0.00



                                                        Payment Information




                                                                                                                                                                                                  254593 1/5
                                                        Statement Balance                                                                                                  $0.00
                                                        Minimum Payment Due                                                                                                None
                                                        Payment Due Date                                                                                               8/13/2017
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                              If you make no additional                 You will pay off the
                                                             charges using this card and               balance shown on this                 And you will end up paying
                                                                each month you pay…                    statement in about…                    an estimated total of…

                                                              Only the minimum payment                          0 months                                    $0.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.




 Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
   Make payments online at                                                                                                                                                                   11
                                                                Card Services
    BarclaycardUS.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                    ------ manifest line ---------
                                                                                                    ROBIN C DIMAGGIO
                                                                                                    117
                                                                                                    5737 KANAN RD
    Amount Enclosed:        $                                                                       AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                None
  Statement Balance                                  $0.00
  Payment Due Date                     August 13, 2017



                                                                                                                                                                    EX. KKK - 082
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 211 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                                   7,036
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                               0
                   Bonus Miles                                                                                                   0
                   Participation Miles                                                                                           0
                   Barclaycard RewardsBoost                                                                                      0
                   Miles Redeemed This Period                                                                                    0
                   Redemption Bonus                                                                                              0
                   Adjustments                                                                                                   0
                   Ending Miles Balance                                                                                      7,036



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                        254593 2/5
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    07/05      07/05        Payment Received       CITIBANK FSB                                              -$26.38
                                                   Total Payment Activity                                                    -$26.38



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $89.00                            Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          26.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 083
              Case 1:17-ap-01099-VK                          Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                      Desc
                                                                                                                September 13, 2017
                                                             Exhibit HHH-KKK Page 212 of 297Minimum Payment Due            $85.49
                                                                                                                              Previous Balance                                $0.00
                                                                                                                              Statement Balance                           $8,549.36


Important Customer                                    Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                          Page 1 of 6
   Information                                        Primary Account Number Ending in: 1872                                                          Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 07/17/17 - 08/16/17                                                              BarclaycardUS.com

YOUR BALANCE TRANSFER                                  Account Summary                                                     Activity Summary
OPPORTUNITY                                            Minimum Payment Due                                 $85.49          Previous Balance                                  $0.00
You have a promotional APR                             Payment Due Date                                  09/13/17           - Payments                                       $0.00
balance transfer offer waiting for                     Statement End Date                                08/16/17          + Purchases                                     $182.06
you - log on to BarclaycardUS.com or                   Revolving Line                                  $11,500.00           - Other Credits                                  $0.00
call 1-866-558-1107 by October 3,                      Available Revolving Line                         $2,950.64          + Balance Transfers                           $8,123.59
2017 to learn more.                                    Cash Credit Line                                 $4,600.00          + Cash Advances                                   $0.00
                                                       Available Cash Line                              $2,950.64          + Fees Charged                                  $243.71
                                                       Past Due Amount                                      $0.00          + Interest Charged                                $0.00
                                                       Overlimit Amount                                     $0.00          Statement Balance                             $8,549.36



                                                        Payment Information




                                                                                                                                                                                                  142886 1/6
                                                        Statement Balance                                                                                              $8,549.36
                                                        Minimum Payment Due                                                                                               $85.49
                                                        Payment Due Date                                                                                               9/13/2017
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                  You will pay off the
                                                            charges using this card and                balance shown on this                 And you will end up paying
                                                               each month you pay…                     statement in about…                    an estimated total of…

                                                             Only the minimum payment                           23 years                                $17,802.00
                                                                                                                                                        $9,936.00
                                                                        $276.00                                  3 years
                                                                                                                                                  (Savings = $7,866.00)
                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.



 Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
   Make payments online at                                                                                                                                                                   11
                                                               Card Services
    BarclaycardUS.com                                          P.O. Box 60517
                                                               City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                    ------ manifest line ---------
                                                                                                    ROBIN C DIMAGGIO
                                                                                                    117
                                                                                                    5737 KANAN RD
    Amount Enclosed:        $                                                                       AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                              $85.49
  Statement Balance                             $8,549.36
  Payment Due Date                 September 13, 2017



                                                                                                                                                                    EX. KKK - 084
                                                                                                                   Page 2 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                     Desc
                           Exhibit HHH-KKK Page 213 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                            7,036
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                      364
                   Bonus Miles                                                                                            0
                   Participation Miles                                                                                    0
                   Barclaycard RewardsBoost                                                                               0
                   Miles Redeemed This Period                                                                             0
                   Redemption Bonus                                                                                       0
                   Adjustments                                                                                            0
                   Ending Miles Balance                                                                               7,400



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                Earn 2X miles on all purchases. And remember, every time you
                                  redeem for travel statement credits, you get miles back to
                                              use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 1872




                                                                                                                                 142886 2/6
                    Purchases
                    Trans Date    Posting Date   Transaction Description                                             Amount
                    08/07         08/08          COFFEE BEAN STORE       TARZANA CA                                  $132.17
                    08/07         08/08          RITE AID STORE - 6327 CALABASAS CA                                   $27.07
                    08/07         08/09          BARNES & NOBLE #2956 CALABASAS CA                                    $22.82
                                                 Total Purchase Activity                                             $182.06

                    Balance Transfers and Cash
                    07/31      07/31         CONVENIENCE CHECK                 04519 00930019545                    $5,500.00
                    07/31      07/31         CONVENIENCE CHECK                 04520 00930019546                    $1,061.97
                    07/31      07/31         CONVENIENCE CHECK                 04519 00930019547                    $1,561.62
                                                 Total Balance Transfer & Cash Activity                             $8,123.59



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                  Amount
                    07/31         07/31          BALANCE TRANSFER FEE                                                $165.00
                    07/31         07/31          BALANCE TRANSFER FEE                                                 $31.86
                    07/31         07/31          BALANCE TRANSFER FEE                                                 $46.85
                                                 Total Fees for this Period                                          $243.71
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                  Amount

                                                 Total Interest for this Period                                         $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $332.71                      Total Interest charged in 2017              $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                 Promotional Balance       ANNUAL
                                                                  Rate End    Subject to PERCENTAGE               Interest
                                                                    Date    Interest Rate RATE (APR)               Charge
                    Purchases
                        Current Purchases                             ---              $0.00        15.99% (v)      $0.00




                                                                                                                 EX. KKK - 085
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 214 of 297


                    Interest Charge Calculation - 31 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Balance Transfers
                        Current   Balance Transfers/Checks                ---               $0.00          15.99% (v)      $0.00
                        Balance   Transfer/Check Incentive             10/16/18           $3,016.12         0.00%          $0.00
                        Balance   Transfer/Check Incentive             10/16/18            $582.37          0.00%          $0.00
                        Balance   Transfer/Check Incentive             10/16/18            $856.37          0.00%          $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          26.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate



                    Customer Notifications

                   Avoiding Interest on Purchases (Grace Period):




                                                                                                                                        142886 3/6
                   If you have a 0% promotional APR on all of your Purchase balances, you can
                   avoid paying interest on those balances during the applicable promotional
                   period. However, pay at least your Minimum Payment Due to avoid a late fee.

                   If you have both Purchase balances with an APR greater than 0% and you also
                   have other promotional balances on your Account, you can avoid paying
                   interest on your Purchases by paying $ 425.77 (this amount includes any
                   Minimum Payment Due required to avoid a late fee). Please refer to the
                   “Accrual of Interest and How to Avoid Paying Interest on Purchases” paragraph
                   on the back of this Statement for further detail.




                                                                                                                        EX. KKK - 086
              Case 1:17-ap-01099-VK                          Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08October
                                                                                                    Due Date
                                                                                                                     Desc13, 2017
                                                             Exhibit HHH-KKK Page 215 of 297Minimum Payment Due          $199.51
                                                                                                                              Previous Balance                            $8,549.36
                                                                                                                              Statement Balance                           $8,577.89


Important Customer                                    Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                          Page 1 of 6
   Information                                        Primary Account Number Ending in: 4158                                                          Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 08/17/17 - 09/16/17                                                              BarclaycardUS.com

IMPORTANT INFORMATION                                  Account Summary                                                     Activity Summary
We may report information about                        Minimum Payment Due                                $199.51          Previous Balance                              $8,549.36
your account to credit bureaus. Late                   Payment Due Date                                  10/13/17           - Payments                                       $0.00
payments, missed payments, or                          Statement End Date                                09/16/17          + Purchases                                       $0.00
other defaults on your account may                     Revolving Line                                  $11,500.00           - Other Credits                                  $0.00
be reflected in your credit report.                    Available Revolving Line                         $2,922.11          + Balance Transfers                               $0.00
                                                       Cash Credit Line                                 $4,600.00          + Cash Advances                                   $0.00
YOUR BALANCE TRANSFER                                  Available Cash Line                              $2,922.11          + Fees Charged                                   $26.00
                                                       Past Due Amount                                     $85.49          + Interest Charged                                $2.53
OPPORTUNITY
                                                       Overlimit Amount                                     $0.00          Statement Balance                             $8,577.89
You have a promotional APR
balance transfer offer waiting for
you - log on to BarclaycardUS.com or
call 1-866-558-1107 by November 2,                      Payment Information




                                                                                                                                                                                                  257587 1/6
2017 to learn more.                                     Statement Balance                                                                                             $8,577.89
                                                        Minimum Payment Due                                                                                             $199.51
                                                        Payment Due Date                                                                                             10/13/2017
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                  You will pay off the
                                                            charges using this card and                balance shown on this                 And you will end up paying
                                                               each month you pay…                     statement in about…                    an estimated total of…

                                                             Only the minimum payment                           23 years                                $17,831.00
                                                                                                                                                        $10,044.00
                                                                        $279.00                                  3 years
                                                                                                                                                  (Savings = $7,787.00)
                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.



 Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
   Make payments online at                                                                                                                                                                   11
                                                               Card Services
    BarclaycardUS.com                                          P.O. Box 60517
                                                               City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                    ------ manifest line ---------
                                                                                                    ROBIN C DIMAGGIO
                                                                                                    117
                                                                                                    5737 KANAN RD
    Amount Enclosed:        $                                                                       AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                             $199.51
  Statement Balance                             $8,577.89
  Payment Due Date                    October 13, 2017



                                                                                                                                                                    EX. KKK - 087
                                                                                                                          Page 2 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 216 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                                   7,400
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                               0
                   Bonus Miles                                                                                                   0
                   Participation Miles                                                                                           0
                   Barclaycard RewardsBoost                                                                                      0
                   Miles Redeemed This Period                                                                                    0
                   Redemption Bonus                                                                                              0
                   Adjustments                                                                                                   0
                   Ending Miles Balance                                                                                      7,400



                             Get the most from your Barclaycard Arrival Plus Rewards Program
                                  Earn 2X miles on all purchases. And remember, every time you
                                    redeem for travel statement credits, you get miles back to
                                                use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 4158




                                                                                                                                        257587 2/6
                                                          No Transaction Activity At This Time



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount
                    09/13           09/13          LATE PAYMENT FEE                                                           $26.00
                                                   Total Fees for this Period                                                 $26.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount
                    09/16           09/16          INTEREST CHARGE ON PURCHASES                                                $2.53
                                                   Total Interest for this Period                                              $2.53


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $358.71                           Total Interest charged in 2017                $2.53
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---             $186.61         15.99% (v)      $2.53
                    Balance Transfers
                        Current   Balance Transfers/Checks                ---               $0.00          15.99% (v)      $0.00
                        Balance   Transfer/Check Incentive             10/16/18           $5,500.00         0.00%          $0.00
                        Balance   Transfer/Check Incentive             10/16/18           $1,061.97         0.00%          $0.00
                        Balance   Transfer/Check Incentive             10/16/18           $1,561.62         0.00%          $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          26.24% (v)      $0.00
                    Total                                                                                                 $2.53
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 088
              Case 1:17-ap-01099-VK                          Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                             07/23/18    17:02:08
                                                                                                    Due Date
                                                                                                                     Desc
                                                                                                                November 13, 2017
                                                             Exhibit HHH-KKK Page 217 of 297Minimum Payment Due          $331.24
                                                                                                                              Previous Balance                            $8,577.89
                                                                                                                              Statement Balance                          $13,173.39


Important Customer                                    Barclaycard Arrival Plus™ World Elite™ MasterCard® Statement
                                                                                                                                                                          Page 1 of 6
   Information                                        Primary Account Number Ending in: 4158                                                          Questions? Call 1-866-558-1107
                                                      Statement Billing Period: 09/17/17 - 10/16/17                                                              BarclaycardUS.com

CREDIT LINE W ARNING                                   Account Summary                                                     Activity Summary
Your account balance is currently                      Minimum Payment Due                                 $331.24         Previous Balance                             $8,577.89
over the approved credit line. To                      Payment Due Date                                   11/13/17          - Payments                                      $0.00
bring your account into good                           Statement End Date                                 10/16/17         + Purchases                                      $0.00
standing, please pay at least                          Revolving Line                                        $0.00          - Other Credits                               $733.00
$2,004.63. This amount is equal to                     Available Revolving Line                              $0.00         + Balance Transfers                          $5,164.00
your minimum payment due of                            Cash Credit Line                                      $0.00         + Cash Advances                                  $0.00
$331.24 plus the amount over your                      Available Cash Line                                   $0.00         + Fees Charged                                 $164.50
credit line which is currently                         Past Due Amount                                     $199.51         + Interest Charged                               $0.00
$1,673.39.                                             Overlimit Amount                                  $1,673.39         Statement Balance                           $13,173.39



                                                        Payment Information




                                                                                                                                                                                                  141512 1/6
                                                        Statement Balance                                                                                            $13,173.39
                                                        Minimum Payment Due                                                                                             $331.24
                                                        Payment Due Date                                                                                             11/13/2017
                                                        Late Payment Warning: If we do not receive your minimum payment by the date
                                                        listed above, you may have to pay a late fee of up to $37.00.
                                                        Minimum Payment Warning: If you make only the minimum payment each period,
                                                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                        example:

                                                             If you make no additional                  You will pay off the
                                                            charges using this card and                balance shown on this                 And you will end up paying
                                                               each month you pay…                     statement in about…                    an estimated total of…

                                                             Only the minimum payment                           0 months                                    $0.00

                                                        If you would like information about credit counseling services, please call 800-570-1403.

                                                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                        to BarclaycardUS.com.




 Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
   Make payments online at                                                                                                                                                                   11
                                                               Card Services
    BarclaycardUS.com                                          P.O. Box 60517
                                                               City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                    ------ manifest line ---------
                                                                                                    ROBIN C DIMAGGIO
                                                                                                    117
                                                                                                    5737 KANAN RD
    Amount Enclosed:        $                                                                       AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                             $331.24
  Statement Balance                           $13,173.39
  Payment Due Date                  November 13, 2017



                                                                                                                                                                    EX. KKK - 089
                                                                                                              Page 2 of 6
Case 1:17-ap-01099-VK    Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                  Desc
                         Exhibit HHH-KKK Page 218 of 297


                    Barclaycard Arrival Plus™ Rewards Summary
                   Beginning Miles Balance                                                                       7,400
                   Miles Earned This Period (2 Miles for each $1 of Net Purchases)                                   0
                   Bonus Miles                                                                                       0
                   Participation Miles                                                                               0
                   Barclaycard RewardsBoost                                                                          0
                   Miles Redeemed This Period                                                                        0
                   Redemption Bonus                                                                                  0
                   Adjustments                                                                                       0
                   Ending Miles Balance                                                                              0



                            Get the most from your Barclaycard Arrival Plus Rewards Program
                              Earn 2X miles on all purchases. And remember, every time you
                                redeem for travel statement credits, you get miles back to
                                            use toward your next redemption.


                    Activity for ROBIN C DIMAGGIO - card ending in 4158




                                                                                                                            141512 2/6
                    Balance Transfers and Cash
                    Trans Date Posting Date Transaction Description                                             Amount
                    09/18      09/19         CONV CHECK          05050                                         $1,750.00
                    09/19      09/20         CONV CHECK          05049                                         $2,000.00
                    10/05      10/06         CONV CHECK          05049                                           $700.00
                    10/05      10/06         CONV CHECK          05038                                             $7.00
                    10/05      10/09         CONV CHECK          05049                                           $700.00
                    10/05      10/09         CONV CHECK          05038                                             $7.00
                    10/05      10/12         CONV CHECK          05049                                          -$700.00
                    10/05      10/12         CONV CHECK          05038                                            -$7.00
                                              Total Balance Transfer & Cash Activity                           $4,457.00


                    10/09       10/12         FRONT-END FEE                                                      -$21.00
                    10/09       10/12         FRONT-END FEE                                                       -$5.00
                                                                                                                 -$26.00



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount
                    09/19       09/19         BALANCE    TRANSFER FEE                                             $52.50
                    09/20       09/20         BALANCE    TRANSFER FEE                                             $60.00
                    10/06       10/06         BALANCE    TRANSFER FEE                                             $21.00
                    10/06       10/06         BALANCE    TRANSFER FEE                                              $5.00
                    10/09       10/09         BALANCE    TRANSFER FEE                                             $21.00
                    10/09       10/09         BALANCE    TRANSFER FEE                                              $5.00
                                              Total Fees for this Period                                         $164.50
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Interest for this Period                                       $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $523.21                Total Interest charged in 2017                $2.53
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                          EX. KKK - 090
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 219 of 297


                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.99% (v)      $0.00
                    Balance Transfers
                        Current   Balance Transfers/Checks                ---               $0.00          15.99% (v)      $0.00
                        Balance   Transfer/Check Incentive             03/16/19           $1,691.66         0.00%          $0.00
                        Balance   Transfer/Check Incentive             03/16/19           $1,866.66         0.00%          $0.00
                        Balance   Transfer/Check Incentive             03/16/19            $280.00          0.00%          $0.00
                        Balance   Transfer/Check Incentive             09/16/18             $2.80           0.00%          $0.00
                        Balance   Transfer/Check Incentive             10/16/18           $5,500.00         0.00%          $0.00
                        Balance   Transfer/Check Incentive             10/16/18           $1,061.97         0.00%          $0.00
                        Balance   Transfer/Check Incentive             10/16/18           $1,561.62         0.00%          $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          26.24% (v)      $0.00
                    Total                                                                                                 $0.00




                                                                                                                                        141512 3/6
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate



                    Customer Notifications

                   Avoiding Interest on Purchases (Grace Period):

                   If you have a 0% promotional APR on all of your Purchase balances, you can
                   avoid paying interest on those balances during the applicable promotional
                   period. However, pay at least your Minimum Payment Due to avoid a late fee.

                   If you have both Purchase balances with an APR greater than 0% and you also
                   have other promotional balances on your Account, you can avoid paying
                   interest on your Purchases by paying $ 592.80 (this amount includes any
                   Minimum Payment Due required to avoid a late fee). Please refer to the
                   “Accrual of Interest and How to Avoid Paying Interest on Purchases” paragraph
                   on the back of this Statement for further detail.




                                                                                                                        EX. KKK - 091
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                      Desc
                                                                                                                 December 12, 2014
                                                              Exhibit HHH-KKK Page 220 of 297Minimum Payment Due           $20.00
                                                                                                                                  Previous Balance                                 $0.00
                                                                                                                                  Statement Balance                              $495.00


Customer News                                          Visa® Black Card Statement
                                                                                                                                                                              Page 1 of 4
                                                       Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
EXCITING TRAVEL                                        Statement Billing Period: 10/16/14 - 11/15/14                                                            www.myblackcard.com
OPPORTUNITIES
                                                       Account Summary                                                        Activity Summary
Enjoy an adventure of a lifetime
                                                       Minimum Payment Due                                    $20.00          Previous Balance                                    $0.00
game viewing on an African safari,
                                                       Payment Due Date                                     12/12/14           - Payments                                         $0.00
sailing a private yacht to the
                                                       Statement End Date                                   11/15/14          + Purchases                                         $0.00
Caribbean’s most secluded islands,
                                                       Credit Line                                        $10,000.00           - Other Credits                                    $0.00
or visiting the Seven Wonders of the
                                                       Credit Available                                    $9,505.00          + Balance Transfers                                 $0.00
World. Contact Black Card Concierge
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
to create your customized travel
                                                       Cash Credit Available                               $4,000.00          + Fees Charged                                    $495.00
package. Concierge professionals are
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
available 24/7 at (800) 790-7909 or
                                                       Overlimit Amount                                        $0.00          Statement Balance                                 $495.00
concierge@blackcard.com.


IMPROVING OUR TEXT ALERTS
To better serve your mobile text                         Payment Information




                                                                                                                                                                                                   029333 1/4
messaging needs, we have switched                        Statement Balance                                                                                                  $495.00
to a new platform. Pick and choose                       Minimum Payment Due                                                                                                 $20.00
which text alerts you would like to                      Payment Due Date                                                                                                12/12/2014
receive. Log on to your account at                       Late Payment Warning: If we do not receive your minimum payment by the date
www.myblackcard.com, verify you                          listed above, you may have to pay a late fee of up to $35.00.
mobile number, click Edit my alerts,                     Minimum Payment Warning: If you make only the minimum payment each period,
add your contact information to                          you will pay more in interest and it will take you longer to pay off your balance. For
your profile and then choose which                       example:
alerts are most useful for you. Once
you select the alerts(s), you will                            If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
receive one or more confirmation
                                                                each month you pay…                      statement in about…                      an estimated total of…
texts to your mobile phone which
you will need to respond to activate                          Only the minimum payment                              2 years                                   $523.00
the alert(s).
                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to www.myblackcard.com.




          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  2 11
                                                                Card Services
    www.myblackcard.com                                         P.O. Box 13337
                                                                Philadelphia, PA 19101-3337

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $20.00
  Statement Balance                               $495.00
  Payment Due Date                 December 12, 2014



                                                                                                                                                                        EX. KKK - 092
                                                                                                                                                  Page 2 of 4
              Case 1:17-ap-01099-VK              Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                                 Exhibit HHH-KKK Page 221 of 297


                                            Black Card Rewards Summary
TRIP DELAY REIMBURSEMENT
Rely on Black Card for complete            Black Card Reward Points
peace of mind if travel delays occur.      Points Earned This Period                                                                     +                  0
                                           Bonus Points                                                                                  +                  0
When a trip is delayed more than
                                           Points Redeemed This Period                                                                   +                  0
12 hours due to a covered event,           Adjustments                                                                                   -                  0
expenses incurred as a result of the       Total Points Earned                                                                           =                  0
delay, such as meals and lodging,
are reimbursed up to $300 per
ticket. Refer to Black Card’s Rewards       Activity for ROBIN C DIMAGGIO - card ending in 8241
Terms and Conditions for more
                                                                                  No Transaction Activity At This Time
information.


UNLIMITED CASH BACK                         Summary of Fees and Interest
Purchase anything with your Black
                                            Fees Charged
Card and redeem points for cash
                                            Trans Date Posting Date Transaction Description                                                         Amount
back as a statement credit. For
                                            10/31         10/31            ANNUAL FEE                                                               $495.00
example, you can redeem 15,000
points for a $150 statement credit.                                        Total Fees for this Period                                               $495.00




                                                                                                                                                                029333 2/4
                                            Interest Charged
There is no minimum redemption
                                            Trans Date Posting Date Transaction Description                                                         Amount
requirement and no maximum on
the number of points you may                                               Total Interest for this Period                                              $0.00
redeem. Visit myblackcard.com for
more information about redeeming            Year-to-Date Summary of Fees and Interest Charged*
points.
                                           Total Fees charged in 2014 $495.00                            Total Interest charged in 2014                $0.00
                                           *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
EARN FASTER
                                           dates in 2014. The Summary does not reflect any fees or interest adjustments and/or credits that have
Add your spouse, family members or         been made.
others as authorized users of your
Visa Black Card. You’ll automatically      Interest Charge Calculation - 31 Days in Billing Cycle
earn Points with every purchase your
authorized users make! Just call                                                             Promotional Balance       ANNUAL
Customer Service at                                                                           Rate End    Subject to PERCENTAGE                  Interest
1-800-790-7942.*                                                                                Date    Interest Rate RATE (APR)                  Charge
                                            Purchases
*As the primary cardholder you will be
                                             Current Purchases                                     ---              $0.00             0.00%        $0.00
financially responsible for transactions
made by authorized users.                   Balance Transfers
                                             Current Balance Transfers/Checks                      ---              $0.00             0.00%        $0.00
                                            Cash Advances
                                             Current Cash Advance                                  ---              $0.00          25.24% (v)      $0.00
                                            Total                                                                                                 $0.00
                                            Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                                EX. KKK - 093
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08January
                                                                                                     Due Date
                                                                                                                     Desc 12, 2015
                                                              Exhibit HHH-KKK Page 222 of 297Minimum Payment Due             None
                                                                                                                                  Previous Balance                               $495.00
                                                                                                                                  Statement Balance                                $0.00


Customer News                                          Visa® Black Card Statement
                                                                                                                                                                              Page 1 of 4
                                                       Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
THE WORLD AWAITS®                                      Statement Billing Period: 11/16/14 - 12/15/14                                                            www.myblackcard.com
Enjoy the unmatched convenience
                                                       Account Summary                                                        Activity Summary
and customization of our dedicated
                                                       Minimum Payment Due                                     $0.00          Previous Balance                                  $495.00
Black Card Concierge. Ready to serve
                                                       Payment Due Date                                     01/12/15           - Payments                                     $1,865.54
you 24/7, Concierge professionals
                                                       Statement End Date                                   12/15/14          + Purchases                                     $1,370.54
will assist with all your personal,
                                                       Credit Line                                        $10,000.00           - Other Credits                                    $0.00
business, and travel needs. Life is
                                                       Credit Available                                   $10,000.00          + Balance Transfers                                 $0.00
busy; focus on what is truly
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
important while we handle
                                                       Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
everything else. Always available at
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
800-790-7909 or
                                                       Overlimit Amount                                        $0.00          Statement Balance                                   $0.00
concierge@blackcard.com .


Worldwide Travel
Accident Insurance                                       Payment Information




                                                                                                                                                                                                   013454 1/4
Protect yourself and your family                         Statement Balance                                                                                                     $0.00
with $250,000 worth of Travel                            Minimum Payment Due                                                                                                   None
Accident Insurance coverage for                          Payment Due Date                                                                                                  1/12/2015
qualifying travel-available to you at                    Late Payment Warning: If we do not receive your minimum payment by the date
no additional cost when the travel is                    listed above, you may have to pay a late fee of up to $35.00.
purchased with your Black Card.                          Minimum Payment Warning: If you make only the minimum payment each period,
Refer to Black Card’s Rewards Terms                      you will pay more in interest and it will take you longer to pay off your balance. For
and Conditions for more                                  example:
information.
                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
Roadside Dispatch                                               each month you pay…                      statement in about…                      an estimated total of…
Black Card is there to assist you
                                                              Only the minimum payment                             0 months                                     $0.00
when unexpected circumstances
occur by providing convenient 24/7                       If you would like information about credit counseling services, please call 800-570-1403.
towing and locksmith referral                          * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
services in the United States and                        statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
Canada. Refer to Black Card’s                            to www.myblackcard.com.
Rewards Terms and Conditions for
full details.

          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  1 11
                                                                Card Services
    www.myblackcard.com                                         P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                                None
  Statement Balance                                  $0.00
  Payment Due Date                    January 12, 2015



                                                                                                                                                                        EX. KKK - 094
                                                                                                                                             Page 2 of 4
           Case 1:17-ap-01099-VK            Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                            Exhibit HHH-KKK Page 223 of 297


                                       Black Card Rewards Summary
STAY CONNECTED
Visit www.myblackcard.com to view     Black Card Reward Points
up-to-date account activity,          Points Earned This Period                                                                     +             1,370
                                      Bonus Points                                                                                  +                 0
download transactions, make
                                      Points Redeemed This Period                                                                   +                 0
payments and transfer balances. You   Adjustments                                                                                   -                 0
have 24/7 access!                     Total Points Earned                                                                           =             1,370


                                       Activity for ROBIN C DIMAGGIO - card ending in 8241
                                       Payments
                                       Trans Date Posting Date Transaction Description                                                         Amount
                                       12/01      12/01        Payment Received       CITIBANK FSB                                           -$1,865.54
                                                                      Total Payment Activity                                                 -$1,865.54

                                       Purchases
                                       11/21     11/24                SOUTHWES        5262462694291800-435-9792 TX                            $1,008.40
                                                                      RICH/MARTY NICOLE 11/23/2014 BUR PHX BUR
                                                                      Agency: #5262462694291

                                       11/25         11/26            ALAMO RENT-A-CAR                  PHOENIX      AZ                        $362.14




                                                                                                                                                           013454 2/4
                                                                      Total Purchase Activity                                                 $1,370.54



                                       Summary of Fees and Interest
                                       Fees Charged
                                       Trans Date Posting Date Transaction Description                                                         Amount

                                                                      Total Fees for this Period                                                  $0.00
                                       Interest Charged
                                       Trans Date Posting Date Transaction Description                                                         Amount

                                                                      Total Interest for this Period                                              $0.00


                                       Year-to-Date Summary of Fees and Interest Charged*
                                      Total Fees charged in 2014 $495.00                             Total Interest charged in 2014               $0.00
                                      *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                      dates in 2014. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                      been made.

                                      Interest Charge Calculation - 30 Days in Billing Cycle

                                                                                        Promotional Balance       ANNUAL
                                                                                         Rate End    Subject to PERCENTAGE                  Interest
                                                                                           Date    Interest Rate RATE (APR)                  Charge
                                       Purchases
                                        Current Purchases                                 10/15/15              $0.00            0.00%        $0.00
                                       Balance Transfers
                                        Current Balance Transfers/Checks                  10/15/15              $0.00            0.00%        $0.00
                                       Cash Advances
                                        Current Cash Advance                                   ---              $0.00         25.24% (v)      $0.00
                                       Total                                                                                                 $0.00
                                       Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                           EX. KKK - 095
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                      Desc
                                                                                                                  February 12, 2015
                                                               Exhibit HHH-KKK Page 224 of 297Minimum Payment Due           $20.00
                                                                                                                                   Previous Balance                                 $0.00
                                                                                                                                   Statement Balance                            $1,135.40


Customer News                                           Visa® Black Card Statement
                                                                                                                                                                               Page 1 of 5
                                                        Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
YEAR-ROUND RENTAL                                       Statement Billing Period: 12/16/14 - 01/15/15                                                            www.myblackcard.com
CAR SAVINGS
                                                        Account Summary                                                        Activity Summary
As a Black Card member, you can
                                                        Minimum Payment Due                                    $20.00          Previous Balance                                    $0.00
take advantage of special pricing
                                                        Payment Due Date                                     02/12/15           - Payments                                     $2,403.73
and convenient, stress-free rental
                                                        Statement End Date                                   01/15/15          + Purchases                                     $3,539.13
experiences from three outstanding
                                                        Credit Line                                        $10,000.00           - Other Credits                                    $0.00
companies with locations across
                                                        Credit Available                                    $8,864.60          + Balance Transfers                                 $0.00
North America: Alamo Rent A Car ,
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
Enterprise Rent-A-Car and National
                                                        Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
Car Rental . Contact Black Card
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
Concierge at 800-790-7909 for
                                                        Overlimit Amount                                        $0.00          Statement Balance                               $1,135.40
additional information and to book
a rental car today.


FOR THAT SPECIAL SOMEONE                                  Payment Information




                                                                                                                                                                                                    013312 1/5
Valentine’s Day is just around the                        Statement Balance                                                                                                 $1,135.40
corner. Whether you’d like to plan a                      Minimum Payment Due                                                                                                  $20.00
weekend getaway or send a                                 Payment Due Date                                                                                                  2/12/2015
heartfelt gift of flowers and sweets,                     Late Payment Warning: If we do not receive your minimum payment by the date
Black Card’s dedicated Concierge                          listed above, you may have to pay a late fee of up to $35.00.
professionals are standing by to help                     Minimum Payment Warning: If you make only the minimum payment each period,
you find the perfect treat.                               you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:

LOST BAGGAGE
                                                               If you make no additional                   You will pay off the
REIMBURSEMENT                                                 charges using this card and                 balance shown on this                   And you will end up paying
Rest easy during your travels                                    each month you pay…                      statement in about…                      an estimated total of…
knowing that your carry-on or                                  Only the minimum payment                              7 years                                  $1,636.00
checked luggage is covered up to
                                                                                                                                                             $1,332.00
$3,000 per trip if lost or stolen when                                     $37.00                                    3 years
                                                                                                                                                        (Savings = $304.00)
your common carrier ticket is
                                                          If you would like information about credit counseling services, please call 800-570-1403.
purchased with your Black Card.
                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to www.myblackcard.com.


           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    www.myblackcard.com                                          P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $20.00
  Statement Balance                              $1,135.40
  Payment Due Date                    February 12, 2015



                                                                                                                                                                         EX. KKK - 096
                                                                                                                                    Page 2 of 5
            Case 1:17-ap-01099-VK             Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                   Desc
                                              Exhibit HHH-KKK Page 225 of 297


                                          Black Card Rewards Summary
YOUR 2014 ANNUAL SUMMARY
IS HERE!                                 Black Card Reward Points
                                         Points Earned This Period                                                        +              3,539
It’s a handy breakdown of all your
                                         Bonus Points                                                                     +             25,000
card transactions during the past        Points Redeemed This Period                                                      +                  0
year.                                    Adjustments                                                                      -                  0
                                         Total Points Earned                                                              =             29,909
You can view, download and print it
at www.myblackcard.com.
                                          Activity for ROBIN C DIMAGGIO - card ending in 8241
See itemized purchases and                Payments
payments - listed by category,            Trans Date Posting Date Transaction Description                                             Amount
organized by month.                       01/07      01/07        Payment Received       CITIBANK FSB                               -$2,403.73
                                                                    Total Payment Activity                                          -$2,403.73
Make tax-time easier - get details of
                                          Purchases
your transactions, including those        12/19       12/22         BRITT SHOP CAFE Y CHOCOLAGUANACASTE                                $152.91
made by authorized users.                 12/19       12/22         BRITT SHOP CAFE Y CHOCOLAGUANACASTE                                $113.78
                                          12/22       12/23         KS JEWELERS        AGOURA HILLS CA                                  $30.00
It’s ready now. See your Annual           12/22       12/24         SHELL OIL 57444585103 AGOURA      CA                                $36.01




                                                                                                                                                  013312 2/5
Summary Statement by logging in at        12/22       12/24         TJ MAXX #835        THOUSAND OAKSCA                                 $68.59
                                          12/22       12/24         LASSENS HEALTH FOODS THOUSAND OAKSCA                               $398.67
www.myblackcard.com and by
                                          12/22       12/24         7-ELEVEN 13882      AGOURA HILLS CA                                 $15.12
clicking the banner on your Account
                                          12/22       12/24         THE BALLROOM WORLD OF DANAGOURA HILLS CA                           $450.00
Summary Page. And while you’re            12/26       12/29         AVEDA EXPERIENCECTR 747 THOUSAND OAKSCA                            $120.40
there, check out your Annual Guide        12/28       12/29         TIPPLE AND BRINE     SHERMAN OAKS CA                               $206.96
to Benefits to take full advantage of     12/26       12/29         NO RANCH BEAUTY SALON3835WESTLAKE VILLCA                            $60.20
your Card credit card.                    12/26       12/29         NO RANCH BEAUTY SALON3835WESTLAKE VILLCA                            $96.73
                                          01/01       01/05         HOTEL INDIGO        SANTA BARBARACA                                $336.38
                                          01/01       01/05         HOTEL INDIGO        SANTA BARBARACA                                 $45.00
EVERYDAY PURCHASES,                       01/03       01/05         CAFE GRATITUDE LAR     LOS ANGELAS CA                              $265.63
EXTRAORDINARY REWARDS                     01/04       01/05         STARBUCKS #05445 THOUSANDThousand OaksCA                             $7.35
Earn rewards with every purchase          01/06       01/08         SOUTHWES 5262472183250800-435-9792 TX                            $1,000.40
                                                                    DIMAGGIO/ROBIN 01/18/2015 LAX SFO LAX
you make with your Visa Black Card.                                 Agency: #5262472183250
You’ll automatically earn Points on       01/11       01/12         CANYON CLUB               AGOURA HILLS CA                          $135.00
all qualifying purchases - so use your                              Total Purchase Activity                                          $3,539.13
card at the grocery store, gas
station…everywhere!
                                          Summary of Fees and Interest
RESOLVE TO GET ORGANIZED!                 Fees Charged
The start of the new year is a great      Trans Date Posting Date Transaction Description                                             Amount
time to organize your finances. Our
                                                                    Total Fees for this Period                                           $0.00
online tools can help. Plus, our Email    Interest Charged
Alerts can let you know when your         Trans Date Posting Date Transaction Description                                             Amount
statement is available, payment is
due, and more. Log in to                                            Total Interest for this Period                                       $0.00
www.myblackcard.com to set your
Email Alert preferences now.              Year-to-Date Summary of Fees and Interest Charged*
                                         Total Fees charged in 2015 $0.00                     Total Interest charged in 2015              $0.00
REVIEW YOUR                              *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
ACCOUNT BENEFITS                         dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
Log in to www.myblackcard.com to         been made.
learn more about the benefits you
receive automatically just for being
a Visa Black Card Cardmember.




                                                                                                                                EX. KKK - 097
                                                                                                                          Page 3 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 226 of 297


                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                              10/15/15             $0.00             0.00%        $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks               10/15/15             $0.00             0.00%        $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate



                    Customer Notifications

                   Important Account Information
                   We realized the Promotional APR expiration date was not printed on some of your




                                                                                                                                        013312 3/5
                   previous billing statements. Your Promotional APR expiration date is now showing
                   under the 'Interest Charge Calculation' section on your billing statement.




                                                                                                                        EX. KKK - 098
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                                                                          Desc
                                                                                                                                                                        March 12, 2015
                                                              Exhibit HHH-KKK Page 227 of 297Minimum Payment Due                                                                 None
                                                                                                                                  Previous Balance                           $1,135.40
                                                                                                                                  Statement Balance                              $0.00


Customer News                                          Visa® Black Card Statement
                                                                                                                                                                              Page 1 of 4
                                                       Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
GLOBAL ACCEPTANCE                                      Statement Billing Period: 01/16/15 - 02/15/15                                                            www.myblackcard.com
For your convenience, your Black
                                                       Account Summary                                                        Activity Summary
Card is accepted in over 200
                                                       Minimum Payment Due                                     $0.00          Previous Balance                                $1,135.40
countries worldwide, with no
                                                       Payment Due Date                                     03/12/15           - Payments                                     $2,683.48
foreign transaction fees.
                                                       Statement End Date                                   02/15/15          + Purchases                                     $1,548.08
                                                       Credit Line                                        $10,000.00           - Other Credits                                    $0.00
SPRING IS IN THE AIR                                   Credit Available                                   $10,000.00          + Balance Transfers                                 $0.00
Spring is making its debut, get a                      Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
head start on scheduling that highly                   Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
anticipated warm weather vacation.                     Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
Dedicated Black Card Concierge                         Overlimit Amount                                        $0.00          Statement Balance                                   $0.00
professionals are standing by to help
you arrange your next adventure.
Contact Black Card Concierge at
800-790-7909 or                                          Payment Information




                                                                                                                                                                                                   013180 1/4
concierge@blackcard.com.                                 Statement Balance                                                                                                     $0.00
                                                         Minimum Payment Due                                                                                                   None
                                                         Payment Due Date                                                                                                  3/12/2015
FLY THE PRIVATE SKIES
Experience true luxury and                               Late Payment Warning: If we do not receive your minimum payment by the date
top-notch service while saving                           listed above, you may have to pay a late fee of up to $35.00.
yourself the hassle and crowds                           Minimum Payment Warning: If you make only the minimum payment each period,
involved in commercial travel by                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:
booking a private jet for your next
trip. Contact Black Card Concierge at
800-790-7909 or                                               If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
concierge@blackcard.com.                                                                                                                          an estimated total of…
                                                                each month you pay…                      statement in about…
                                                              Only the minimum payment                             0 months                                     $0.00

                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to www.myblackcard.com.




          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  1 11
                                                                Card Services
    www.myblackcard.com                                         P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                                None
  Statement Balance                                  $0.00
  Payment Due Date                      March 12, 2015



                                                                                                                                                                        EX. KKK - 099
                                                                                                                                               Page 2 of 4
           Case 1:17-ap-01099-VK              Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                              Exhibit HHH-KKK Page 228 of 297


                                         Black Card Rewards Summary
YOUR 2014 ANNUAL SUMMARY
IS HERE!                                Black Card Reward Points
                                        Points Earned This Period                                                                     +             1,547
It’s a handy breakdown of all your
                                        Bonus Points                                                                                  +                 0
card transactions during the past       Points Redeemed This Period                                                                   +                 0
year.                                   Adjustments                                                                                   -                 0
                                        Total Points Earned                                                                           =            31,456
You can view, download and print it
at www.myblackcard.com.
                                         Activity for ROBIN C DIMAGGIO - card ending in 8241
See itemized purchases and               Payments
payments - listed by category,           Trans Date Posting Date Transaction Description                                                         Amount
organized by month.                      01/30      01/30        Payment Received       CITIBANK FSB                                           -$2,325.35
                                         02/12      02/12        Payment Received       CITIBANK FSB                                             -$358.13
Make tax-time easier - get details of                                   Total Payment Activity                                                 -$2,683.48
your transactions, including those       Purchases
made by authorized users.                01/14         01/16            STRATOSPHEREADV DEPOSIT LAS VEGAS NV                                     $414.39
                                         01/14         01/16            PATXI'S PIZZA-SANTA BARB SANTA BARBARACA                                  $88.06
It’s ready now. See your Annual          01/14         01/16            Little Dom's      Los Angeles CA                                         $129.44




                                                                                                                                                             013180 2/4
Summary Statement by logging in at       01/20         01/22            W SAN FRANCISCO        SAN FRANCISCOCA                                    $28.71
                                         01/26         01/28            SHERATON           ANAHEIM      CA                                        $21.00
www.myblackcard.com and by
                                         01/27         01/28            EL FLORIDITA        LOS ANGELES CA                                       $358.36
clicking the banner on your Account
                                         01/29         01/29            IMDb            206-266-2425 W A                                         $149.99
Summary Page. And while you’re           01/28         01/30            FOUR SEASONS HOTELS LA/FBLOS ANGELES CA                                  $234.02
there, check out your Annual Guide       01/28         01/30            FOUR SEASONS HOTELS LA/FBLOS ANGELES CA                                  $106.11
to Benefits to take full advantage of    01/29         01/30            FOUR SEASONS VALET       LOS ANGELES CA                                   $18.00
your Card credit card.                                                  Total Purchase Activity                                                 $1,548.08


MANAGE YOUR
                                         Summary of Fees and Interest
ACCOUNT ONLINE
It’s easy. Just log in to                Fees Charged
www.myblackcard.com to view              Trans Date Posting Date Transaction Description                                                         Amount
up-to-date account activity,                                            Total Fees for this Period                                                  $0.00
download transactions, make              Interest Charged
payments and even transfer               Trans Date Posting Date Transaction Description                                                         Amount
balances. You have 24/7 access!
                                                                        Total Interest for this Period                                              $0.00


                                         Year-to-Date Summary of Fees and Interest Charged*
                                        Total Fees charged in 2015 $0.00                              Total Interest charged in 2015                $0.00
                                        *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                        dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                        been made.

                                        Interest Charge Calculation - 31 Days in Billing Cycle

                                                                                          Promotional Balance       ANNUAL
                                                                                           Rate End    Subject to PERCENTAGE                  Interest
                                                                                             Date    Interest Rate RATE (APR)                  Charge
                                         Purchases
                                          Current Purchases                                 10/15/15             $0.00             0.00%        $0.00
                                         Balance Transfers
                                          Current Balance Transfers/Checks                  10/15/15             $0.00             0.00%        $0.00
                                         Cash Advances
                                          Current Cash Advance                                  ---              $0.00          25.24% (v)      $0.00
                                         Total                                                                                                 $0.00
                                         Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                             EX. KKK - 100
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                          April 12, 2015
                                                               Exhibit HHH-KKK Page 229 of 297Minimum Payment Due                                                                $20.00
                                                                                                                                   Previous Balance                                $0.00
                                                                                                                                   Statement Balance                            $107.91


Customer News                                           Visa® Black Card Statement
                                                                                                                                                                               Page 1 of 4
                                                        Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
YOU’RECOVERED -                                         Statement Billing Period: 02/16/15 - 03/15/15                                                            www.myblackcard.com
EVEN IN A RENTAL
                                                        Account Summary                                                        Activity Summary
As a Black Card member, you are
                                                        Minimum Payment Due                                    $20.00          Previous Balance                                    $0.00
provided an auto rental collision
                                                        Payment Due Date                                     04/12/15           - Payments                                         $0.00
damage waiver that delivers
                                                        Statement End Date                                   03/15/15          + Purchases                                       $107.91
reimbursement for damage due to
                                                        Credit Line                                        $10,000.00           - Other Credits                                    $0.00
collision or theft up to the actual
                                                        Credit Available                                    $9,892.09          + Balance Transfers                                 $0.00
cash value of most rental vehicles at
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
no additional cost to you.
                                                        Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
CRUISE LINE BENEFITS                                    Overlimit Amount                                        $0.00          Statement Balance                                 $107.91
Black Card’s VIP Hotel & Travel
program gives you access to
privileges on more than 20 cruise
lines, including shipboard credits,                       Payment Information




                                                                                                                                                                                                    012989 1/4
cabin upgrades, exclusive shore                           Statement Balance                                                                                                   $107.91
excursions and private hosted                             Minimum Payment Due                                                                                                  $20.00
parties. To take advantage of these                       Payment Due Date                                                                                                  4/12/2015
benefits, call Black Card Concierge                       Late Payment Warning: If we do not receive your minimum payment by the date
at (800) 790-7909 or email                                listed above, you may have to pay a late fee of up to $35.00.
concierge@blackcard.com .                                 Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:
THE HANDY WAY TO PAY
Make payments online! You can
                                                               If you make no additional                   You will pay off the
save time, postage and trips to the                                                                                                               And you will end up paying
                                                              charges using this card and                 balance shown on this
mailbox. Use your Visa Black Card at                             each month you pay…                      statement in about…                      an estimated total of…
www.myblackcard.com.
                                                               Only the minimum payment                             6 months                                   $108.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to www.myblackcard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    www.myblackcard.com                                          P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $20.00
  Statement Balance                                $107.91
  Payment Due Date                         April 12, 2015



                                                                                                                                                                         EX. KKK - 101
                                                                                                                                              Page 2 of 4
           Case 1:17-ap-01099-VK             Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                             Exhibit HHH-KKK Page 230 of 297


                                        Black Card Rewards Summary
EVENT & HOSPITALITY ACCESS
Looking for elite entertainment        Black Card Reward Points
options on your next adventure? As     Points Earned This Period                                                                     +               108
                                       Bonus Points                                                                                  +                 0
a Black Card member, you can access
                                       Points Redeemed This Period                                                                   +                 0
exclusive admission to sold-out        Adjustments                                                                                   -                 0
entertainment, including music,        Total Points Earned                                                                           =            31,564
sports, theater and cultural events.
To take advantage of these offers,
call Black Card Concierge at (800)      Activity for ROBIN C DIMAGGIO - card ending in 8241
790-7909 or email
                                        Purchases
concierge@blackcard.com . Certain       Trans Date Posting Date Transaction Description                                                         Amount
terms, conditions and exclusions        02/28      03/02        AmazonPrime Membership                    amzn.com/prmeNV                       $107.91
apply.                                                                 Total Purchase Activity                                                  $107.91



                                        Summary of Fees and Interest
                                        Fees Charged
                                        Trans Date Posting Date Transaction Description                                                         Amount




                                                                                                                                                            012989 2/4
                                                                       Total Fees for this Period                                                  $0.00
                                        Interest Charged
                                        Trans Date Posting Date Transaction Description                                                         Amount

                                                                       Total Interest for this Period                                              $0.00


                                        Year-to-Date Summary of Fees and Interest Charged*
                                       Total Fees charged in 2015 $0.00                              Total Interest charged in 2015                $0.00
                                       *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                       dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                       been made.

                                       Interest Charge Calculation - 28 Days in Billing Cycle

                                                                                         Promotional Balance       ANNUAL
                                                                                          Rate End    Subject to PERCENTAGE                  Interest
                                                                                            Date    Interest Rate RATE (APR)                  Charge
                                        Purchases
                                         Current Purchases                                 10/15/15             $0.00             0.00%        $0.00
                                        Balance Transfers
                                         Current Balance Transfers/Checks                  10/15/15             $0.00             0.00%        $0.00
                                        Cash Advances
                                         Current Cash Advance                                  ---              $0.00          25.24% (v)      $0.00
                                        Total                                                                                                 $0.00
                                        Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                            EX. KKK - 102
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                           May 12, 2015
                                                               Exhibit HHH-KKK Page 231 of 297Minimum Payment Due                                                                 None
                                                                                                                                   Previous Balance                            $107.91
                                                                                                                                   Statement Balance                              $0.00


Customer News                                           Visa® Black Card Statement
                                                                                                                                                                               Page 1 of 4
                                                        Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
IMPORTANT ACCOUNT                                       Statement Billing Period: 03/16/15 - 04/15/15                                                            www.myblackcard.com
INFORMATION
                                                        Account Summary                                                        Activity Summary
Your account balance reflects items
                                                        Minimum Payment Due                                     $0.00          Previous Balance                                  $107.91
in dispute. The amount in question
                                                        Payment Due Date                                     05/12/15           - Payments                                       $912.87
is not accruing an interest charge
                                                        Statement End Date                                   04/15/15          + Purchases                                     $1,081.09
and is not required to be paid until
                                                        Credit Line                                        $10,000.00           - Other Credits                                  $276.13
the dispute is resolved.
                                                        Credit Available                                   $10,000.00          + Balance Transfers                                 $0.00
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
CULINARY TRAVEL EXPERIENCES                             Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
Why not plan a vacation based on                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
the top food and wine destinations                      Overlimit Amount                                        $0.00          Statement Balance                                   $0.00
in the United States or around the
world? Contact Black Card Concierge
at (800) 790-7909 or
concierge@blackcard.com to begin                          Payment Information




                                                                                                                                                                                                    012841 1/4
your culinary journey today.                              Statement Balance                                                                                                     $0.00
                                                          Minimum Payment Due                                                                                                   None
                                                          Payment Due Date                                                                                                  5/12/2015
UNLIMITED CASH BACK
Purchase anything with your Black                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $35.00.
Card and redeem points for cash
back as a statement credit. There is                      Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
no minimum redemption
                                                          example:
requirement and no maximum
number of points you may redeem.
                                                               If you make no additional                   You will pay off the
Visit                  for more                                                                                                                   And you will end up paying
                                                              charges using this card and                 balance shown on this
information about redeeming                                      each month you pay…                      statement in about…                      an estimated total of…
points.
                                                               Only the minimum payment                             0 months                                     $0.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to www.myblackcard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    www.myblackcard.com                                          P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                 None
  Statement Balance                                   $0.00
  Payment Due Date                          May 12, 2015



                                                                                                                                                                         EX. KKK - 103
                                                                                                                                             Page 2 of 4
           Case 1:17-ap-01099-VK            Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                            Exhibit HHH-KKK Page 232 of 297


                                       Black Card Rewards Summary
WARRANTY MANAGER SERVICE
Enjoy peace of mind by extending      Black Card Reward Points
an item's original manufacturer       Points Earned This Period                                                                     +               805
                                      Bonus Points                                                                                  +                 0
warranty up to one additional year.
                                      Points Redeemed This Period                                                                   +                 0
Contact Customer Service at (800)     Adjustments                                                                                   -                 0
790-7942 or refer to Black Card's     Total Points Earned                                                                           =            32,369
Rewards Terms & Conditions for
more information.
                                       Activity for ROBIN C DIMAGGIO - card ending in 8241
                                       Payments
                                       Trans Date Posting Date Transaction Description                                                         Amount
                                       03/26      03/26        Payment Received       CITIBANK FSB                                             -$912.87
                                                                      Total Payment Activity                                                   -$912.87

                                       Purchases
                                       03/18         03/19            FOUR SEASONS HOTEL F&B WESTLAKE VLLGCA                                    $148.81
                                       03/17         03/19            FOUR SEASONS HOTEL SPA WESTLAKE VLGECA                                     $78.48
                                       03/18         03/19            PADRI ITALIAN CUISINE & MAGOURA HILLS CA                                   $45.97
                                       03/18         03/19            PADRI ITALIAN CUISINE & MAGOURA HILLS CA                                  $142.70




                                                                                                                                                           012841 2/4
                                       03/19         03/20            HARVELLE'S         SANTA MONICA CA                                        $389.00
                                       04/06         04/07            DW DRUMS            805-485-6999 CA                                       $276.13
                                       04/14         04/15            DW DRUMS            805-485-6999 CA                                      -$276.13
                                                                      Total Purchase Activity                                                  $804.96



                                       Summary of Fees and Interest
                                       Fees Charged
                                       Trans Date Posting Date Transaction Description                                                         Amount

                                                                      Total Fees for this Period                                                  $0.00
                                       Interest Charged
                                       Trans Date Posting Date Transaction Description                                                         Amount

                                                                      Total Interest for this Period                                              $0.00


                                       Year-to-Date Summary of Fees and Interest Charged*
                                      Total Fees charged in 2015 $0.00                              Total Interest charged in 2015                $0.00
                                      *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                      dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                      been made.

                                      Interest Charge Calculation - 31 Days in Billing Cycle

                                                                                        Promotional Balance       ANNUAL
                                                                                         Rate End    Subject to PERCENTAGE                  Interest
                                                                                           Date    Interest Rate RATE (APR)                  Charge
                                       Purchases
                                        Current Purchases                                 10/15/15             $0.00             0.00%        $0.00
                                       Balance Transfers
                                        Current Balance Transfers/Checks                  10/15/15             $0.00             0.00%        $0.00
                                       Cash Advances
                                        Current Cash Advance                                  ---              $0.00          25.24% (v)      $0.00
                                       Total                                                                                                 $0.00
                                       Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                           EX. KKK - 104
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                          June 12, 2015
                                                               Exhibit HHH-KKK Page 233 of 297Minimum Payment Due                                                               $20.00
                                                                                                                                   Previous Balance                               $0.00
                                                                                                                                   Statement Balance                           $785.10


Customer News                                           Visa® Black Card Statement
                                                                                                                                                                               Page 1 of 4
                                                        Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
ANNUAL PRIVACY POLICY                                   Statement Billing Period: 04/16/15 - 05/15/15                                                            www.myblackcard.com
Our Annual Privacy Policy is enclosed
                                                        Account Summary                                                        Activity Summary
for your review. You have the
                                                        Minimum Payment Due                                    $20.00          Previous Balance                                    $0.00
opportunity to choose how your
                                                        Payment Due Date                                     06/12/15           - Payments                                         $0.00
personal information can be shared.
                                                        Statement End Date                                   05/15/15          + Purchases                                       $785.10
Our Privacy Policy gives you the facts
                                                        Credit Line                                        $10,000.00           - Other Credits                                    $0.00
about:
                                                        Credit Available                                    $9,214.90          + Balance Transfers                                 $0.00
- How we collect, share, and
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
   protect your personal information
                                                        Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
- The types of personal information
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
   that we collect and share
                                                        Overlimit Amount                                        $0.00          Statement Balance                                 $785.10
- What specific information you
   can limit us from sharing with
   others
- How you can contact us to limit
                                                          Payment Information




                                                                                                                                                                                                      027471 1/4
   data sharing
                                                          Statement Balance                                                                                                   $785.10
                                                          Minimum Payment Due                                                                                                  $20.00
Please see the section in our Privacy
                                                          Payment Due Date                                                                                                  6/12/2015
Policy labeled "To limit our direct
marketing," which describes how                           Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $35.00.
we may provide offers for financial
products to you by mail, email,                           Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
telephone, and other channels such
                                                          example:
as social media, and how you may
direct us not to send you such offers.
                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
Please understand that your                                      each month you pay…                      statement in about…                      an estimated total of…
decisions could affect the types of
                                                               Only the minimum payment                              4 years                                   $999.00
offers that are made available to
you.                                                                                                                                                           $936.00
                                                                           $26.00                                    3 years
                                                                                                                                                         (Savings = $63.00)
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to www.myblackcard.com.


           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 2 11
                                                                 Card Services
    www.myblackcard.com                                          P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $20.00
  Statement Balance                                $785.10
  Payment Due Date                         June 12, 2015



                                                                                                                                                                         EX. KKK - 105
                                                                                                                                                Page 2 of 4
            Case 1:17-ap-01099-VK              Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                               Exhibit HHH-KKK Page 234 of 297


                                          Black Card Rewards Summary
SPOIL THE DADS IN YOUR LIFE
Father's Day is fast approaching.        Black Card Reward Points
Contact Black Card Concierge at          Points Earned This Period                                                                     +               785
                                         Bonus Points                                                                                  +                 0
(800) 790-7909 or
                                         Points Redeemed This Period                                                                   +                 0
concierge@blackcard.com to send          Adjustments                                                                                   -                 0
heartfelt deliveries, schedule dinners   Total Points Earned                                                                           =            33,154
or even book a weekend getaway
for the special men in your life.
                                          Activity for ROBIN C DIMAGGIO - card ending in 8241
THE WORLD AWAITS®                         Purchases
Black Card VIP Hotel & Travel invites     Trans Date Posting Date Transaction Description                                                         Amount
you to enhance your journeys              04/29      05/01        THE ANZA            CALABASAS CA                                                $728.42
                                          05/05      05/06        LAL MIRCH           AGOURA HILLS CA                                              $56.68
worldwide. Access an incomparable
                                                                         Total Purchase Activity                                                  $785.10
array of personalized resources and
exclusive amenities such as room
upgrades, complimentary food and
                                          Summary of Fees and Interest
beverage, hotel credits, competitive
rates and more from the world’s           Fees Charged




                                                                                                                                                              027471 2/4
finest travel destinations. View the      Trans Date Posting Date Transaction Description                                                         Amount
complete 2015 VIP Hotel & Travel
                                                                         Total Fees for this Period                                                  $0.00
book at myblackcard.com .                 Interest Charged
                                          Trans Date Posting Date Transaction Description                                                         Amount
YOU PACK, WE'LL TAKE CARE OF                                             Total Interest for this Period                                              $0.00
EVERYTHING ELSE
Send your luggage ahead of time to        Year-to-Date Summary of Fees and Interest Charged*
nearly any destination to avoid the
inconvenience of carrying, checking      Total Fees charged in 2015 $0.00                              Total Interest charged in 2015                $0.00
and claiming bags and even going         *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
through customs. On-time delivery is     dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
guaranteed to ensure you save time,      been made.
avoid hassles and protect your
                                         Interest Charge Calculation - 30 Days in Billing Cycle
possessions-simply and in style.
                                                                                           Promotional Balance       ANNUAL
                                                                                            Rate End    Subject to PERCENTAGE                  Interest
                                                                                              Date    Interest Rate RATE (APR)                  Charge
                                          Purchases
                                           Current Purchases                                 10/15/15             $0.00             0.00%        $0.00
                                          Balance Transfers
                                           Current Balance Transfers/Checks                  10/15/15             $0.00             0.00%        $0.00
                                          Cash Advances
                                           Current Cash Advance                                  ---              $0.00          25.24% (v)      $0.00
                                          Total                                                                                                 $0.00
                                          Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                              EX. KKK - 106
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                           July 12, 2015
                                                               Exhibit HHH-KKK Page 235 of 297Minimum Payment Due                                                                $20.00
                                                                                                                                   Previous Balance                             $785.10
                                                                                                                                   Statement Balance                            $251.30


Customer News                                           Visa® Black Card Statement
                                                                                                                                                                               Page 1 of 4
                                                        Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
CELEBRATE AMERICA'S                                     Statement Billing Period: 05/16/15 - 06/15/15                                                            www.myblackcard.com
BIRTHDAY
                                                        Account Summary                                                        Activity Summary
Contact Black Card Concierge to
                                                        Minimum Payment Due                                    $20.00          Previous Balance                                  $785.10
plan the perfect Fourth of July
                                                        Payment Due Date                                     07/12/15           - Payments                                       $785.10
celebration. Find parades, fireworks
                                                        Statement End Date                                   06/15/15          + Purchases                                       $251.30
and more wherever you'll be this
                                                        Credit Line                                        $10,000.00           - Other Credits                                    $0.00
holiday.
                                                        Credit Available                                    $9,748.70          + Balance Transfers                                 $0.00
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
CAR RENTAL                                              Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
Black Card members can take                             Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
advantage of continuous savings                         Overlimit Amount                                        $0.00          Statement Balance                                 $251.30
with Alamo Rent A Car , Enterprise
Rent-A-Car and National Car
Rental , providing convenient and
stress-free car rentals around North                      Payment Information




                                                                                                                                                                                                    012556 1/4
America.                                                  Statement Balance                                                                                                   $251.30
                                                          Minimum Payment Due                                                                                                  $20.00
                                                          Payment Due Date                                                                                                  7/12/2015
AIRPORTS MADE EASY
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
Airport "Meet & Greet" allows
                                                          listed above, you may have to pay a late fee of up to $35.00.
cardmembers to save time, avoid
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
crowds and streamline your airport
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
experience by having a professional                       example:
representative meet and escort you
through the airport.
                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…

                                                               Only the minimum payment                            14 months                                   $262.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to www.myblackcard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    www.myblackcard.com                                          P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $20.00
  Statement Balance                                $251.30
  Payment Due Date                          July 12, 2015



                                                                                                                                                                         EX. KKK - 107
                                                                                                                          Page 2 of 4
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 236 of 297


                    Black Card Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                     +               251
                   Bonus Points                                                                                  +                 0
                   Points Redeemed This Period                                                                   +                 0
                   Adjustments                                                                                   -                 0
                   Total Points Earned                                                                           =            33,405


                    Activity for ROBIN C DIMAGGIO - card ending in 8241
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    05/27      05/28        PAYMENT RECEIVED-- THANK YOU                                                    -$400.00
                    06/02      06/02        Payment Received       CITIBANK FSB                                             -$385.10
                                                   Total Payment Activity                                                   -$785.10

                    Purchases
                    06/11         06/15            LE PARC          WEST HOLLYWOOCA                                         $110.38
                    06/12         06/15            THE WILTERN        LOS ANGELES CA                                         $54.00
                    06/12         06/15            THE WILTERN        LOS ANGELES CA                                         $24.00




                                                                                                                                        012556 2/4
                    06/12         06/15            ITALIA DELI & BAKE   AGOURA HILLS CA                                      $62.92
                                                   Total Purchase Activity                                                  $251.30



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                              10/15/15             $0.00             0.00%        $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks               10/15/15             $0.00             0.00%        $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 108
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08August
                                                                                                     Due Date
                                                                                                                     Desc12, 2015
                                                              Exhibit HHH-KKK Page 237 of 297Minimum Payment Due          $20.00
                                                                                                                                  Previous Balance                               $251.30
                                                                                                                                  Statement Balance                              $417.10


Customer News                                          Visa® Black Card Statement
                                                                                                                                                                              Page 1 of 4
                                                       Primary Account Number Ending in: 8241                                                             Questions? Call 1-800-790-7942
WIRELESS COMMUNICATION                                 Statement Billing Period: 06/16/15 - 07/15/15                                                            www.myblackcard.com
WORLDWIDE
                                                       Account Summary                                                        Activity Summary
Black Card members have access to
                                                       Minimum Payment Due                                    $20.00          Previous Balance                                  $251.30
secure and reliable connections
                                                       Payment Due Date                                     08/12/15           - Payments                                       $681.61
around the globe without high
                                                       Statement End Date                                   07/15/15          + Purchases                                       $847.41
roaming fees. Whether you need a
                                                       Credit Line                                        $10,000.00           - Other Credits                                    $0.00
global SIM card or an international
                                                       Credit Available                                    $9,582.90          + Balance Transfers                                 $0.00
phone, enjoy peace of mind while
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
abroad knowing you have access
                                                       Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
to unfailing communication.
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
Contact Black Card Concierge at
                                                       Overlimit Amount                                        $0.00          Statement Balance                                 $417.10
(800) 790-7909 or
concierge@blackcard.com to arrange
worldwide wireless before your next
trip.                                                    Payment Information




                                                                                                                                                                                                   012453 1/4
                                                         Statement Balance                                                                                                   $417.10
EXCLUSIVE EXPERIENCES                                    Minimum Payment Due                                                                                                  $20.00
Redeem points earned on your Black                       Payment Due Date                                                                                                  8/12/2015
Card for an exciting array of options                    Late Payment Warning: If we do not receive your minimum payment by the date
including a Porsche European                             listed above, you may have to pay a late fee of up to $35.00.
driving experience, New York                             Minimum Payment Warning: If you make only the minimum payment each period,
Fashion Week, Sonoma golf, spa and                       you will pay more in interest and it will take you longer to pay off your balance. For
wine tour, top professional sporting                     example:
events and more.
                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
$0 FRAUD LIABILITY                                              each month you pay…                      statement in about…                      an estimated total of…
Wherever you go, feel secure
                                                              Only the minimum payment                              2 years                                   $466.00
knowing you have complete
protection against unauthorized                          If you would like information about credit counseling services, please call 800-570-1403.
purchases that you report to us.
                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to www.myblackcard.com.




          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  1 11
                                                                Card Services
    www.myblackcard.com                                         P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $20.00
  Statement Balance                               $417.10
  Payment Due Date                     August 12, 2015



                                                                                                                                                                        EX. KKK - 109
                                                                                                                          Page 2 of 4
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 238 of 297


                    Black Card Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                     +               847
                   Bonus Points                                                                                  +                 0
                   Points Redeemed This Period                                                                   +                 0
                   Adjustments                                                                                   -                 0
                   Total Points Earned                                                                           =            34,252


                    Activity for ROBIN C DIMAGGIO - card ending in 8241
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    07/03      07/03        Payment Received       CITIBANK FSB                                             -$681.61
                                                   Total Payment Activity                                                   -$681.61

                    Purchases
                    06/20         06/22            ITALIA DELI & BAKE   AGOURA HILLS CA                                      $25.60
                    06/21         06/22            LEO AND LILY        WOODLAND HILLCA                                       $34.27
                    06/21         06/22            LEO AND LILY        WOODLAND HILLCA                                        $8.18
                    06/21         06/24            SALT CREEK RESTRAU    CALABASAS CA                                       $122.46




                                                                                                                                        012453 2/4
                    06/25         06/29            THE TANNING EDGE CALABASACALABASAS CA                                     $55.00
                    06/27         06/29            APOTHEKE           NEW YORK NY                                           $184.80
                    07/01         07/02            KEATS BAR AND RESTAURANT NEW YORK NY                                     $417.10
                                                   Total Purchase Activity                                                  $847.41



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                              10/15/15             $0.00             0.00%        $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks               10/15/15             $0.00             0.00%        $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 110
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                        Desc
                                                                                                                  September 12, 2015
                                                               Exhibit HHH-KKK Page 239 of 297Minimum Payment Due            $20.00
                                                                                                                                   Previous Balance                              $417.10
                                                                                                                                   Statement Balance                            $1,531.54


Customer News                                           Visa® Black Card Statement
                                                                                                                                                                               Page 1 of 5
                                                        Primary Account Number Ending in: 9818                                                             Questions? Call 1-800-790-7942
IMPORTANT ACCOUNT                                       Statement Billing Period: 07/16/15 - 08/15/15                                                                   myblackcard.com
INFORMATION
                                                        Account Summary                                                        Activity Summary
Your account balance reflects items
                                                        Minimum Payment Due                                    $20.00          Previous Balance                                  $417.10
in dispute. The amount in question
                                                        Payment Due Date                                     09/12/15           - Payments                                       $100.00
is not accruing an interest charge
                                                        Statement End Date                                   08/15/15          + Purchases                                     $1,942.86
and is not required to be paid until
                                                        Credit Line                                        $10,000.00           - Other Credits                                  $728.42
the dispute is resolved.
                                                        Credit Available                                    $8,468.46          + Balance Transfers                                 $0.00
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
GLOBAL ACCEPTANCE                                       Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
For your convenience, your Black                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
Card is accepted in over 170                            Overlimit Amount                                        $0.00          Statement Balance                               $1,531.54
countries worldwide.


TRIP DELAY REIMBURSEMENT
                                                          Payment Information




                                                                                                                                                                                                    026579 1/5
Allow Black Card to take the stress
                                                          Statement Balance                                                                                                 $1,531.54
out of travel delays. When a trip is
                                                          Minimum Payment Due                                                                                                  $20.00
delayed more than 12 hours due to
                                                          Payment Due Date                                                                                                  9/12/2015
a covered event, expenses incurred
as a result of the delay, such as                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $35.00.
meals and lodging, are reimbursed
up to $300 per ticket.                                    Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:
TRAVEL & EMERGENCY SERVICES
Rely on Black Card for assistance in                           If you make no additional                   You will pay off the
coordinating medical, legal and                               charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…
travel services while you are away
from home. Trust us to assist you                              Only the minimum payment                             10 years                                  $2,716.00
with medical and legal referrals,                                                                                                                            $1,872.00
emergency translation services,                                            $52.00                                    3 years
                                                                                                                                                        (Savings = $844.00)
prescription assistance and more.
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myblackcard.com.


           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myblackcard.com                                              P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $20.00
  Statement Balance                              $1,531.54
  Payment Due Date                 September 12, 2015



                                                                                                                                                                         EX. KKK - 111
                                                                                                              Page 2 of 5
Case 1:17-ap-01099-VK    Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                  Desc
                         Exhibit HHH-KKK Page 240 of 297


                    Black Card Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                        +              1,942
                   Bonus Points                                                                     +                  0
                   Points Redeemed This Period                                                      +             30,000
                   Adjustments                                                                      -                  0
                   Total Points Earned                                                              =              6,194


                    Activity for ROBIN C DIMAGGIO - card ending in 9818
                    Purchases
                    Trans Date Posting Date Transaction Description                                             Amount
                    04/29      08/13        THE ANZA            CALABASAS                                       -$728.42

                                              Total Purchase Activity                                           -$728.42

                    Activity for ROBIN C DIMAGGIO - card ending in 8241
                    Payments
                    08/10       08/10         Payment Received          CITIBANK FSB                            -$100.00




                                                                                                                            026579 2/5
                                              Total Payment Activity                                            -$100.00

                    Purchases
                    07/18     07/20           BRAND SHOP               MACAO                                     $645.78
                                              5,150.00 MOP @ 7.97485

                    07/19       07/21         THE VILLA        WOODLAND HILLCA                                   $247.43
                    08/04       08/05         FOUR SEASONS VALET    LOS ANGELES CA                                 $9.00
                    08/04       08/05         FOUR SEASONS VALET    LOS ANGELES CA                                 $9.00
                    08/04       08/05         FOUR SEASONS VALET    LOS ANGELES CA                                 $9.00
                    08/03       08/05         FOUR SEASONS L A FB  LOS ANGELES CA                                 $51.42
                    08/04       08/07         EXXONMOBIL 97611800 LOS ANGELES CA                                  $50.01
                    08/05       08/07         MAGASIN MUSIQUE STEVE MONTREAL QC                                   $96.54
                                              126.40 CAD @ 1.30930

                    08/05       08/10         PUB BURGUNDY LION            MONTREAL       QC                     $133.99
                                              174.84 CAD @ 1.30487

                    08/06       08/10         PANCHO'S RESTAURANT           MANHATTAN BEACA                      $203.37
                    08/06       08/10         AUBERGE SAINT GABRIEL         MONTREAL QC                           $92.52
                                              120.72 CAD @ 1.30479

                    08/08       08/10         THE LITTLE DOOR    LOS ANGELES CA                                  $141.18
                    08/07       08/10         BAJA SHARKEEZ - MANHATTANMANHATTAN BEACA                            $36.98
                    08/06       08/10         BAJA SHARKEEZ - MANHATTANMANHATTAN BEACA                            $44.25
                    08/10       08/11         CVS/PHARMACY #09751   AGOURA     CA                                $122.38
                    08/10       08/11         CVS/PHARMACY #09751   AGOURA     CA                                 $50.01
                                              Total Purchase Activity                                          $1,942.86



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Fees for this Period                                           $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Interest for this Period                                       $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                    Total Interest charged in 2015              $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                          EX. KKK - 112
                                                                                                                          Page 3 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                              10/15/15             $0.00             0.00%        $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks               10/15/15             $0.00             0.00%        $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        026579 3/5




                                                                                                                        EX. KKK - 113
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08October
                                                                                                     Due Date
                                                                                                                      Desc12, 2015
                                                              Exhibit HHH-KKK Page 242 of 297Minimum Payment Due           $20.00
                                                                                                                                  Previous Balance                             $1,531.54
                                                                                                                                  Statement Balance                            $1,031.54


Customer News                                          Visa® Black Card Statement
                                                                                                                                                                              Page 1 of 4
                                                       Primary Account Number Ending in: 9818                                                             Questions? Call 1-800-790-7942
UNLIMITED CASH BACK                                    Statement Billing Period: 08/16/15 - 09/15/15                                                                   myblackcard.com
Purchase anything with your Black
                                                       Account Summary                                                        Activity Summary
Card and redeem points for cash
                                                       Minimum Payment Due                                    $20.00          Previous Balance                                $1,531.54
back as a statement credit. For
                                                       Payment Due Date                                     10/12/15           - Payments                                       $500.00
example, after you earn 15,000
                                                       Statement End Date                                   09/15/15          + Purchases                                         $0.00
points, you can redeem for a $150
                                                       Credit Line                                        $10,000.00           - Other Credits                                    $0.00
statement credit. There is no
                                                       Credit Available                                    $8,968.46          + Balance Transfers                                 $0.00
minimum redemption requirement
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
and no limit on the number of
                                                       Cash Credit Available                               $4,000.00          + Fees Charged                                      $0.00
points you may redeem.
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                       Overlimit Amount                                        $0.00          Statement Balance                               $1,031.54
SPECIALTY SERVICES
Looking for rare books and records
or unusual household items? Black
Card Concierge provides assistance                       Payment Information




                                                                                                                                                                                                   012250 1/4
with location and purchase of                            Statement Balance                                                                                                $1,031.54
specialty items and referrals.                           Minimum Payment Due                                                                                                 $20.00
                                                         Payment Due Date                                                                                                10/12/2015
INTERNATIONAL VIP AIRPORT                                Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $38.00.
LOUNGE CLUB™
Cardmembers receive                                      Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
complimentary access to more than
                                                         example:
375 participating domestic and
international lounges in 200 cities
                                                              If you make no additional                   You will pay off the
worldwide. Separate enrollment is                                                                                                                And you will end up paying
                                                             charges using this card and                 balance shown on this
required. Sign up at                                            each month you pay…                      statement in about…                      an estimated total of…
myblackcard.com or contact Black
                                                              Only the minimum payment                              7 years                                  $1,603.00
Card Concierge at (800) 790-7909.
                                                                                                                                                            $1,296.00
                                                                          $36.00                                    3 years
                                                                                                                                                       (Savings = $307.00)
                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to myblackcard.com.


          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  1 11
                                                                Card Services
    myblackcard.com                                             P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $20.00
  Statement Balance                             $1,031.54
  Payment Due Date                    October 12, 2015



                                                                                                                                                                        EX. KKK - 114
                                                                                                                          Page 2 of 4
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 243 of 297


                    Black Card Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                     +                 0
                   Bonus Points                                                                                  +                 0
                   Points Redeemed This Period                                                                   +                 0
                   Adjustments                                                                                   -                 0
                   Total Points Earned                                                                           =             6,194


                    Activity for ROBIN C DIMAGGIO - card ending in 9818
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    09/12      09/14        Payment Received       CITIBANK FSB                                             -$500.00
                                                   Total Payment Activity                                                   -$500.00



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount




                                                                                                                                        012250 2/4
                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $0.00                             Total Interest charged in 2015                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                              10/15/15           $1,031.54           0.00%        $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks               10/15/15             $0.00             0.00%        $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 115
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                      Desc
                                                                                                                 November 12, 2015
                                                              Exhibit HHH-KKK Page 244 of 297Minimum Payment Due           $41.06
                                                                                                                                  Previous Balance                             $1,031.54
                                                                                                                                  Statement Balance                            $4,106.86


Customer News                                          MasterCard® Black Card Statement
                                                       Issued by Barclaycard                                                                                                  Page 1 of 6
                                                       Primary Account Number Ending in: 1379                                                               Questions? Call 844-724-2600
$100 ANNUAL AIRLINE CREDIT                             Statement Billing Period: 09/16/15 - 10/15/15                                                                  myluxurycard.com
You will automatically receive a
                                                       Account Summary                                                        Activity Summary
$100 annual Airline statement credit
                                                       Minimum Payment Due                                    $41.06          Previous Balance                                $1,031.54
on your account when you make an
                                                       Payment Due Date                                     11/12/15           - Payments                                     $1,431.15
eligible airline purchase. The credit
                                                       Statement End Date                                   10/15/15          + Purchases                                     $4,506.47
will be applied to purchases such as
                                                       Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
airfare, baggage fees, lounge access,
                                                       Available Revolving Line                            $5,893.14          + Balance Transfers                                 $0.00
and some in-flight purchases.
                                                       Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
                                                       Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
$100 GLOBAL ENTRY                                      Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
APPLICATION FEE CREDIT                                 Overlimit Amount                                        $0.00          Statement Balance                               $4,106.86
Global Entry is a US Customs and
Border Protection program that
allows expedited and more efficient
                                                         Payment Information
security clearance through US




                                                                                                                                                                                                   012125 1/6
                                                         Statement Balance                                                                                                $4,106.86
Customs. MasterCard Black Card
                                                         Minimum Payment Due                                                                                                 $41.06
members will receive a one hundred
                                                         Payment Due Date                                                                                                11/12/2015
dollar ($100) statement credit upon
submission of the application, which                     Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $38.00.
has a one hundred dollar ($100) fee.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                             16 years                                  $8,361.00
                                                                                                                                                            $5,112.00
                                                                         $142.00                                    3 years
                                                                                                                                                      (Savings = $3,249.00)
                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to myluxurycard.com.



          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  1 11
                                                                Card Services
    myluxurycard.com                                            P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $41.06
  Statement Balance                             $4,106.86
  Payment Due Date                 November 12, 2015



                                                                                                                                                                        EX. KKK - 116
                                                                                                                                   Page 2 of 6
           Case 1:17-ap-01099-VK             Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                   Desc
                                             Exhibit HHH-KKK Page 245 of 297


                                         Rewards Summary
SECURE CHIP TECHNOLOGY
Your MasterCard Black Card now          Black Card Reward Points
comes with chip-card technology,        Points Earned This Period                                                                      10,701
                                        Bonus Points                                                                     +                  0
giving you a more secure,
                                        Points Redeemed This Period                                                      -                  0
convenient way to make purchases        Adjustments                                                                      -                  0
in the United States and abroad. The    Total Points Earned                                                              =             10,701
chip card stores your account
information on a tiny microchip
embedded in the card. When you           Activity for ROBIN C DIMAGGIO - card ending in 1379
make purchases at chip-card
                                         Payments
terminals, the chip uses encryption      Trans Date Posting Date Transaction Description                                             Amount
technology to protect your account       10/03      10/05        Payment Received       CITIBANK FSB                               -$1,431.15
information, reduce the risk of fraud
                                                                   Total Payment Activity                                          -$1,431.15
and make your card difficult to
counterfeit.
                                         Activity for ROBIN C DIMAGGIO - card ending in 9818
                                         Purchases
                                         09/29       09/30         NYC TAXI 6P76       PHILADELPHIA PA                                 $15.35




                                                                                                                                                 012125 2/6
                                         09/28       09/30         L'ARTUSI          NEW YORK NY                                      $362.68
                                         09/28       10/01         THE GROVE-CHICAGO       CHICAGO    IL                               $21.58
                                         09/30       10/02         W NY OASIS WHISKEY BLUE NEW YORK NY                                $173.72
                                         09/30       10/02         WINK RETAIL GROUP - W NEW YORK NY                                  $108.88
                                         10/01       10/02         ITALIA DELI & BAKE   AGOURA HILLS CA                                $52.43
                                         09/30       10/05         INMOTION / AIRPORT ORD CHICAGO        IL                           $327.74
                                         10/01       10/05         FARFALLA - WESTLAKE     WESTLAKE VILLCA                            $142.71
                                         10/02       10/05         041790 MALIBU CANYO      CALABASAS CA                              $750.00
                                         10/01       10/05         LHC             THOUSAND OAKSCA                                     $18.74
                                         10/02       10/06         UNIVERSAL WEB 40000010 888-3404840 CA                              $479.97
                                         10/14       10/14         AGI*LIABILITYINSURANCE 800-370-1990 FL                             $113.00
                                         10/13       10/14         041790 MALIBU CANYO      CALABASAS CA                            $1,463.47
                                         10/13       10/15         USAIRWAYS 0372418411475800-428-4322 AZ                             $476.20
                                                                   BAIRSTOW/CASEYWILLIA 10/14/2015 PHX BUR PHX
                                                                   Agency: #0372418411475

                                                                   Total Purchase Activity                                          $4,506.47



                                         Summary of Fees and Interest
                                         Fees Charged
                                         Trans Date Posting Date Transaction Description                                             Amount

                                                                   Total Fees for this Period                                           $0.00
                                         Interest Charged
                                         Trans Date Posting Date Transaction Description                                             Amount

                                                                   Total Interest for this Period                                       $0.00


                                         Year-to-Date Summary of Fees and Interest Charged*
                                        Total Fees charged in 2015 $0.00                     Total Interest charged in 2015              $0.00
                                        *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                        dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                        been made.

                                        Interest Charge Calculation - 30 Days in Billing Cycle

                                                                                    Promotional Balance       ANNUAL
                                                                                     Rate End    Subject to PERCENTAGE            Interest
                                                                                       Date    Interest Rate RATE (APR)            Charge
                                         Purchases
                                          Current Purchases                           10/15/15           $0.00         0.00%        $0.00




                                                                                                                               EX. KKK - 117
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Interest Charge Calculation - 30 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Balance Transfers
                        Current Balance Transfers/Checks               10/15/15             $0.00             0.00%        $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        012125 3/6




                                                                                                                        EX. KKK - 118
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                       Desc
                                                                                                                  December 12, 2015
                                                               Exhibit HHH-KKK Page 247 of 297Minimum Payment Due           $27.00
                                                                                                                                   Previous Balance                             $4,106.86
                                                                                                                                   Statement Balance                               $65.16


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 1379                                                               Questions? Call 844-724-2600
1.5% VALUE FOR CASH BACK                                Statement Billing Period: 10/16/15 - 11/15/15                                                                  myluxurycard.com
Points are worth 1.5% when
                                                        Account Summary                                                        Activity Summary
redeemed for cash back as a
                                                        Minimum Payment Due                                    $27.00          Previous Balance                                $4,106.86
statement credit.
                                                        Payment Due Date                                     12/12/15           - Payments                                     $5,833.11
                                                        Statement End Date                                   11/15/15          + Purchases                                     $1,396.41
PURCHASE SECURITY                                       Revolving Line                                     $10,000.00           - Other Credits                                  $100.00
NOW AVAILABLE                                           Available Revolving Line                            $9,934.84          + Balance Transfers                                 $0.00
Within the first ninety (90) days of                    Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
purchase, Purchase Security will                        Available Cash Line                                 $4,000.00          + Fees Charged                                    $495.00
replace, repair or reimburse you for                    Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
eligible items of personal property                     Overlimit Amount                                        $0.00          Statement Balance                                  $65.16
in the event of theft or other
damages. Items must be purchased
with your MasterCard Black Card.
                                                          Payment Information




                                                                                                                                                                                                    011998 1/6
                                                          Statement Balance                                                                                                   $65.16
NO FOREIGN TRANSACTION FEES                               Minimum Payment Due                                                                                                 $27.00
Enjoy greater freedom with no                             Payment Due Date                                                                                                12/12/2015
foreign transaction fees on                               Late Payment Warning: If we do not receive your minimum payment by the date
purchases made using your                                 listed above, you may have to pay a late fee of up to $38.00.
MasterCard Black Card while                               Minimum Payment Warning: If you make only the minimum payment each period,
traveling abroad.                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:

                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…

                                                               Only the minimum payment                             3 months                                    $66.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $27.00
  Statement Balance                                  $65.16
  Payment Due Date                  December 12, 2015



                                                                                                                                                                         EX. KKK - 119
                                                                                             Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                  Desc
                        Exhibit HHH-KKK Page 248 of 297


                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                      1,398
                   Bonus Points                                                        +              0
                   Points Redeemed This Period                                         -              0
                   Adjustments                                                         -              0
                   Total Points Earned                                                 =         12,099


                    Activity for ROBIN C DIMAGGIO - card ending in 1379
                    Payments
                    Trans Date Posting Date Transaction Description                            Amount
                    11/05      11/05        Payment Received       CITIBANK FSB              -$5,833.11
                                            Total Payment Activity                           -$5,833.11

                    Purchases
                    10/16     10/16         Travel fee benefit credit                          -$100.00

                                            Total Purchase Activity                            -$100.00

                    Activity for ROBIN C DIMAGGIO - card ending in 9818




                                                                                                           011998 2/6
                    Purchases
                    10/19       10/20       OLIO E LIMONE RESTORANTEWLV         CA             $104.64
                    10/20       10/21       STARBUCKS #05858 CALABASACalabasas CA               $19.80
                    10/20       10/21       THE UPS STORE 1093     CALABASAS CA                 $30.94
                    10/20       10/21       ALBERTSONS #6335       CALABASAS CA                 $36.65
                    10/21       10/22       THE LIQUOR CHEST      AGOURA HILLS CA               $27.78
                    10/21       10/22       THE MELTING POT       WESTLAKE VILLCA              $360.26
                    10/21       10/22       CVS/PHARMACY #09751      AGOURA     CA             $121.15
                    10/21       10/22       MCDONALD'S F30233       WEST HILLS CA                $4.77
                    10/21       10/22       ITALIA DELI & BAKE    AGOURA HILLS CA               $79.38
                    10/21       10/23       POSTAL ANNEX #170       AGOURA HILLS CA             $16.78
                    10/21       10/23       POSTAL ANNEX #170       AGOURA HILLS CA             $13.95
                    10/20       10/23       MEDITERRANEAN PITA GRILL 818-8710167 CA             $22.86
                    10/21       10/23       IN *INTERSTATE VAPE INC 323-2475524 CA              $76.96
                    10/23       10/26       USA GASOLINE #68224     THOUSAND OAKSCA              $4.83
                    10/23       10/26       USA GASOLINE #68224     THOUSAND OAKSCA             $46.00
                    10/23       10/26       CVS/PHARMACY #09751      AGOURA     CA              $31.77
                    10/23       10/26       ALBERTSONS #6335       CALABASAS CA                  $6.07
                    10/23       10/26       JACK IN THE BOX #3191 CALABASAS CA                   $7.62
                    10/24       10/26       STARBUCKS #10801 BURBANK Burbank      CA            $31.95
                    10/24       10/26       STARBUCKS #10801 BURBANK Burbank      CA             $4.25
                    10/25       10/26       TWC*TIME WARNER CABLE 888-TWCABLE CA                $52.99
                    10/24       10/26       SHELL OIL 12427509000 NORTH HOLLYWOCA               $27.77
                    10/24       10/26       VINELAND CAR WASH        NORTH HOLLYWOCA            $36.98
                    10/23       10/26       MEDITERRANEAN PITA GRILL 818-8710167 CA             $13.06
                    10/23       10/26       CAFE OLE          CALABASAS CA                      $11.95
                    10/23       10/26       SANTA FE CAFE       CALABASAS CA                     $7.90
                    10/25       10/27       JOE'S AUTO PARKS 640 S LOS ANGELES CA               $10.00
                    10/25       10/27       HILLTOP PARKING USH TOUR UNIVERSAL CITCA            $25.00
                    10/27       10/28       DIY HOME CENTER #13 AG AGOURA        CA             $75.18
                    10/27       10/29       SANTA FE CAFE       CALABASAS CA                    $22.01
                    11/03       11/05       HUDSON HOTEL          NEW YORK NY                   $65.16
                                            11/01/15

                                            Total Purchase Activity                           $1,396.41



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                            Amount
                    10/30       10/30       ANNUAL FEE                                         $495.00
                                            Total Fees for this Period                         $495.00




                                                                                           EX. KKK - 120
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Summary of Fees and Interest (continued)

                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2015 $495.00                           Total Interest charged in 2015                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases




                                                                                                                                        011998 3/6
                        Current Purchases                                  ---              $0.00          14.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 121
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08January
                                                                                                      Due Date
                                                                                                                      Desc 12, 2016
                                                               Exhibit HHH-KKK Page 250 of 297Minimum Payment Due             None
                                                                                                                                   Previous Balance                                $65.16
                                                                                                                                   Statement Balance                                $0.00


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 1379                                                               Questions? Call 844-724-2600
A NEW YEAR’SEVE TO                                      Statement Billing Period: 11/16/15 - 12/15/15                                                                  myluxurycard.com
REMEMBER
                                                        Account Summary                                                        Activity Summary
Let Luxury Card Concierge assist you
                                                        Minimum Payment Due                                     $0.00          Previous Balance                                   $65.16
in planning the perfect New Year's
                                                        Payment Due Date                                     01/12/16           - Payments                                       $527.73
Eve. Bring in the New Year with the
                                                        Statement End Date                                   12/15/15          + Purchases                                       $295.35
celebration you've always wanted -
                                                        Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
book exclusive dining reservations,
                                                        Available Revolving Line                           $10,000.00          + Balance Transfers                                 $0.00
schedule a quick getaway or gain
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
access to a high-end event.
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                    $167.22
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
ENJOY THE LATEST                                        Overlimit Amount                                        $0.00          Statement Balance                                   $0.00

Our Winter 2015 is all about
Romance . From once-in-a-lifetime                         Payment Information
excursions and cozy weekend




                                                                                                                                                                                                    011909 1/6
                                                          Statement Balance                                                                                                     $0.00
escapes to unique jewelry designers                       Minimum Payment Due                                                                                                   None
crafting with exquisite gemstones                         Payment Due Date                                                                                                  1/12/2016
from across the globe, this issue
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
explores the world over for our most                      listed above, you may have to pay a late fee of up to $38.00.
fantasy-driven issue yet. Nearly
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
every feature in this issue offers the
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
opportunity to discover new regions                       example:
near and far. Featured on the cover
is the work of artist Hiroshi
                                                               If you make no additional                   You will pay off the
Sugimoto, who invites us into his                             charges using this card and                 balance shown on this                   And you will end up paying
New York studio for a private                                    each month you pay…                      statement in about…                      an estimated total of…
discussion on where he's been and
                                                               Only the minimum payment                             0 months                                     $0.00
what's ahead.
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                 None
  Statement Balance                                   $0.00
  Payment Due Date                     January 12, 2016



                                                                                                                                                                         EX. KKK - 122
                                                                                                                                     Page 2 of 6
           Case 1:17-ap-01099-VK             Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                     Desc
                                             Exhibit HHH-KKK Page 251 of 297


                                         Rewards Summary
$0 FRAUD LIABILITY
As the spending season is upon us,      Black Card Reward Points
shop confidently knowing that you       Points Earned This Period                                                                           296
                                        Bonus Points                                                                      +                   0
pay only for purchases you have
                                        Points Redeemed This Period                                                       -              10,000
authorized on your MasterCard           Adjustments                                                                       -                   0
Black Card - whether you pay in a       Total Points Earned                                                               =               2,395
store, over the phone or online. As a
Cardmember, you are not
responsible in the event someone         Activity for ROBIN C DIMAGGIO - card ending in 1379
makes unauthorized purchases with
                                         Payments
your card.                               Trans Date Posting Date Transaction Description                                               Amount
                                         11/21      11/23        Payment Received       CITIBANK FSB                                    -$65.16
                                         12/08      12/08        Payment Received       CITIBANK FSB                                   -$462.57

                                                                   Total Payment Activity                                              -$527.73

                                         Activity for ROBIN C DIMAGGIO - card ending in 9818
                                         Purchases




                                                                                                                                                   011909 2/6
                                         11/23     11/24           ENTERPRISERENT-A-CAR           THOUSAND OAKSCA                      $167.96
                                                                   11/24/15

                                                                   Total Purchase Activity                                             $167.96

                                         Activity for MARTY N RICH - card ending in 1858
                                         Purchases
                                         12/02       12/02         NETFLIX.COM        NETFLIX.COM CA                                     $11.99
                                         12/02       12/03         ALBERTSONS #6335      CALABASAS CA                                    $16.96
                                         12/05       12/07         DOMINO'S 8405        818-991-5971 CA                                  $24.82
                                         12/04       12/07         ALBERTSONS #6335      CALABASAS CA                                    $14.16
                                         12/04       12/07         POQUITO MAS      QPS WOODLAND HILLCA                                  $11.50
                                         12/04       12/07         IN *INTERSTATE VAPE IN 323-2475524 CA                                 $47.96
                                                                   Total Purchase Activity                                             $127.39



                                         Summary of Fees and Interest
                                         Fees Charged
                                         Trans Date Posting Date Transaction Description                                               Amount
                                         11/24       11/24         AUTH USER ANNUAL FEE                                                $167.22
                                                                   Total Fees for this Period                                          $167.22
                                         Interest Charged
                                         Trans Date Posting Date Transaction Description                                               Amount

                                                                   Total Interest for this Period                                         $0.00


                                         Year-to-Date Summary of Fees and Interest Charged*
                                        Total Fees charged in 2015 $662.22                    Total Interest charged in 2015              $0.00
                                        *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                        dates in 2015. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                        been made.

                                        Interest Charge Calculation - 30 Days in Billing Cycle

                                                                                   Promotional Balance       ANNUAL
                                                                                    Rate End    Subject to PERCENTAGE               Interest
                                                                                      Date    Interest Rate RATE (APR)               Charge
                                         Purchases
                                          Current Purchases                             ---              $0.00        14.99% (v)      $0.00




                                                                                                                                   EX. KKK - 123
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 252 of 297


                    Interest Charge Calculation - 30 Days in Billing Cycle (continued)

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          14.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        011909 3/6




                                                                                                                        EX. KKK - 124
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                      Desc
                                                                                                                  February 12, 2016
                                                               Exhibit HHH-KKK Page 253 of 297Minimum Payment Due           $11.99
                                                                                                                                   Previous Balance                                 $0.00
                                                                                                                                   Statement Balance                               $11.99


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 5
                                                        Primary Account Number Ending in: 1379                                                               Questions? Call 844-724-2600
VARIABLE APR INFORMATION                                Statement Billing Period: 12/16/15 - 01/15/16                                                                  myluxurycard.com
As a result of the recent increase in
                                                        Account Summary                                                        Activity Summary
the Prime Rate, variable annual
                                                        Minimum Payment Due                                    $11.99          Previous Balance                                     $0.00
percentage rates (APRs) have risen
                                                        Payment Due Date                                     02/12/16           - Payments                                          $0.00
accordingly. Your APRs are displayed
                                                        Statement End Date                                   01/15/16          + Purchases                                         $11.99
on this billing statement in the
                                                        Revolving Line                                     $10,000.00           - Other Credits                                     $0.00
section titled “Interest Charge
                                                        Available Revolving Line                            $9,988.01          + Balance Transfers                                  $0.00
Calculation”. If you have a variable
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                      $0.00
rate, indicated by a (v), a change in
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                       $0.00
the Prime Rate could affect your
                                                        Past Due Amount                                         $0.00          + Interest Charged                                   $0.00
minimum payment due. This is
                                                        Overlimit Amount                                        $0.00          Statement Balance                                   $11.99
because your APR is used to
calculate the interest charge, which
is included in your minimum
payment due.                                              Payment Information




                                                                                                                                                                                                    025409 1/5
                                                          Statement Balance                                                                                                    $11.99
                                                          Minimum Payment Due                                                                                                  $11.99
                                                          Payment Due Date                                                                                                  2/12/2016
SUPER BOWL 50
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
Attend football's biggest game of
                                                          listed above, you may have to pay a late fee of up to $37.00.
the year. Whether you're a
seasoned Super Bowl attendee or
have always wanted to experience                         Rewards Summary
this event, make the trip to the San                    Black Card Reward Points
Francisco Bay Area this year for                        Points Earned This Period                                                                                                       12
Super Bowl 50. Contact Luxury Card                      Bonus Points                                                                                          +                          0
Concierge at 844.724.2500 to                            Points Redeemed This Period                                                                           -                          0
                                                        Adjustments                                                                                           -                          0
pregame your plans.
                                                        Total Points Earned                                                                                   =                      2,407

VALENTINE’SDAY FLOWERS
                                                          Activity for ROBIN C DIMAGGIO - card ending in 1379
Don’t forget about that special
someone this February. Contact                                                                     No Transaction Activity At This Time
Luxury Card Concierge at
844.724.2500 to send flowers or a
gift to your loved ones.

           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $11.99
  Statement Balance                                  $11.99
  Payment Due Date                    February 12, 2016



                                                                                                                                                                         EX. KKK - 125
                                                                                                                                               Page 2 of 5
           Case 1:17-ap-01099-VK              Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                              Exhibit HHH-KKK Page 254 of 297



PURCHASE SECURITY                        Activity for MARTY N RICH - card ending in 1858
Purchase Security can replace, repair    Purchases
or reimburse you for eligible items      Trans Date Posting Date Transaction Description                                                         Amount
purchased entirely with your card in     01/01      01/04        NETFLIX.COM           NETFLIX.COM CA                                             $11.99
the event of theft or damage within                                     Total Purchase Activity                                                    $11.99
ninety (90) days of purchase.
Additional terms and conditions
apply. Items must be purchased with      Summary of Fees and Interest
your MasterCard Black Card .             Fees Charged
                                         Trans Date Posting Date Transaction Description                                                         Amount

                                                                        Total Fees for this Period                                                  $0.00
                                         Interest Charged
                                         Trans Date Posting Date Transaction Description                                                         Amount

                                                                        Total Interest for this Period                                              $0.00


                                         Year-to-Date Summary of Fees and Interest Charged*




                                                                                                                                                             025409 2/5
                                        Total Fees charged in 2016 $0.00                              Total Interest charged in 2016                $0.00
                                        *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                        dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                        been made.

                                        Interest Charge Calculation - 31 Days in Billing Cycle

                                                                                          Promotional Balance       ANNUAL
                                                                                           Rate End    Subject to PERCENTAGE                  Interest
                                                                                             Date    Interest Rate RATE (APR)                  Charge
                                         Purchases
                                          Current Purchases                                     ---              $0.00          15.24% (v)      $0.00
                                         Balance Transfers
                                          Current Balance Transfers/Checks                      ---              $0.00          15.24% (v)      $0.00
                                         Cash Advances
                                          Current Cash Advance                                  ---              $0.00          25.49% (v)      $0.00
                                         Total                                                                                                 $0.00
                                         Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                             EX. KKK - 126
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                        March 12, 2016
                                                               Exhibit HHH-KKK Page 255 of 297Minimum Payment Due                                                               $27.00
                                                                                                                                   Previous Balance                             $11.99
                                                                                                                                   Statement Balance                         $1,947.36


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 7
                                                        Primary Account Number Ending in: 1379                                                               Questions? Call 844-724-2600
YOUR 2015 ANNUAL SUMMARY                                Statement Billing Period: 01/16/16 - 02/15/16                                                                  myluxurycard.com
IS HERE!
                                                        Account Summary                                                        Activity Summary
It’s a handy breakdown of all your
                                                        Minimum Payment Due                                    $27.00          Previous Balance                                   $11.99
card transactions during the past
                                                        Payment Due Date                                     03/12/16           - Payments                                     $5,117.27
year. You can view, download and
                                                        Statement End Date                                   02/15/16          + Purchases                                     $7,052.64
print it at myluxurycard.com. See
                                                        Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
itemized purchases and payments -
                                                        Available Revolving Line                            $8,052.64          + Balance Transfers                                 $0.00
listed by category, organized by
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
month. Make
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
tax-time easier - get details of
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
your transactions, including
                                                        Overlimit Amount                                        $0.00          Statement Balance                               $1,947.36
those made by authorized users .


NO FOREIGN TRANSACTION FEES                               Payment Information




                                                                                                                                                                                                    011723 1/7
Enjoy greater freedom with no                             Statement Balance                                                                                                 $1,947.36
foreign transaction fees on                               Minimum Payment Due                                                                                                  $27.00
purchases made while traveling                            Payment Due Date                                                                                                  3/12/2016
abroad.                                                   Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
PURCHASE SECURITY                                         Minimum Payment Warning: If you make only the minimum payment each period,
Purchase Security can replace, repair                     you will pay more in interest and it will take you longer to pay off your balance. For
or reimburse you for eligible items                       example:
purchased entirely with your card in
the event of theft or damage within                            If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
ninety (90) days of purchase.                                                                                                                      an estimated total of…
                                                                 each month you pay…                      statement in about…
Additional terms and conditions
apply. Items must be purchased with                            Only the minimum payment                             10 years                                  $3,495.00

your MasterCard Black Card .                                                                                                                                 $2,448.00
                                                                           $68.00                                    3 years
                                                                                                                                                       (Savings = $1,047.00)
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.



           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $27.00
  Statement Balance                              $1,947.36
  Payment Due Date                       March 12, 2016



                                                                                                                                                                         EX. KKK - 127
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                                       Rewards Summary
PRICE PROTECTION
Achieve the best possible price on     Black Card Reward Points
products you buy with your Luxury      Points Earned This Period                                                        7,050
                                       Bonus Points                                                          +              0
Card. Should you find a lower price
                                       Points Redeemed This Period                                           -              0
for an eligible new item within one    Adjustments                                                           -              0
hundred twenty (120) days from the     Total Points Earned                                                   =          9,457
original date of purchase using your
Luxury Card, you may be reimbursed
for the price difference.              Activity for ROBIN C DIMAGGIO - card ending in 1379
                                       Payments
VALENTINE’SDAY FLOWERS                 Trans Date Posting Date Transaction Description                               Amount
Don’t forget about that special        02/05      02/05        Payment Received       CITIBANK FSB                 -$5,117.27
someone this February. Contact                                  Total Payment Activity                             -$5,117.27
Luxury Card Concierge at               Purchases
844.724.2500 to send flowers or a      01/22     01/25          HILTON HOTELS            ANAHEIM   CA                  $22.00
                                                                01/22/16 TO 01/22/16
gift to your loved ones.
                                       01/21       01/25        HILTON MIX LOUNGE        ANAHEIM    CA                $30.00
                                       01/21       01/25        HILTON MIX LOUNGE        ANAHEIM    CA                $64.00




                                                                                                                                 011723 2/7
RETURN PROTECTION                      01/21       01/25        M3 LIVE RESTAURANT       ANAHEIM    CA                $25.00
If you are not satisfied with a        01/21       01/25        M3 LIVE RESTAURANT       ANAHEIM    CA                $46.00
                                       01/21       01/25        M3 LIVE RESTAURANT       ANAHEIM    CA                $26.00
purchase and the retailer will not
                                       01/21       01/25        M3 LIVE RESTAURANT       ANAHEIM    CA                $58.00
allow it to be returned, Return
                                       01/21       01/25        M3 LIVE RESTAURANT       ANAHEIM    CA                $88.00
Protection provides coverage that      01/23       01/25        STARBUCKS #11603 WOODL Woodland HillCA                 $6.15
will reimburse you for the cost of     01/23       01/25        STARBUCKS #11603 WOODL Woodland HillCA                 $4.75
an eligible item within ninety (90)    01/23       01/25        RITE AID STORE - 5539 AGOURA HILLS CA                 $45.94
days of the date of purchase, up       01/23       01/25        CVS/PHARMACY #09751       AGOURA     CA              $321.28
to five hundred dollars ($500) per     01/23       01/25        TOPANGA HOMEGROWN, LLC TOPANGA          CA             $5.45
                                       01/23       01/25        FRANKLINS HARDWARE        WOODLAND HILLCA             $55.07
item at an annual maximum of
                                       01/23       01/25        BOAR DOUGH TASTING ROO AGOURA HILLS CA               $198.05
one thousand dollars per account.
                                       01/23       01/25        AGOURA HILLS STADIUM 8 AGOURA HILLS CA                $37.75
Item(s) must be purchased with your    01/23       01/25        AGOURA HILLS STADIUM 8 AGOURA HILLS CA                $13.42
eligible Luxury Card.                  01/24       01/25        EXER MORE THAN URGENT CALABASAS CA                   $150.00
                                       01/24       01/25        EXER MORE THAN URGENT CALABASAS CA                   $295.00
                                       01/23       01/25        BOUBOULINA           TOPANGA     CA                   $78.48
                                       01/23       01/26        USA 63221          WOODLAND HILLCA                    $26.00
                                       01/25       01/26        STARBUCKS #05759 WEST West Hills CA                   $32.45
                                       01/24       01/26        EXXONMOBIL 97644736 WOODLAND HILLCA                   $53.02
                                       01/25       01/26        ITALIA DELI & BAKE    AGOURA HILLS CA                 $92.99
                                       01/25       01/26        U RELAX INC         WESTLAKE VILLCA                   $60.00
                                       01/25       01/26        INSTRUMENTAL MUSIC (TH THOUSAND OAKSCA                $63.96
                                       01/25       01/27        EREWHON NATURAL FOODS CALABASAS CA                    $15.40
                                       01/26       01/27        AL MULINO EATALIAN BAK THOUSAND OAKSCA               $119.97
                                       01/26       01/27        DELKIND INC         AGOURA HILLS CA                  $104.13
                                       01/26       01/27        COFFEE BEAN STORE       THOUSAND OAKSCA               $10.76
                                       01/26       01/27        CVS/PHARMACY #09751       AGOURA     CA                $9.25
                                       01/26       01/27        ALBERTSONS #6335       CALABASAS CA                   $57.69
                                       01/26       01/27        COFFEE BEAN STORE       WOODLAND HILLCA               $12.85
                                       01/26       01/27        COFFEE BEAN STORE       WOODLAND HILLCA               $11.67
                                       01/26       01/27        GREEN BASIL THAI RESTA CALABASAS CA                   $32.25
                                       01/26       01/28        USC UNV HOSP 25094038 LOS ANGELES CA                  $14.67
                                       01/27       01/28        STARBUCKS #05858 CALAB Calabasas CA                    $3.45
                                       01/27       01/28        STARBUCKS #05858 CALAB Calabasas CA                    $5.30
                                       01/27       01/29        SCHROEDER AND SCHROEDE AGOURA HILLS CA                $45.00
                                       01/27       01/29        SHELL OIL 57444585103 AGOURA       CA                 $16.00
                                       01/28       01/29        LAL MIRCH           AGOURA HILLS CA                   $23.98
                                       01/28       02/01        THE LIQUOR CHEST       AGOURA HILLS CA                $22.26
                                       01/29       02/01        STARBUCKS #00635 AGOUR Agoura        CA                $8.80
                                       01/29       02/01        STARBUCKS #00635 AGOUR Agoura        CA                $2.55
                                       01/28       02/01        AL MULINO EATALIAN BAK THOUSAND OAKSCA               $161.51
                                       01/28       02/01        CALABASAS MARKET & LIQ CALABASAS CA                   $25.42
                                       01/29       02/01        AGOURA HILLS ALLIANC AGOURA HILLS CA                  $40.01
                                       01/29       02/01        PF CHANGS #9912       SHERMAN OAKS CA                $126.01




                                                                                                                 EX. KKK - 128
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                    Activity for ROBIN C DIMAGGIO - card ending in 1379 (continued)
                    Purchases
                    02/01        02/02          DANA DRUGS INC        BURBANK     CA                $59.79
                    02/01        02/02          CVS/PHARMACY #09751      AGOURA      CA             $33.54
                    02/01        02/02          JOHN VARVATOS MALIBU      MALIBU     CA          $1,230.17
                    02/01        02/03          TOGO'S BURBANK        BURBANK     CA                $23.05
                    02/01        02/03          SHELL OIL 57444585103 AGOURA       CA               $20.99
                    02/01        02/03          SHELL OIL 57444585103 AGOURA       CA               $41.18
                    02/03        02/04          STARBUCKS #05549 LOS A Los Angeles CA                $2.25
                    02/03        02/04          ROGER THAI          WESTLAKE VILLCA                $206.00
                    02/03        02/05          FOUR SEASONS WLAKE SPA WESTLAKE VILLCA              $79.03
                    02/03        02/05          CLEMENTINE - ENSLEY    LOS ANGELES CA               $11.72
                    02/03        02/08          FOUR SEASONS WLAKE FB WESTLAKE VILLCA               $17.21
                    02/08        02/10          LA POUBELLE         LOS ANGELES CA                 $249.28
                    02/08        02/10          LA POUBELLE         LOS ANGELES CA                  $22.00
                    02/09        02/10          SOFITEL LA-RIVIERA 31 LOS ANGELES CA               $414.24
                                                02/09/16 TO 02/09/16

                    02/09        02/10          SOFITEL LA-RIVIERA 31        LOS ANGELES CA       $185.60
                                                02/09/16 TO 02/09/16

                    02/09        02/10          ANIMAL CLINIC OF THE O THOUSAND OAKSCA            $444.30




                                                                                                              011723 3/7
                    02/10        02/11          VIGNETTE LOUNGE       WEST HOLLYWOOCA             $192.00
                    02/12        02/15          BEAUTYHABIT        WESTLAKE VILLCA                $234.50
                                                Total Purchase Activity                          $6,234.54

                    Activity for MARTY N RICH - card ending in 1858
                    Purchases
                    Trans Date   Posting Date   Transaction Description                           Amount
                    01/23        01/25          HIDDEN TREASURES         TOPANGA     CA           $225.46
                    01/25        01/27          TOBACCO ROYALE           CALADASAS CA              $29.13
                    01/26        01/28          SUBWAY       00037010 THOUSAND OAKSCA              $20.42
                    01/27        01/29          IN *INTERSTATE VAPE IN 323-2475524 CA             $103.88
                    01/27        01/29          CALABASAS MARKET & LIQ CALABASAS CA                 $5.25
                    01/28        02/01          TACO BELL #2106 QPS CALABASAS CA                    $6.18
                    01/29        02/01          CALABASAS MARKET & LIQ CALABASAS CA                $41.49
                    02/01        02/02          NETFLIX.COM           NETFLIX.COM CA               $11.99
                    02/01        02/02          PAYPAL *CHSPE-SCOE        4029357733 CA           $110.00
                    02/01        02/02          ALBERTSONS #6335        CALABASAS CA               $62.67
                    02/01        02/02          ALBERTSONS #6335        CALABASAS CA               $24.50
                    02/01        02/03          AGOURA HILLS STADIUM 8 AGOURA HILLS CA             $36.00
                    02/01        02/03          AGOURA HILLS STADIUM 8 AGOURA HILLS CA              $5.67
                    02/01        02/03          AGOURA HILLS STADIUM 8 AGOURA HILLS CA              $8.00
                    02/01        02/03          AGOURA'S FAMOUS DELI & AGOURA HILLS CA             $29.98
                    02/03        02/05          CALABASAS MARKET & LIQ CALABASAS CA                 $5.10
                    02/03        02/05          TOBACCO ROYALE           CALADASAS CA              $51.00
                    02/05        02/08          MICHAELS PIZZA         CALABASAS CA                $11.98
                    02/03        02/08          MEDITERRANEAN PITA GRI CALABASAS CA                $29.40
                                                Total Purchase Activity                           $818.10



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                               Amount

                                                Total Fees for this Period                           $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                               Amount

                                                Total Interest for this Period                       $0.00




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                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $0.00                             Total Interest charged in 2016                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00




                                                                                                                                        011723 4/7
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 130
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                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                          April 12, 2016
                                                               Exhibit HHH-KKK Page 259 of 297Minimum Payment Due                                                                $11.65
                                                                                                                                   Previous Balance                           $1,947.36
                                                                                                                                   Statement Balance                             $11.65


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 1379                                                               Questions? Call 844-724-2600
NEED A RENTAL CAR?                                      Statement Billing Period: 02/16/16 - 03/15/16                                                                  myluxurycard.com
With convenient locations
                                                        Account Summary                                                        Activity Summary
throughout North America,
                                                        Minimum Payment Due                                    $11.65          Previous Balance                                $1,947.36
Luxury Card makes renting
                                                        Payment Due Date                                     04/12/16           - Payments                                     $4,013.26
a car hassle- and stress-free.
                                                        Statement End Date                                   03/15/16          + Purchases                                     $2,177.55
Contact Luxury Card Concierge
                                                        Revolving Line                                     $10,000.00           - Other Credits                                  $100.00
to take advantage of the savings
                                                        Available Revolving Line                            $9,988.35          + Balance Transfers                                 $0.00
with Alamo Rent A Car , Enterprise
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
Rent-A-Car and National Car
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
Rental .                                                Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                        Overlimit Amount                                        $0.00          Statement Balance                                  $11.65
PURCHASE SECURITY
Purchase Security can replace, repair
or reimburse you for eligible items                       Payment Information




                                                                                                                                                                                                    011865 1/6
purchased entirely with your card in                      Statement Balance                                                                                                    $11.65
the event of theft or damage within                       Minimum Payment Due                                                                                                  $11.65
ninety (90) days of purchase.                             Payment Due Date                                                                                                  4/12/2016
Additional terms and conditions                           Late Payment Warning: If we do not receive your minimum payment by the date
apply. Items must be purchased with                       listed above, you may have to pay a late fee of up to $37.00.
your MasterCard Black Card .
                                                         Rewards Summary
ID THEFT RESOLUTION                                     Black Card Reward Points
Personal Identity Theft Resolution                      Points Earned This Period                                                                                                    2,178
Service provides you with access                        Bonus Points                                                                                          +                          0
to a number of identity theft                           Points Redeemed This Period                                                                           -                          0
resolution resources if you are a                       Adjustments                                                                                           -                          0
                                                        Total Points Earned                                                                                   =                     11,635
victim of identity theft. Services
include assistance with credit
bureau notification, credit card                          Activity for ROBIN C DIMAGGIO - card ending in 1379
replacement and an ID Theft
Affidavit.                                                Payments
                                                          Trans Date Posting Date Transaction Description                                                                        Amount
                                                          02/23      02/23        Payment Received       CITIBANK FSB                                                          -$3,469.43
                                                          03/10      03/10        Payment Received       CITIBANK FSB                                                            -$543.83

           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $11.65
  Statement Balance                                  $11.65
  Payment Due Date                         April 12, 2016



                                                                                                                                                                         EX. KKK - 131
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VALENTINE’SDAY FLOWERS                    Activity for ROBIN C DIMAGGIO - card ending in 1379 (continued)
Don’t forget about that special           Payments
someone this February. Contact                                        Total Payment Activity                                         -$4,013.26
Luxury Card Concierge at
                                          Purchases
844.724.2500 to send flowers or a
                                          Trans Date   Posting Date   Transaction Description                                          Amount
gift to your loved ones.
                                          02/16        02/17          STARBUCKS #05485 WOODL Woodland HillCA                            $11.60
                                          02/16        02/17          STARBUCKS #05485 WOODL Woodland HillCA                            $14.15
BAGGAGE DELAY INSURANCE                   02/16        02/17          GREEN BASIL THAI RESTA CALABASAS CA                               $43.06
                                          02/16        02/18          SUBWAY       00011106 CALABASAS CA                                 $8.72
If your checked baggage on a
                                          01/26        02/18          AL MULINO EATALIAN BAK THOUSAND OAKSCA                           $119.97
common carrier flight is delayed          02/17        02/18          SQ *MELISSA SEWELL       OAK PARK CA                              $35.00
in transit for tickets purchased using    02/17        02/19          USA GASOLINE #68101      AGOURA HILLS CA                           $4.23
an eligible Luxury Card, you will be      02/17        02/19          7-ELEVEN 39055        CALABASAS CA                                $30.00
reimbursed for the cost of replacing      02/17        02/19          AGOURA HILLS STADIUM 8 AGOURA HILLS CA                            $39.12
essential personal or business items.     02/17        02/19          AGOURA HILLS STADIUM 8 AGOURA HILLS CA                             $2.18
                                          02/15        02/19          DW DRUMS              OXNARD    CA                                $37.12
                                          02/18        02/19          ABC PHARMACY OF BH        BEVERLY HILLSCA                          $9.00
                                          02/19        02/22          CHOCOLATINE            THOUSAND OAKSCA                            $30.90
                                          02/18        02/22          SANTA FE CAFE         CALABASAS CA                                $15.80




                                                                                                                                                   011865 2/6
                                          02/19        02/22          NORDSTROM #0341          CANOGA PARK CA                          $256.15
                                          02/19        02/22          NORDSTROM #0341          CANOGA PARK CA                          $118.81
                                          02/19        02/22          AMERICAN 00177511837134 NEW YORK NY                              $388.10
                                                                      JUDIN/JEF 02/20/2016 PHX DFW
                                                                      Agency: THE WORLD CONNE #00177511837134

                                          02/19        02/22          AGNT FEE 89006715322346 THE WORLD CONNY                          $265.00
                                                                      JUDIN/JEF 02/19/2016 X A A XAO
                                                                      Agency: THE WORLD CONNE #89006715322346

                                          02/20        02/22          CRACKER BARREL #381 GR GREENVILLE TX                               $31.38
                                          02/19        02/22          BEVERLY GLEN DELI    LOS ANGELES CA                                $61.78
                                          02/22        02/24          FOUR SEASONS L A FB   LOS ANGELES CA                              $161.89
                                          02/24        02/24          Airline Txn Credit                                               -$100.00
                                          03/02        03/03          CINEPOLIS LUXURY CINEM THOUSAND OAKSCA                             $76.00
                                          03/02        03/04          FARFALLA - WESTLAKE    WESTLAKE VILLCA                            $209.15
                                          03/05        03/07          THE LEGO STORE      CANOGA PARK CA                                 $87.19
                                          03/06        03/08          BJS RESTAURANTS 426   THOUSAND OAKSCA                              $97.61
                                          03/08        03/09          SQ *EREWHON GROCER & C Calabasas CA                                $11.65
                                                                      Total Purchase Activity                                         $2,065.56

                                          Activity for MARTY N RICH - card ending in 1858
                                          Purchases
                                          03/01     03/02             NETFLIX.COM                NETFLIX.COM CA                          $11.99
                                                                      Total Purchase Activity                                            $11.99



                                          Summary of Fees and Interest
                                          Fees Charged
                                          Trans Date Posting Date Transaction Description                                              Amount

                                                                      Total Fees for this Period                                          $0.00
                                          Interest Charged
                                          Trans Date Posting Date Transaction Description                                              Amount

                                                                      Total Interest for this Period                                      $0.00


                                          Year-to-Date Summary of Fees and Interest Charged*
                                         Total Fees charged in 2016 $0.00                         Total Interest charged in 2016          $0.00
                                         *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                         dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                         been made.




                                                                                                                                   EX. KKK - 132
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                    Interest Charge Calculation - 29 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        011865 3/6




                                                                                                                        EX. KKK - 133
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                           May 12, 2016
                                                               Exhibit HHH-KKK Page 262 of 297Minimum Payment Due                                                               $27.00
                                                                                                                                   Previous Balance                             $11.65
                                                                                                                                   Statement Balance                         $1,375.85


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
MOTHER’SDAY IS MAY 8, 2016                              Statement Billing Period: 03/16/16 - 04/15/16                                                                  myluxurycard.com
Don’t forget to order flowers or
                                                        Account Summary                                                        Activity Summary
gifts for all the special moms in
                                                        Minimum Payment Due                                    $27.00          Previous Balance                                   $11.65
your life! Contact Luxury Card
                                                        Payment Due Date                                     05/12/16           - Payments                                       $100.00
Concierge for assistance with
                                                        Statement End Date                                   04/15/16          + Purchases                                     $1,464.20
deliveries, specialty gift ideas and
                                                        Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
more.
                                                        Available Revolving Line                            $8,624.15          + Balance Transfers                                 $0.00
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
SMALL CHIP. BIG SECURITY.                               Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
Your Luxury Card features chip                          Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
technology to ensure more security                      Overlimit Amount                                        $0.00          Statement Balance                               $1,375.85
at chip-card terminals in the United
States and abroad. Use your Luxury
Card for all your purchases in store,
                                                          Payment Information
online or by phone at any type of




                                                                                                                                                                                                    024578 1/6
                                                          Statement Balance                                                                                                 $1,375.85
terminal including traditional
                                                          Minimum Payment Due                                                                                                  $27.00
magnetic stripe and chip and
                                                          Payment Due Date                                                                                                  5/12/2016
PIN kiosks.
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
DOUBLE POINTS VALUE
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
FOR AIRFARE REDEMPTION                                    you will pay more in interest and it will take you longer to pay off your balance. For
Through our Industry-Leading                              example:
Rewards Program, points are
DOUBLED when you redeem                                        If you make no additional                   You will pay off the
for airfare. For example, 50,000                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…
points will get you a $1,000 ticket
on any airline with no blackout                                Only the minimum payment                              7 years                                  $2,181.00
dates or seat restrictions.                                                                                                                                  $1,728.00
                                                                           $48.00                                    3 years
                                                                                                                                                        (Savings = $453.00)
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.



           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $27.00
  Statement Balance                              $1,375.85
  Payment Due Date                          May 12, 2016



                                                                                                                                                                         EX. KKK - 134
                                                                                                              Page 2 of 6
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                         Exhibit HHH-KKK Page 263 of 297


                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                       1,465
                   Bonus Points                                                                     +                  0
                   Points Redeemed This Period                                                      -                  0
                   Adjustments                                                                      -                  0
                   Total Points Earned                                                              =             13,100


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                                             Amount
                    04/12      04/12        Payment Received       CITIBANK FSB                                 -$100.00
                                              Total Payment Activity                                            -$100.00

                    Purchases
                    04/06     04/12           FOUR SEASONS WLAKE SPA WESTLAKE VILLCA                             $209.83
                    04/06     04/12           AL MULINO EATALIAN BAK THOUSAND OAKSCA                             $133.04

                                              Total Purchase Activity                                            $342.87




                                                                                                                            024578 2/6
                    Activity for ROBIN C DIMAGGIO - card ending in 1379
                    Purchases
                    03/15       03/23         DW DRUMS            OXNARD    CA                                   $132.66
                    03/23       03/25         AMPCO PARKING PACIFIC WEST HOLLYWOOCA                                $5.50
                    03/23       03/25         ALFRED COFFEE & KITCHE LOS ANGELES CA                               $28.03
                    03/24       03/28         SUNSET GRILL        WEST HOLLYWOOCA                                 $18.24
                    03/27       03/28         BLACK LP          LOS ANGELES CA                                   $289.00
                    03/28       03/29         WHOLEFDS WDH 10099       WOODLAND HILLCA                            $95.98
                    03/28       03/29         ITALIA DELI & BAKE    AGOURA HILLS CA                               $25.47
                    03/28       03/29         GREEN BASIL THAI RESTA CALABASAS CA                                 $35.52
                    04/05       04/07         FOUR SEASONS WLAKE FB WESTLAKE VILLCA                              $308.33
                    04/05       04/07         FOUR SEASONS WLAKE FB WESTLAKE VILLCA                               $41.61
                    04/06       04/07         FRENZY           WESTLAKE VILLCA                                   $129.00
                                              Total Purchase Activity                                          $1,109.34

                    Activity for MARTY N RICH - card ending in 1858
                    Purchases
                    04/01     04/04           NETFLIX.COM            NETFLIX.COM CA                               $11.99
                                              Total Purchase Activity                                             $11.99



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Fees for this Period                                           $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Interest for this Period                                       $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $0.00                    Total Interest charged in 2016              $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                          EX. KKK - 135
                                                                                                                          Page 3 of 6
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                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        024578 3/6




                                                                                                                        EX. KKK - 136
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                          June 12, 2016
                                                               Exhibit HHH-KKK Page 265 of 297Minimum Payment Due                                                               $66.63
                                                                                                                                   Previous Balance                          $1,375.85
                                                                                                                                   Statement Balance                         $3,205.56


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
TREAT THE DADS                                          Statement Billing Period: 04/16/16 - 05/15/16                                                                  myluxurycard.com
Father’s Day is Sunday, June 19.
                                                        Account Summary                                                        Activity Summary
Contact Luxury Card Concierge
                                                        Minimum Payment Due                                    $66.63          Previous Balance                                $1,375.85
for assistance finding something
                                                        Payment Due Date                                     06/12/16           - Payments                                       $100.00
special for the dads in your life.
                                                        Statement End Date                                   05/15/16          + Purchases                                     $1,894.78
Dedicated professionals are
                                                        Revolving Line                                     $10,000.00           - Other Credits                                    $0.00
available 24/7 to coordinate the
                                                        Available Revolving Line                            $6,794.44          + Balance Transfers                                 $0.00
perfect gift, whether booking
                                                        Cash Credit Line                                    $4,000.00          + Cash Advances                                     $0.00
golf outings, ordering specialty
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
items or fulfilling your custom
                                                        Past Due Amount                                         $0.00          + Interest Charged                                 $34.93
request.
                                                        Overlimit Amount                                        $0.00          Statement Balance                               $3,205.56

PURCHASE PROTECTION
Within the first ninety (90) days
                                                          Payment Information
of purchase, Purchase Security




                                                                                                                                                                                                    011337 1/6
                                                          Statement Balance                                                                                                 $3,205.56
will replace, repair or reimburse
                                                          Minimum Payment Due                                                                                                  $66.63
you for eligible items of personal
                                                          Payment Due Date                                                                                                  6/12/2016
property in the event of theft or
other damages. Items must be                              Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
purchased with your Luxury Card .
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
AUTO RENTAL COLLISION                                     example:
WAIVER
Car rental services purchased                                  If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
with your eligible Luxury Card                                                                                                                     an estimated total of…
                                                                 each month you pay…                      statement in about…
allow reimbursement for any
damages due to collision or                                    Only the minimum payment                             14 years                                  $6,335.00
theft that may occur.                                                                                                                                        $4,032.00
                                                                          $112.00                                    3 years
                                                                                                                                                       (Savings = $2,303.00)
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.



           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $66.63
  Statement Balance                              $3,205.56
  Payment Due Date                         June 12, 2016



                                                                                                                                                                         EX. KKK - 137
                                                                                                              Page 2 of 6
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                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                       1,894
                   Bonus Points                                                                     +                  0
                   Points Redeemed This Period                                                      -                  0
                   Adjustments                                                                      -                  0
                   Total Points Earned                                                              =             14,994


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                                             Amount
                    05/10      05/10        Payment Received       CITIBANK FSB                                 -$100.00
                                              Total Payment Activity                                            -$100.00

                    Purchases
                    04/20       04/21         LEO AND LILY       WOODLAND HILLCA                                  $85.45
                    04/20       04/22         THE MELTING POT       WESTLAKE VILLCA                              $282.91
                    04/21       04/22         STARBUCKS #05213 WEST West Los AngeCA                                $9.40
                    04/21       04/22         STARBUCKS #05213 WEST West Los AngeCA                               $24.80




                                                                                                                            011337 2/6
                    04/21       04/22         LEO AND LILY       WOODLAND HILLCA                                  $92.77
                    04/22       04/25         MICHAELS PIZZA       CALABASAS CA                                   $36.84
                    04/22       04/25         AL MULINO EATALIAN BAK THOUSAND OAKSCA                             $900.42
                    04/30       05/02         IN *INTERSTATE VAPE IN 323-2475524 CA                               $78.48
                    05/01       05/03         THE STONEHAUS         WESTLAKE VILLCA                               $36.88
                    05/01       05/03         THE STONEHAUS         WESTLAKE VILLCA                              $120.28
                                              Total Purchase Activity                                          $1,668.23

                    Activity for MARTY N RICH - card ending in 1858
                    Purchases
                    05/01       05/02         NETFLIX.COM        NETFLIX.COM CA                                   $11.99
                    05/09       05/10         TARGET     00002881 WOODLAND HILLCA                                $141.76
                    05/09       05/10         FRANK'S RESTAURANT     BURBANK    CA                                $19.48
                    05/09       05/11         POQUITO MAS BURBANK      BURBANK    CA                              $11.50
                    05/12       05/13         LAZY DAISY OF BEVE   BEVERLY HILLSCA                                $15.62
                    05/12       05/13         ALBERTSONS #6335     CALABASAS CA                                   $26.20
                                              Total Purchase Activity                                            $226.55



                    Summary of Fees and Interest
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount
                    05/15       05/15         INTEREST CHARGE ON PURCHASES                                        $34.93
                                              Total Interest for this Period                                      $34.93
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Fees for this Period                                           $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $0.00                    Total Interest charged in 2016            $34.93
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                          EX. KKK - 138
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                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---            $2,785.48        15.24% (v)     $34.93
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                $34.93
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        011337 3/6




                                                                                                                        EX. KKK - 139
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                           July 12, 2016
                                                               Exhibit HHH-KKK Page 268 of 297Minimum Payment Due                                                               $131.35
                                                                                                                                   Previous Balance                           $3,205.56
                                                                                                                                   Statement Balance                          $6,164.79


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
CONGRATULATIONS!                                        Statement Billing Period: 05/16/16 - 06/15/16                                                                  myluxurycard.com
Because you have managed your
                                                        Account Summary                                                        Activity Summary
account responsibly, we've increased
                                                        Minimum Payment Due                                   $131.35          Previous Balance                                $3,205.56
your credit line to $11,500.00. This
                                                        Payment Due Date                                     07/12/16           - Payments                                       $200.00
increase is effective right away, so it
                                                        Statement End Date                                   06/15/16          + Purchases                                     $3,088.82
is available to you now. We hope
                                                        Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
this increase makes it easier and
                                                        Available Revolving Line                            $5,335.21          + Balance Transfers                                 $0.00
more convenient to use your
                                                        Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
MasterCard Black Card for all of
                                                        Available Cash Line                                 $4,000.00          + Fees Charged                                      $0.00
your purchases.
                                                        Past Due Amount                                         $0.00          + Interest Charged                                 $70.41
                                                        Overlimit Amount                                        $0.00          Statement Balance                               $6,164.79
FOURTH OF JULY TRAVEL
Looking for parades, fireworks
and other holiday festivities
                                                          Payment Information
in your town or during your




                                                                                                                                                                                                    011893 1/6
                                                          Statement Balance                                                                                                 $6,164.79
vacation? Contact Luxury Card
                                                          Minimum Payment Due                                                                                                 $131.35
Concierge for assistance with
                                                          Payment Due Date                                                                                                  7/12/2016
Independence Day events!
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
SUMMER ISSUE                                              you will pay more in interest and it will take you longer to pay off your balance. For
Keep an eye out for your                                  example:
summer issue of Luxury
Magazine, coming to your                                      If you make no additional                    You will pay off the
mailbox this month!                                          charges using this card and                  balance shown on this                   And you will end up paying
                                                                each month you pay…                       statement in about…                      an estimated total of…

VIP AIRPORT LOUNGE CLUB™                                       Only the minimum payment                             19 years                                 $13,054.00
Don’t forget your LOUNGE CLUB                                                                                                                                $7,704.00
                                                                          $214.00                                    3 years
                                                                                                                                                       (Savings = $5,350.00)
card when traveling. MasterCard
Gold Card and MasterCard Black                            If you would like information about credit counseling services, please call 800-570-1403.
Card members enjoy the comfort                          * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
of more than 495 participating                            statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
lounges in 200 cities worldwide.                          to myluxurycard.com.



           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                              $131.35
  Statement Balance                              $6,164.79
  Payment Due Date                          July 12, 2016



                                                                                                                                                                         EX. KKK - 140
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                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                    3,088
                   Bonus Points                                                      +              0
                   Points Redeemed This Period                                       -              0
                   Adjustments                                                       -              0
                   Total Points Earned                                               =         18,082


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                          Amount
                    06/11      06/13        Payment Received       CITIBANK FSB              -$200.00
                                            Total Payment Activity                           -$200.00

                    Purchases
                    05/15       05/17       ADOBE CANTINA        AGOURA HILLS CA              $95.88
                    05/15       05/17       FOUR SEASONS WLAKE FB WESTLAKE VILLCA             $11.34
                    05/15       05/17       FOUR SEASONS WLAKE FB WESTLAKE VILLCA             $20.09
                    05/14       05/17       FOUR SEASONS WLAKE FB WESTLAKE VILLCA            $124.64




                                                                                                         011893 2/6
                    05/15       05/17       SHELL OIL 57444585400 CALABASAS CA                $42.00
                    05/14       05/17       076531 BOGARTS THOUSAN THOUSAND OAKSCA           $100.29
                    05/16       05/18       FOUR SEASONS WLAKE FB WESTLAKE VILLCA             $62.51
                    05/16       05/18       FOUR SEASONS WLAKE FB WESTLAKE VILLCA             $33.98
                    05/16       05/18       FOUR SEASONS WLAKE FB WESTLAKE VILLCA            $296.20
                    05/24       05/26       CASA VEGA          SHERMAN OAKS CA                $50.06
                    05/24       05/26       7-ELEVEN 39055      CANOGA PARK CA                $12.84
                    05/27       05/30       RALPHS FUEL #1081    WOODLAND HILLCA              $23.00
                    05/27       05/30       T MOBILE 1704       WOODLAND HILLCA              $233.35
                    05/27       05/30       LEO AND LILY       WOODLAND HILLCA               $148.78
                    05/27       05/30       STARBUCKS STORE 11603 WOODLAND HILLCA              $6.00
                    05/27       05/30       STARBUCKS STORE 11603 WOODLAND HILLCA              $5.50
                    05/28       05/30       ALBERTSONS #6335      CALABASAS CA               $112.72
                    05/28       05/30       ALBERTSONS #6335      CALABASAS CA                $14.16
                    05/28       05/30       LEO AND LILY       WOODLAND HILLCA               $106.33
                    05/27       05/30       SALT CREEK RESTRAU     CALABASAS CA               $32.25
                    05/30       05/31       WAL-MART #5152       WEST HILLS CA               $195.62
                    06/02       06/06       STARBUCKS STORE 11603 WOODLAND HILLCA             $37.65
                    06/04       06/06       DELTA 00621677026235 SALT LAKE CTYUT              $50.00
                                            DIMAGGIO/ROBIN 06/05/2016 M I A LAX
                                            Agency: SALT LAKE CTY #00621677026235

                    06/06       06/07       CHEVRON 0090458     LOS ANGELES CA                 $34.35
                    06/06       06/07       STARBUCKS #00635 AGOUR Agoura    CA                 $6.00
                    06/06       06/07       STARBUCKS #00635 AGOUR Agoura    CA                $15.00
                    06/06       06/07       CHOCOLATINE        THOUSAND OAKSCA                 $58.38
                    06/06       06/07       CVS/PHARMACY #09751   AGOURA     CA                $23.42
                    06/06       06/08       MANDARIN ORIENTAL MIA MIAMI      FL                $19.04
                                            06/03/16 TO 06/05/16

                    06/07       06/08       PANINI CAFE-WOODLA    WOODLAND HILLCA            $100.00
                    06/07       06/09       OLIO E LIMONE RESTORAN WLV    CA                 $335.77
                    06/08       06/09       CHEVRON 0370247     WOODLAND HILLCA               $38.00
                    06/08       06/09       POQUITO MAS     QPS WOODLAND HILLCA               $36.46
                                            Total Purchase Activity                         $2,481.61

                    Activity for MARTY N RICH - card ending in 1858
                    Purchases
                    05/12       05/16       IN *INTERSTATE VAPE IN 323-2475524 CA             $43.60
                    05/12       05/16       TOBACCO ROYALE         CALADASAS CA                $7.00
                    05/13       05/16       SQ *MELISSA SEWELL     OAK PARK CA               $162.00
                    05/13       05/16       TACO BELL #1524 QPS AGOURA         CA              $3.04
                    05/15       05/16       TARGET.COM *         800-591-3869 MN              $38.14
                    05/15       05/16       TARGET.COM *         800-591-3869 MN              $41.38
                    05/16       05/16       TARGET.COM *         800-591-3869 MN              $65.39
                    05/16       05/16       TARGET.COM *         800-591-3869 MN              $38.14




                                                                                         EX. KKK - 141
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                    Activity for MARTY N RICH - card ending in 1858 (continued)
                    Purchases
                    05/17         05/18            MCDONALD'S F11331      CALABASAS CA                                         $9.56
                    05/19         05/20            POQUITO MAS BURBANK      BURBANK     CA                                    $13.95
                    05/19         05/20            POQUITO MAS BURBANK      BURBANK     CA                                     $0.04
                    05/19         05/20            POQUITO MAS BURBANK      BURBANK     CA                                    $10.40
                    05/19         05/20            EXTRAS KIDS MANAGEMENT BURBANK        CA                                   $64.00
                    05/19         05/23            TOBACCO ROYALE        CALADASAS CA                                         $61.97
                    05/23         05/25            IN *INTERSTATE VAPE IN 323-2475524 CA                                      $18.53
                    05/23         05/25            SANTA FE CAFE       CALABASAS CA                                           $18.08
                    06/01         06/02            NETFLIX.COM        NETFLIX.COM CA                                          $11.99
                                                   Total Purchase Activity                                                  $607.21



                    Summary of Fees and Interest
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount
                    06/15         06/15            INTEREST CHARGE ON PURCHASES                                               $70.41




                                                                                                                                        011893 3/6
                                                   Total Interest for this Period                                             $70.41
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $0.00                             Total Interest charged in 2016              $105.34
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---            $5,434.01        15.24% (v)     $70.41
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                $70.41
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 142
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08August
                                                                                                      Due Date
                                                                                                                      Desc12, 2016
                                                               Exhibit HHH-KKK Page 271 of 297Minimum Payment Due          $72.53
                                                                                                                                   Previous Balance                             $6,164.79
                                                                                                                                   Statement Balance                               $72.53


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
LONG WEEKEND PLANS                                      Statement Billing Period: 06/16/16 - 07/15/16                                                                  myluxurycard.com
Looking for a fun, quick getaway
                                                        Account Summary                                                        Activity Summary
or a final summer hurrah? Start
                                                        Minimum Payment Due                                    $72.53          Previous Balance                                $6,164.79
planning your Labor Day weekend
                                                        Payment Due Date                                     08/12/16           - Payments                                     $7,402.09
festivities now! Find out about
                                                        Statement End Date                                   07/15/16          + Purchases                                     $1,237.30
your VIP Hotel and Travel benefits
                                                        Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
at the best weekend spots by
                                                        Available Revolving Line                           $11,427.47          + Balance Transfers                                 $0.00
calling Luxury Card Concierge at
                                                        Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
844-724-2500.
                                                        Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                        Past Due Amount                                         $0.00          + Interest Charged                                 $72.53
NO FOREIGN                                              Overlimit Amount                                        $0.00          Statement Balance                                  $72.53
TRANSACTION FEES
When using your Luxury Card,
you always enjoy greater freedom
                                                          Payment Information
with no foreign transaction fees




                                                                                                                                                                                                    030195 1/6
                                                          Statement Balance                                                                                                    $72.53
on purchases made while traveling
                                                          Minimum Payment Due                                                                                                  $72.53
abroad.
                                                          Payment Due Date                                                                                                  8/12/2016
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
CRUISE PRIVILEGES                                         listed above, you may have to pay a late fee of up to $37.00.
Enjoy an adventure on
the high seas with Luxury
                                                         Rewards Summary
Card’s cruise program,
which provides access to                                Black Card Reward Points
privileges on more than                                 Points Earned This Period                                                                                                    1,239
                                                        Bonus Points                                                                                          +                          0
20 cruise lines. Revel in
                                                        Points Redeemed This Period                                                                           -                          0
extensive amenities while
                                                        Adjustments                                                                                           -                          0
appreciating the allure of                              Total Points Earned                                                                                   =                     19,321
ocean travel .

                                                          Activity for ROBIN C DIMAGGIO - card ending in 9683
                                                          Payments
                                                          Trans Date Posting Date Transaction Description                                                                        Amount
                                                          07/05      07/05        Payment Received       CITIBANK FSB                                                          -$1,500.00
                                                          07/14      07/14        Payment Received       CITIBANK FSB                                                          -$5,902.09

           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $72.53
  Statement Balance                                  $72.53
  Payment Due Date                      August 12, 2016



                                                                                                                                                                         EX. KKK - 143
                                                                                                              Page 2 of 6
Case 1:17-ap-01099-VK    Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                  Desc
                         Exhibit HHH-KKK Page 272 of 297



                    Activity for ROBIN C DIMAGGIO - card ending in 9683 (continued)
                    Payments
                                                Total Payment Activity                                        -$7,402.09

                    Purchases
                    Trans Date   Posting Date   Transaction Description                                         Amount
                    06/16        06/17          ROCK & BREWS           LOS ANGELES CA                            $40.60
                    06/16        06/20          BLUE MOON BREWHOUSE B1 ATLANTA         GA                        $82.05
                    06/16        06/20          BLUE MOON BREWHOUSE B1 ATLANTA         GA                        $46.85
                    06/17        06/20          RITE AID STORE - 5539 AGOURA HILLS CA                            $50.65
                    06/17        06/20          SEPHORA 614           CALABASAS CA                               $27.25
                    06/17        06/20          COFFEE BEAN STORE        TARZANA    CA                            $6.28
                    07/07        07/08          CANDY CLUB            SOFIYA   BGR                               $57.26
                                                100.89 BGN @ 1.76196

                    07/07        07/08          VG AD                  SOFIA      BGR                             $48.81
                                                86.00 BGN @ 1.76193

                    07/07        07/08          VG AD                  SOFIA      BGR                            $202.60
                                                357.00 BGN @ 1.76209

                    07/10        07/11          MIRANO                  SOFIYA         BGR                        $54.79
                                                97.00 BGN @ 1.77039

                    07/08        07/11          360 SPORT CLUB            SOFIYA         BGR                     $101.67




                                                                                                                            030195 2/6
                                                180.00 BGN @ 1.77043

                    07/08        07/11          360 SPORT CLUB            SOFIYA         BGR                      $22.59
                                                40.00 BGN @ 1.77069

                    07/07        07/11          HAPPY BAR & GRILL              SOFIA     BGR                      $63.84
                                                113.03 BGN @ 1.77052

                    07/10        07/12          SELEKTA STIL             SOFIA         BGR                       $359.79
                                                636.00 BGN @ 1.76769

                    07/11        07/12          CANDY CLUB               SOFIYA         BGR                       $26.28
                                                46.45 BGN @ 1.76750

                                                Total Purchase Activity                                        $1,191.31

                    Activity for MARTY N RICH - card ending in 1858
                    Purchases
                    06/15     06/16             EXTRAS KIDS MANAGEMENT 818-9729474 CA                             $34.00
                    07/01     07/04             NETFLIX.COM      NETFLIX.COM CA                                   $11.99
                                                Total Purchase Activity                                           $45.99



                    Summary of Fees and Interest
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount
                    07/15        07/15          INTEREST CHARGE ON PURCHASES                                      $72.53
                                                Total Interest for this Period                                    $72.53
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                                Total Fees for this Period                                         $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $0.00                      Total Interest charged in 2016         $177.87
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                           EX. KKK - 144
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 273 of 297


                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---            $5,783.84        15.24% (v)     $72.53
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                $72.53
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        030195 3/6




                                                                                                                        EX. KKK - 145
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                        Desc
                                                                                                                  September 12, 2016
                                                               Exhibit HHH-KKK Page 274 of 297Minimum Payment Due            $27.00
                                                                                                                                   Previous Balance                                $72.53
                                                                                                                                   Statement Balance                               $84.00


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
PURCHASING POWER                                        Statement Billing Period: 07/16/16 - 08/16/16                                                                  myluxurycard.com
Every point gets you closer to
                                                        Account Summary                                                        Activity Summary
the rewards you want. Earn
                                                        Minimum Payment Due                                    $27.00          Previous Balance                                   $72.53
one (1) point for every one
                                                        Payment Due Date                                     09/12/16           - Payments                                     $2,399.82
dollar ($1) you spend.
                                                        Statement End Date                                   08/16/16          + Purchases                                     $2,705.29
                                                        Revolving Line                                     $11,500.00           - Other Credits                                  $294.00
ZERO FRAUD LIABILITY                                    Available Revolving Line                           $11,416.00          + Balance Transfers                                 $0.00
Pay only for purchases you                              Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
have authorized with your                               Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
Luxury Card, whether you                                Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
pay in a store, over the phone                          Overlimit Amount                                        $0.00          Statement Balance                                  $84.00
or online. As a Cardmember,
you are not responsible in
the event someone makes
                                                          Payment Information
unauthorized purchases with




                                                                                                                                                                                                    032132 1/6
                                                          Statement Balance                                                                                                    $84.00
your card.
                                                          Minimum Payment Due                                                                                                  $27.00
                                                          Payment Due Date                                                                                                  9/12/2016
TRIP CANCELLATION AND                                     Late Payment Warning: If we do not receive your minimum payment by the date
INTERRUPTION                                              listed above, you may have to pay a late fee of up to $37.00.
Luxury Card provides reimbursement                        Minimum Payment Warning: If you make only the minimum payment each period,
for you and your family for any                           you will pay more in interest and it will take you longer to pay off your balance. For
nonrefundable cancellation or                             example:
change fee if your trip is interrupted
or cancelled and you have purchased                            If you make no additional                   You will pay off the
your common carrier tickets with                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…
your Luxury Card.
                                                               Only the minimum payment                             4 months                                    $86.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $27.00
  Statement Balance                                  $84.00
  Payment Due Date                 September 12, 2016



                                                                                                                                                                         EX. KKK - 146
                                                                                                              Page 2 of 6
Case 1:17-ap-01099-VK    Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                  Desc
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                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                       2,705
                   Bonus Points                                                                     +                  0
                   Points Redeemed This Period                                                      -             19,404
                   Adjustments                                                                      -                  0
                   Total Points Earned                                                              =              2,622


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                                             Amount
                    07/20      07/20        Payment Received       CITIBANK FSB                                 -$156.53
                    08/12      08/12        Payment Received       CITIBANK FSB                               -$2,243.29
                                              Total Payment Activity                                          -$2,399.82

                    Purchases
                    07/20     07/21           BEST BUY     00001123 THOUSAND OAKSCA                              $180.00
                    07/20     07/28           Rwds Credit - Cash Back                                           -$294.00
                    08/06     08/08           Indu             Sydney  NSW                                       $100.85




                                                                                                                            032132 2/6
                                              132.75 AUD @ 1.31631

                    08/06       08/08         ROCKS STYLE            THE ROCKS                                   $348.70
                                              459.00 AUD @ 1.31631

                    08/06       08/08         STEAM-E-CIGS PTY LTD         ALEXANDRIA                             $40.19
                                              52.90 AUD @ 1.31624

                    08/06       08/08         FOREVER21 AU             SYDNEY       AUS                          $292.14
                                              384.55 AUD @ 1.31632

                    08/06       08/08         WWW.INGOGO                 SYDNEY       NSW                         $66.61
                                              87.68 AUD @ 1.31631

                    08/07       08/08         Four Seasons Sydney F& Sydney           NSW                        $182.33
                                              240.00 AUD @ 1.31629

                    08/08       08/09         ROCKS STYLE            THE ROCKS                                   $171.18
                                              225.00 AUD @ 1.31440

                    08/08       08/10         LOUIS VUITTON            NEY      NSW                              $610.64
                                              800.00 AUD @ 1.31010

                    08/08       08/10         LOUIS VUITTON            NEY      NSW                              $492.33
                                              645.00 AUD @ 1.31009

                                              Total Purchase Activity                                          $2,190.97

                    Activity for MARTY N RICH - card ending in 1858
                    Purchases
                    07/15       07/18         EXTRAS KIDS MANAGEMENT 818-9729474 CA                               $84.00
                    07/18       07/20         EXOTIC THAI AGOURA INC AGOURA HILLS CA                              $40.33
                    08/01       08/02         NETFLIX.COM      NETFLIX.COM CA                                     $11.99
                    08/15       08/16         EXTRAS KIDS MANAGEMENT 818-9729474 CA                               $84.00
                                              Total Purchase Activity                                            $220.32



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Fees for this Period                                           $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                             Amount

                                              Total Interest for this Period                                       $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $0.00                    Total Interest charged in 2016           $177.87
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.




                                                                                                          EX. KKK - 147
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 276 of 297


                    Interest Charge Calculation - 32 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                        032132 3/6




                                                                                                                        EX. KKK - 148
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08October
                                                                                                      Due Date
                                                                                                                       Desc12, 2016
                                                               Exhibit HHH-KKK Page 277 of 297Minimum Payment Due             None
                                                                                                                                   Previous Balance                                $84.00
                                                                                                                                   Statement Balance                              -$61.76


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 6
                                                        Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
WORLD-CLASS CONCIERGE                                   Statement Billing Period: 08/17/16 - 09/15/16                                                                  myluxurycard.com
Experience the highest caliber of
                                                        Account Summary                                                        Activity Summary
personal service from Luxury Card
                                                        Minimum Payment Due                                     $0.00          Previous Balance                                   $84.00
Concierge. An elite, dedicated
                                                        Payment Due Date                                     10/12/16           - Payments                                     $4,549.20
group of consultants offering local
                                                        Statement End Date                                   09/15/16          + Purchases                                     $4,615.19
and global knowledge are ready
                                                        Revolving Line                                     $11,500.00           - Other Credits                                  $211.75
to assist you with any question.
                                                        Available Revolving Line                           $11,500.00          + Balance Transfers                                 $0.00
Call 844.724.2500 or email
                                                        Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
concierge@luxurycard.com today.
                                                        Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
VIP HOTEL & TRAVEL PROGRAM                              Overlimit Amount                                        $0.00          Statement Balance                                 -$61.76
Explore a world of convenience,
personalized resources and value
when planning your next trip using
                                                          Payment Information
the VIP Hotel & Travel Program.




                                                                                                                                                                                                      014565 1/6
                                                          Statement Balance                                                                                                  -$61.76
Access an incomparable array of
                                                          Minimum Payment Due                                                                                                  None
amenities such as room upgrades,
                                                          Payment Due Date                                                                                                10/12/2016
spa credits, competitive rates and
more from over 3,000 properties                           Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
around the world. An online version
is available at myluxurycard.com.                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                          you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:
WIRELESS COMMUNICATION
As a Luxury Card member you are                                If you make no additional                   You will pay off the
offered access to secure and reliable                         charges using this card and                 balance shown on this                   And you will end up paying
connections without high roaming                                 each month you pay…                      statement in about…                      an estimated total of…
fees. Enjoy peace of mind at home                              Only the minimum payment                             0 months                                     $0.00
and abroad.
                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 2 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                 None
  Statement Balance                                 -$61.76
  Payment Due Date                     October 12, 2016



                                                                                                                                                                         EX. KKK - 149
                                                                                                Page 2 of 6
Case 1:17-ap-01099-VK   Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                     Desc
                        Exhibit HHH-KKK Page 278 of 297


                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                         4,403
                   Bonus Points                                                           +              0
                   Points Redeemed This Period                                            -              0
                   Adjustments                                                            -              0
                   Total Points Earned                                                    =          7,025


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                               Amount
                    09/06      09/06        Payment Received       CITIBANK FSB                 -$4,549.20
                                            Total Payment Activity                              -$4,549.20

                    Purchases
                    08/24       08/25       AMAZON MKTPLACE        PMTS AMZN.COM/BILLWA             $14.97
                    08/24       08/25       AMAZON MKTPLACE        PMTS AMZN.COM/BILLWA             $14.12
                    08/24       08/25       AMAZON MKTPLACE        PMTS AMZN.COM/BILLWA             $84.33
                    08/24       08/25       AMAZON MKTPLACE        PMTS AMZN.COM/BILLWA              $5.99




                                                                                                              014565 2/6
                    08/25       08/26       AMAZON MKTPLACE        PMTS AMZN.COM/BILLWA             $12.99
                    08/27       08/29       HAMPTON INNS            LAS VEGAS NV                 $1,559.35
                                            08/13/16 TO 08/27/16

                    08/29       08/30       NATIONAL CAR RENTAL        SEATTLE    WA              $864.65
                                            08/29/16

                    09/01       09/05       LAX BLUE WINDOW        LOS ANGELES CA                    $3.99
                    09/03       09/05       OTG JFK T5 VENTURE, LL JAMAICA    NY                     $4.39
                                            Total Purchase Activity                              $2,564.78

                    Activity for ROBIN C DIMAGGIO - card ending in 9818
                    Purchases
                    09/05     09/06         AGI*LIABILITYINSURANCE 800-370-1990 FL                 -$11.75

                                            Total Purchase Activity                                -$11.75

                    Activity for MARTY N RICH - card ending in 1858
                    Purchases
                    08/22       08/23       BOBBYS COFFEE SHOP       WOODLAND HILLCA                $32.90
                    08/22       08/23       WESTLAKE AH #958       WESTLAKE VILLCA                 $122.68
                    08/23       08/24       SQ *MELISSA SEWELL      OAK PARK CA                    $143.75
                    08/23       08/25       PAYPAL *368 COMPANY       4029357733 CA                 $43.76
                    08/25       08/26       FOREVER21.COM         08009661355 CA                   $166.94
                    08/26       08/29       FOREVER21.COM         08009661355 CA                    $87.63
                    08/26       08/29       FOREVER21.COM         08009661355 CA                    $70.30
                    08/27       08/29       FOREVER21.COM         08009661355 CA                   $155.21
                    08/30       08/31       GHAVAMI PLASTIC SURGER BEVERLY HILLSCA                 $200.00
                    08/31       09/01       LAZY DAISY OF BEVE     BEVERLY HILLSCA                  $14.04
                    09/01       09/02       NETFLIX.COM         NETFLIX.COM CA                      $11.99
                    08/31       09/02       TOBACCO ROYALE         CALABASAS CA                     $75.00
                    09/02       09/05       WORLDMARKET.COM           877-967-5362 PA              $534.32
                    09/02       09/05       PAYPAL *LIN YAN TAO      4029357733 CA                  $28.90
                    09/02       09/05       PAYPAL *TRICITYPAIN     4029357733 CA                   $12.92
                    09/02       09/05       PAYPAL *SALONSUPPLY       4029357733 CA                $119.99
                    09/02       09/05       SP * LAVISH TAN      3103840010 CA                      $79.09
                    09/02       09/05       ABM ONSITE VIL WSTFLD WOODLAND HILLCA                    $1.00
                    08/30       09/07       GHAVAMI PLASTIC SURGER BEVERLY HILLSCA                -$200.00
                    09/13       09/14       IMDb            206-266-2425 W A                       $149.99
                                            Total Purchase Activity                              $1,850.41




                                                                                              EX. KKK - 150
                                                                                                                          Page 3 of 6
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
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                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $0.00                             Total Interest charged in 2016              $177.87
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL




                                                                                                                                        014565 3/6
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate



                    Customer Notifications

                   As of your statement date, your account reflects a credit balance that you may apply to
                   future purchases. If you choose, you may request a refund by contacting us at
                   1-844-724-2600 or myluxurycard.com.




                                                                                                                        EX. KKK - 151
            Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                      Desc
                                                                                                                 November 12, 2016
                                                              Exhibit HHH-KKK Page 280 of 297Minimum Payment Due           $27.00
                                                                                                                                  Previous Balance                               -$61.76
                                                                                                                                  Statement Balance                               $92.01


Customer News                                          MasterCard® Black Card Statement
                                                       Issued by Barclaycard                                                                                                  Page 1 of 5
                                                       Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
                                                       Statement Billing Period: 09/16/16 - 10/15/16                                                                  myluxurycard.com
Be sure to register at
                                                       Account Summary                                                        Activity Summary
myluxurycard.com to
                                                       Minimum Payment Due                                    $27.00          Previous Balance                                  -$61.76
manage your Luxury Card
                                                       Payment Due Date                                     11/12/16           - Payments                                         $0.00
account, make payments,
                                                       Statement End Date                                   10/15/16          + Purchases                                       $153.77
check your point balance,
                                                       Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
redeem points with our
                                                       Available Revolving Line                           $11,407.99          + Balance Transfers                                 $0.00
Industry-Leading Rewards
                                                       Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
Program and more.
                                                       Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                       Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
EXTENDED WARRANTY                                      Overlimit Amount                                        $0.00          Statement Balance                                  $92.01
PROTECTION
Protect your possessions with
double the original manufacturer’s
                                                         Payment Information
warranty (or US store brand) where




                                                                                                                                                                                                   035718 1/5
                                                         Statement Balance                                                                                                   $92.01
each warranty is 24 months or less.
                                                         Minimum Payment Due                                                                                                 $27.00
Coverage is for eligible items                           Payment Due Date                                                                                                11/12/2016
purchased with your Luxury Card.
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                   You will pay off the
                                                             charges using this card and                 balance shown on this                   And you will end up paying
                                                                each month you pay…                      statement in about…                      an estimated total of…

                                                              Only the minimum payment                             4 months                                    $95.00

                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to myluxurycard.com.




          Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
   Make payments online at                                                                                                                                                                  1 11
                                                                Card Services
    myluxurycard.com                                            P.O. Box 60517
                                                                City of Industry, CA 91716-0517

   Check for address change.
   Complete form on the back.
                                                                                                      ------ manifest line ---------
                                                                                                      ROBIN C DIMAGGIO
                                                                                                      117
                                                                                                      5737 KANAN RD
    Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

  Account Number               IDPOS=token001-8888
  Minimum Payment Due                               $27.00
  Statement Balance                                 $92.01
  Payment Due Date                 November 12, 2016



                                                                                                                                                                        EX. KKK - 152
                                                                                                                                                Page 2 of 5
            Case 1:17-ap-01099-VK              Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                               Exhibit HHH-KKK Page 281 of 297


                                          Rewards Summary
TRAVEL ASSISTANCE SERVICES
Designed to assist you and your          Black Card Reward Points
travel companions when traveling,        Points Earned This Period                                                                                     154
                                         Bonus Points                                                                                  +                 0
MasterTrip Travel Assistance offers
                                         Points Redeemed This Period                                                                   -                 0
pre-trip destination services such as    Adjustments                                                                                   -                 0
visa, passport and immunization          Total Points Earned                                                                           =             7,179
requirements. Travel Service Medical
Assistance provides referrals to a
network of physicians and arranges        Activity for ROBIN C DIMAGGIO - card ending in 9683
hospital transfers. MasterLegal
                                          Purchases
Referral Service provides referrals to    Trans Date    Posting Date     Transaction Description                                                  Amount
attorneys, local embassies and            10/05         10/06            USA*USA*AMI MUSICBOX GRAND RAPIDS MI                                       $5.00
consulates. As a Cardmember, there        10/05         10/06            CVS/PHARMACY #09751        AGOURA    CA                                    $7.30
is no charge for these services and       10/05         10/07            ADAMS LIQUOR            LOS ANGELES CA                                     $5.50
enrollment is automatic.                  10/05         10/10            THE ORIGINAL CORK        GLENDALE CA                                     $135.97
                                                                         Total Purchase Activity                                                  $153.77



                                          Summary of Fees and Interest




                                                                                                                                                              035718 2/5
                                          Fees Charged
                                          Trans Date Posting Date Transaction Description                                                         Amount

                                                                         Total Fees for this Period                                                  $0.00
                                          Interest Charged
                                          Trans Date Posting Date Transaction Description                                                         Amount

                                                                         Total Interest for this Period                                              $0.00


                                          Year-to-Date Summary of Fees and Interest Charged*
                                         Total Fees charged in 2016 $0.00                              Total Interest charged in 2016              $177.87
                                         *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                         dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                         been made.

                                         Interest Charge Calculation - 30 Days in Billing Cycle

                                                                                           Promotional Balance       ANNUAL
                                                                                            Rate End    Subject to PERCENTAGE                  Interest
                                                                                              Date    Interest Rate RATE (APR)                  Charge
                                          Purchases
                                           Current Purchases                                     ---              $0.00          15.24% (v)      $0.00
                                          Balance Transfers
                                           Current Balance Transfers/Checks                      ---              $0.00          15.24% (v)      $0.00
                                          Cash Advances
                                           Current Cash Advance                                  ---              $0.00          25.49% (v)      $0.00
                                          Total                                                                                                 $0.00
                                          Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                              EX. KKK - 153
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                       Desc
                                                                                                                  December 12, 2016
                                                               Exhibit HHH-KKK Page 282 of 297Minimum Payment Due             None
                                                                                                                                   Previous Balance                                $92.01
                                                                                                                                   Statement Balance                                $0.00


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 5
                                                        Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
IT’SFOOTBALL SEASON                                     Statement Billing Period: 10/16/16 - 11/15/16                                                                  myluxurycard.com
Contact Luxury Card Concierge
                                                        Account Summary                                                        Activity Summary
to purchase tickets to your home
                                                        Minimum Payment Due                                     $0.00          Previous Balance                                   $92.01
team's games or to catch a game
                                                        Payment Due Date                                     12/12/16           - Payments                                       $782.01
on your next business or personal
                                                        Statement End Date                                   11/15/16          + Purchases                                         $0.00
trip.
                                                        Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
                                                        Available Revolving Line                           $11,500.00          + Balance Transfers                                 $0.00
MESSAGING ALERTS                                        Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
Sign up for account servicing                           Available Cash Line                                 $4,600.00          + Fees Charged                                    $690.00
alerts to receive payment                               Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
reminders, spending snapshots                           Overlimit Amount                                        $0.00          Statement Balance                                   $0.00
and more. Text alerts are a
quicker and less intrusive way
to reach you about potentially
                                                          Payment Information
fraudulent activity. To enroll,




                                                                                                                                                                                                    016513 1/5
                                                          Statement Balance                                                                                                    $0.00
visit myluxurycard.com.
                                                          Minimum Payment Due                                                                                                  None
                                                          Payment Due Date                                                                                                12/12/2016
GLOBAL ACCEPTANCE                                         Late Payment Warning: If we do not receive your minimum payment by the date
For your convenience,                                     listed above, you may have to pay a late fee of up to $37.00.
your Luxury Card is accepted
                                                          Minimum Payment Warning: If you make only the minimum payment each period,
at 8 million retailers in more                            you will pay more in interest and it will take you longer to pay off your balance. For
than 210 countries and territories.                       example:

                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…

                                                               Only the minimum payment                             0 months                                     $0.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                 None
  Statement Balance                                   $0.00
  Payment Due Date                  December 12, 2016



                                                                                                                                                                         EX. KKK - 154
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 283 of 297


                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                                       0
                   Bonus Points                                                                                  +                 0
                   Points Redeemed This Period                                                                   -             5,000
                   Adjustments                                                                                   -                 0
                   Total Points Earned                                                                           =             2,179


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    11/07      11/07        Payment Received       CITIBANK FSB                                             -$782.01
                                                   Total Payment Activity                                                   -$782.01



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount




                                                                                                                                        016513 2/5
                    10/31         10/31            ANNUAL FEE                                                               $495.00
                    10/31         10/31            AUTH USER ANNUAL FEE                                                     $195.00
                                                   Total Fees for this Period                                               $690.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2016 $690.00                           Total Interest charged in 2016              $177.87
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2016. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.24% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.24% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.49% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 155
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                      Desc
                                                                                                                  February 12, 2017
                                                               Exhibit HHH-KKK Page 284 of 297Minimum Payment Due           $27.00
                                                                                                                                   Previous Balance                                 $0.00
                                                                                                                                   Statement Balance                              $211.74


Customer News                                           MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 5
                                                        Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
VARIABLE APR INFORMATION                                Statement Billing Period: 12/16/16 - 01/15/17                                                                  myluxurycard.com
As a result of the recent increase
                                                        Account Summary                                                        Activity Summary
in the Prime Rate, variable annual
                                                        Minimum Payment Due                                    $27.00          Previous Balance                                    $0.00
percentage rates (APRs) have risen
                                                        Payment Due Date                                     02/12/17           - Payments                                         $0.00
accordingly. Your APRs are displayed
                                                        Statement End Date                                   01/15/17          + Purchases                                       $211.74
on this billing statement in the
                                                        Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
section titled "Interest Charge
                                                        Available Revolving Line                           $11,288.26          + Balance Transfers                                 $0.00
Calculation." If you have a variable
                                                        Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
rate, indicated by a (v), a change in
                                                        Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
the Prime Rate could affect your
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
minimum payment due. This is
                                                        Overlimit Amount                                        $0.00          Statement Balance                                 $211.74
because your APR is used to
calculate the interest charge, which
is included in your minimum
payment due.                                              Payment Information




                                                                                                                                                                                                    017885 1/5
                                                          Statement Balance                                                                                                   $211.74
                                                          Minimum Payment Due                                                                                                  $27.00
SUPER BOWL LI
                                                          Payment Due Date                                                                                                  2/12/2017
This year's Super Bowl will be held
in Houston, Texas, on February 5.                         Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
Contact Luxury Card Concierge for
last-minute tickets, game-day events                      Minimum Payment Warning: If you make only the minimum payment each period,
or the best place to view the game                        you will pay more in interest and it will take you longer to pay off your balance. For
                                                          example:
in your area.

                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…
SMALL CHIP. BIG SECURITY.
Rest assured your Luxury Card                                  Only the minimum payment                             9 months                                   $225.00
products feature chip technology,                         If you would like information about credit counseling services, please call 800-570-1403.
ensuring more security at chip-card
terminals in the United States and                      * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
abroad.                                                   to myluxurycard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $27.00
  Statement Balance                                $211.74
  Payment Due Date                    February 12, 2017



                                                                                                                                                                         EX. KKK - 156
                                                                                                                                      Page 2 of 5
           Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                             Desc
                                      Exhibit HHH-KKK Page 285 of 297


                                Rewards Summary
VALENTINE'S DAY
Don't forget flowers or a      Black Card Reward Points
gift for the special people    Points Earned This Period                                                                                     212
                               Bonus Points                                                                                  +                 0
in your life on February 14!
                               Points Redeemed This Period                                                                   -                 0
We are available to assist     Adjustments                                                                                   -                 0
you in planning the ultimate   Total Points Earned                                                                           =             2,391
surprise or the understated
flower arrangement. Call
Luxury Card Concierge at        Activity for ROBIN C DIMAGGIO - card ending in 9683
844.724.2500 or email
                                Purchases
concierge@luxurycard.com .      Trans Date Posting Date Transaction Description                                                         Amount
                                01/08      01/10        CAESARS PLACE ADV RSVN 08662094732 NV                                           $211.74
                                                               01/07/17 TO 01/08/17

                                                               Total Purchase Activity                                                  $211.74



                                Summary of Fees and Interest
                                Fees Charged




                                                                                                                                                    017885 2/5
                                Trans Date Posting Date Transaction Description                                                         Amount

                                                               Total Fees for this Period                                                  $0.00
                                Interest Charged
                                Trans Date Posting Date Transaction Description                                                         Amount

                                                               Total Interest for this Period                                              $0.00


                                Year-to-Date Summary of Fees and Interest Charged*
                               Total Fees charged in 2017 $0.00                              Total Interest charged in 2017                $0.00
                               *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                               dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                               been made.

                               Interest Charge Calculation - 31 Days in Billing Cycle

                                                                                  Promotional Balance       ANNUAL
                                                                                   Rate End    Subject to PERCENTAGE                 Interest
                                                                                     Date    Interest Rate RATE (APR)                 Charge
                                Purchases
                                   Current Purchases                                   ---              $0.00          15.49% (v)      $0.00
                                Balance Transfers
                                   Current Balance Transfers/Checks                    ---              $0.00          15.49% (v)      $0.00
                                Cash Advances
                                   Current Cash Advance                                ---              $0.00          25.74% (v)      $0.00
                                Total                                                                                                 $0.00
                                Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                    EX. KKK - 157
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                        March 12, 2017
                                                               Exhibit HHH-KKK Page 286 of 297Minimum Payment Due                                                              $27.00
                                                                                                                                   Previous Balance                           $211.74
                                                                                                                                   Statement Balance                          $268.79


Important Customer                                      MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 5
   Information                                          Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
                                                        Statement Billing Period: 01/16/17 - 02/15/17                                                                  myluxurycard.com

LUXURY MAGAZINE SPRING                                  Account Summary                                                        Activity Summary
ISSUE                                                   Minimum Payment Due                                    $27.00          Previous Balance                                  $211.74
Spring into the new season with                         Payment Due Date                                     03/12/17           - Payments                                       $848.71
the hottest in fashion, electronics,                    Statement End Date                                   02/15/17          + Purchases                                       $905.76
travel and more. Your Spring issue                      Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
of LUXURY MAGAZINE is coming to                         Available Revolving Line                           $11,231.21          + Balance Transfers                                 $0.00
you in early March.                                     Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
                                                        Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
                                                        Overlimit Amount                                        $0.00          Statement Balance                                 $268.79
VIP AIRPORT LOUNGE ACCESS
WITH PRIORITY PASS™ SELECT
Enjoy complimentary access to
                                                          Payment Information
tranquility, service, space and




                                                                                                                                                                                                    018899 1/5
                                                          Statement Balance                                                                                                   $268.79
comfort in more than 950 lounges
                                                          Minimum Payment Due                                                                                                  $27.00
across 400 cities worldwide.
                                                          Payment Due Date                                                                                                  3/12/2017
                                                          Late Payment Warning: If we do not receive your minimum payment by the date
                                                          listed above, you may have to pay a late fee of up to $37.00.
AIRPORT "MEET & GREET"                                    Minimum Payment Warning: If you make only the minimum payment each period,
Save time, avoid hectic crowds and                        you will pay more in interest and it will take you longer to pay off your balance. For
bypass the inconvenience of airport                       example:
procedures by having a professional
representative meet and escort you                             If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
through the airport process in an                                                                                                                  an estimated total of…
                                                                 each month you pay…                      statement in about…
expedited fashion.
                                                               Only the minimum payment                            11 months                                   $289.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
    Amount Enclosed:        $                                                                          AGOURA HILLS CA 91301-1601

  Account Number                IDPOS=token001-8888
  Minimum Payment Due                                $27.00
  Statement Balance                                $268.79
  Payment Due Date                       March 12, 2017



                                                                                                                                                                         EX. KKK - 158
                                                                                                                                         Page 2 of 5
           Case 1:17-ap-01099-VK        Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                        Exhibit HHH-KKK Page 287 of 297


                                   Rewards Summary
YOUR 2016 ANNUAL
SUMMARY IS HERE!                  Black Card Reward Points
                                  Points Earned This Period                                                                                     906
It's a handy breakdown of all
                                  Bonus Points                                                                                  +                 0
your card transactions during     Points Redeemed This Period                                                                   -                 0
the past year. You can view,      Adjustments                                                                                   -                 0
download and print it at          Total Points Earned                                                                           =             3,297
myluxurycard.com.
See itemized purchases and
payments - listed by category,     Activity for ROBIN C DIMAGGIO - card ending in 9683
organized by month. Make           Payments
tax-time easier - get details      Trans Date Posting Date Transaction Description                                                         Amount
of your transactions, including    02/02      02/02        Payment Received       CITIBANK FSB                                             -$848.71
those made by authorized users.                                   Total Payment Activity                                                   -$848.71

                                   Purchases
                                   01/15     01/17                CAESARS HOTEL & CASINO LAS VEGAS                   NV                    $448.58
                                                                  01/13/17 TO 01/15/17

                                   01/28         01/30            Acre Garden Supply  Woodland HillCA                                      $147.26
                                   01/28         01/30            PHO SO 1 RESTAURANT    RESEDA     CA                                      $41.13




                                                                                                                                                       018899 2/5
                                   01/31         02/02            BEVERLY GLEN DELI    LOS ANGELES CA                                       $23.71
                                   02/01         02/02            LEO AND LILY       WOODLAND HILLCA                                       $113.08
                                   02/01         02/03            GELSON'S MARKETS #5    TARZANA     CA                                    $116.25
                                   02/02         02/06            STARBUCKS STORE 00563 WEST HILLS CA                                       $15.75
                                                                  Total Purchase Activity                                                  $905.76



                                   Summary of Fees and Interest
                                   Fees Charged
                                   Trans Date Posting Date Transaction Description                                                         Amount

                                                                  Total Fees for this Period                                                  $0.00
                                   Interest Charged
                                   Trans Date Posting Date Transaction Description                                                         Amount

                                                                  Total Interest for this Period                                              $0.00


                                   Year-to-Date Summary of Fees and Interest Charged*
                                  Total Fees charged in 2017 $0.00                              Total Interest charged in 2017                $0.00
                                  *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                  dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                  been made.

                                  Interest Charge Calculation - 31 Days in Billing Cycle

                                                                                     Promotional Balance       ANNUAL
                                                                                      Rate End    Subject to PERCENTAGE                 Interest
                                                                                        Date    Interest Rate RATE (APR)                 Charge
                                   Purchases
                                    Current Purchases                                     ---              $0.00          15.49% (v)      $0.00
                                   Balance Transfers
                                    Current Balance Transfers/Checks                      ---              $0.00          15.49% (v)      $0.00
                                   Cash Advances
                                    Current Cash Advance                                  ---              $0.00          25.74% (v)      $0.00
                                   Total                                                                                                 $0.00
                                   Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                       EX. KKK - 159
             Case 1:17-ap-01099-VK                             Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08
                                                                                                      Due Date
                                                                                                                                                                           Desc
                                                                                                                                                                          April 12, 2017
                                                               Exhibit HHH-KKK Page 288 of 297Minimum Payment Due                                                                  None
                                                                                                                                   Previous Balance                             $268.79
                                                                                                                                   Statement Balance                               $0.00


Important Customer                                      MasterCard® Black Card Statement
                                                        Issued by Barclaycard                                                                                                  Page 1 of 5
   Information                                          Primary Account Number Ending in: 9683                                                               Questions? Call 844-724-2600
                                                        Statement Billing Period: 02/16/17 - 03/15/17                                                                  myluxurycard.com

March 2017 Customer News                                Account Summary                                                        Activity Summary
VIP Airport Lounge Additions*                           Minimum Payment Due                                     $0.00          Previous Balance                                  $268.79
With Priority Pass™ Select, you can                     Payment Due Date                                     04/12/17           - Payments                                       $268.79
unwind at more than 1,000 lounges                       Statement End Date                                   03/15/17          + Purchases                                         $0.00
globally, in more than 500 cities and                   Revolving Line                                     $11,500.00           - Other Credits                                    $0.00
130 countries.                                          Available Revolving Line                           $11,500.00          + Balance Transfers                                 $0.00
*Benefit not available to MasterCard                    Cash Credit Line                                    $4,600.00          + Cash Advances                                     $0.00
Titanium Card members.                                  Available Cash Line                                 $4,600.00          + Fees Charged                                      $0.00
                                                        Past Due Amount                                         $0.00          + Interest Charged                                  $0.00
Auto Rental Collision Waiver                            Overlimit Amount                                        $0.00          Statement Balance                                   $0.00
Car rental services purchased with
your eligible Luxury Card allow
reimbursement for any damages due
to collision or theft that may occur.                     Payment Information




                                                                                                                                                                                                    019663 1/5
                                                          Statement Balance                                                                                                     $0.00
Purchase Security                                         Minimum Payment Due                                                                                                   None
Purchase Security will replace, repair                    Payment Due Date                                                                                                  4/12/2017
or reimburse you for eligible items                       Late Payment Warning: If we do not receive your minimum payment by the date
of personal property in the event of                      listed above, you may have to pay a late fee of up to $37.00.
theft or other damages within the                         Minimum Payment Warning: If you make only the minimum payment each period,
first ninety (90) days of purchase.                       you will pay more in interest and it will take you longer to pay off your balance. For
Items must be purchased with your                         example:
Luxury Card.
                                                               If you make no additional                   You will pay off the
                                                              charges using this card and                 balance shown on this                   And you will end up paying
                                                                 each month you pay…                      statement in about…                      an estimated total of…

                                                               Only the minimum payment                             0 months                                     $0.00

                                                          If you would like information about credit counseling services, please call 800-570-1403.

                                                        * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                          statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                          to myluxurycard.com.




           Detach here. Please make checks payable to "Card Services" and include this payment coupon in the enclosed envelope. Please allow 7-10 days for U.S. Postal Service delivery.




Payment Coupon
    Make payments online at                                                                                                                                                                  1 11
                                                                 Card Services
    myluxurycard.com                                             P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       117
                                                                                                       5737 KANAN RD
     Amount Enclosed:       $                                                                          AGOURA HILLS CA 91301-1601

   Account Number               IDPOS=token001-8888
   Minimum Payment Due                                None
   Statement Balance                                  $0.00
   Payment Due Date                        April 12, 2017



                                                                                                                                                                         EX. KKK - 160
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 289 of 297


                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                                       0
                   Bonus Points                                                                                  +                 0
                   Points Redeemed This Period                                                                   -                 0
                   Adjustments                                                                                   -                 0
                   Total Points Earned                                                                           =             3,297


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    02/23      02/23        Payment Received       CITIBANK FSB                                             -$268.79
                                                   Total Payment Activity                                                   -$268.79



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount




                                                                                                                                        019663 2/5
                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $0.00                             Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 28 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.49% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.49% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.74% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 161
               Case 1:17-ap-01099-VK                          Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                                                                       Desc
                                                                                                                                                                      July 12, 2017
                                                              Exhibit HHH-KKK Page 290 of 297Minimum Payment Due                                                            $27.00
                                                                                                                               Previous Balance                               $0.00
                                                                                                                               Statement Balance                           $131.74


Important Customer                                     MasterCard® Black Card Statement
                                                       Issued by Barclaycard                                                                                               Page 1 of 5
   Information                                         Primary Account Number Ending in: 9683                                                            Questions? Call 844-724-2600
                                                       Statement Billing Period: 05/16/17 - 06/15/17                                                               myluxurycard.com

INDEPENDENCE DAY                                        Account Summary                                                     Activity Summary
Contact Luxury Card Concierge to                        Minimum Payment Due                                 $27.00          Previous Balance                                  $0.00
help you find all the spectacular                       Payment Due Date                                  07/12/17           - Payments                                     $977.14
Fourth of July parades and activities                   Statement End Date                                06/15/17          + Purchases                                   $1,108.88
in your local area or on your                           Revolving Line                                  $11,500.00           - Other Credits                                  $0.00
vacation route. Specialists are                         Available Revolving Line                        $11,368.26          + Balance Transfers                               $0.00
available around the clock by calling                   Cash Credit Line                                 $4,600.00          + Cash Advances                                   $0.00
844.724.2500 or emailing                                Available Cash Line                              $4,600.00          + Fees Charged                                    $0.00
concierge@luxurycard.com.                               Past Due Amount                                      $0.00          + Interest Charged                                $0.00
                                                        Overlimit Amount                                     $0.00          Statement Balance                               $131.74
LUXURY LOUNGE NY
If your travels take you to New York
City this summer, be sure to stop in
                                                         Payment Information
our newly opened LUXURY LOUNGE




                                                                                                                                                                                                     021924 1/5
                                                         Statement Balance                                                                                                $131.74
NY, located at 645 Madison Avenue.
                                                         Minimum Payment Due                                                                                               $27.00
Enjoy a respite from the busy streets
                                                         Payment Due Date                                                                                               7/12/2017
of Manhattan as well as a curated
selection of the most sought-after                       Late Payment Warning: If we do not receive your minimum payment by the date
                                                         listed above, you may have to pay a late fee of up to $37.00.
products across the art, fashion and
design categories.                                       Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:


BAGGAGE DELAY INSURANCE                                       If you make no additional                  You will pay off the
                                                             charges using this card and                balance shown on this                 And you will end up paying
If checked baggage is delayed in                                                                                                               an estimated total of…
                                                                each month you pay…                     statement in about…
transit for a common carrier flight
purchased using your eligible Luxury                          Only the minimum payment                           6 months                                  $137.00
Card, you will be reimbursed for the                     If you would like information about credit counseling services, please call 800-570-1403.
cost of replacing essential personal
                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
or business items up to $100 per
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
day.                                                     to myluxurycard.com.




  Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
    Make payments online at                                                                                                                                                                   1 11
                                                                Card Services
     myluxurycard.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
     Amount Enclosed:        $                                                                       AGOURA HILLS CA 91301-1601

   Account Number                IDPOS=token001-8888
   Minimum Payment Due                              $27.00
   Statement Balance                               $131.74
   Payment Due Date                          July 12, 2017



                                                                                                                                                                     EX. KKK - 162
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 291 of 297


                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                                   1,109
                   Bonus Points                                                                                  +                 0
                   Points Redeemed This Period                                                                   -                 0
                   Adjustments                                                                                   -                 0
                   Total Points Earned                                                                           =             4,406


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    06/05      06/05        Payment Received       CITIBANK FSB                                             -$977.14
                                                   Total Payment Activity                                                   -$977.14

                    Purchases
                    05/26         05/29            WHITE HARTE PUB      WOODLAND HILLCA                                     $135.00
                    05/26         05/29            WHITE HARTE PUB      WOODLAND HILLCA                                     $201.14
                    05/30         05/31            STRETCH          LOS ANGELES CA                                          $522.00
                    05/30         06/01            FOUR SEASONS WLAKE SPA WESTLAKE VILLCA                                   $119.00




                                                                                                                                        021924 2/5
                    06/02         06/05            SHELL OIL 57444585301 CALABASAS CA                                        $10.76
                    06/02         06/05            SHELL OIL 57444585301 CALABASAS CA                                        $21.01
                    06/02         06/05            GELSON'S MARKETS #11 CALABASAS CA                                         $99.97
                                                   Total Purchase Activity                                                 $1,108.88



                    Summary of Fees and Interest
                    Fees Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $0.00                             Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 31 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.74% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.74% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          25.99% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 163
               Case 1:17-ap-01099-VK                           Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                               07/23/18    17:02:08August
                                                                                                      Due Date
                                                                                                                      Desc12, 2017
                                                               Exhibit HHH-KKK Page 292 of 297Minimum Payment Due            None
                                                                                                                               Previous Balance                              $131.74
                                                                                                                               Statement Balance                               $0.00


Important Customer                                     Mastercard Black Card Statement
                                                       Issued by Barclaycard                                                                                               Page 1 of 5
   Information                                         Primary Account Number Ending in: 9683                                                            Questions? Call 844-724-2600
                                                       Statement Billing Period: 06/16/17 - 07/15/17                                                               myluxurycard.com

New Updates to Your Luxury                              Account Summary                                                     Activity Summary
Card Benefits                                           Minimum Payment Due                                  $0.00          Previous Balance                                 $131.74
We are pleased to announce that                         Payment Due Date                                  08/12/17           - Payments                                      $131.74
beginning August 9, 2017, your                          Statement End Date                                07/15/17          + Purchases                                        $0.00
Auto Rental Collision Damage                            Revolving Line                                  $11,500.00           - Other Credits                                   $0.00
Waiver, Trip Cancellation and                           Available Revolving Line                        $11,500.00          + Balance Transfers                                $0.00
Interruption, and Purchase                              Cash Credit Line                                 $4,600.00          + Cash Advances                                    $0.00
Assurance coverage will expand.                         Available Cash Line                              $4,600.00          + Fees Charged                                     $0.00
The provider and contact                                Past Due Amount                                      $0.00          + Interest Charged                                 $0.00
information will also change. In                        Overlimit Amount                                     $0.00          Statement Balance                                  $0.00
addition, your Price Protection and
Extended Warranty notification
timeframes will be extended. You'll                      Payment Information
also receive a new benefit: Trip




                                                                                                                                                                                                     051297 1/5
                                                         Statement Balance                                                                                                  $0.00
Delay. The Baggage Delay, Travel                         Minimum Payment Due                                                                                                None
Accident Insurance and Return                            Payment Due Date                                                                                               8/12/2017
Protection coverages will stay the
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
same, but the provider and contact
                                                         listed above, you may have to pay a late fee of up to $37.00.
information will change. For details
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
about your individual benefits,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
please see the new Guide to                              example:
Benefits at myluxurycard.com.

                                                               If you make no additional                 You will pay off the
                                                              charges using this card and               balance shown on this                 And you will end up paying
                                                                 each month you pay…                    statement in about…                    an estimated total of…

                                                               Only the minimum payment                          0 months                                    $0.00

                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to myluxurycard.com.




  Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
    Make payments online at                                                                                                                                                                   1 11
                                                                 Card Services
     myluxurycard.com                                            P.O. Box 60517
                                                                 City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     117
                                                                                                     5737 KANAN RD
     Amount Enclosed:        $                                                                       AGOURA HILLS CA 91301-1601

   Account Number                IDPOS=token001-8888
   Minimum Payment Due                                None
   Statement Balance                                  $0.00
   Payment Due Date                     August 12, 2017



                                                                                                                                                                     EX. KKK - 164
                                                                                                                                              Page 2 of 5
           Case 1:17-ap-01099-VK             Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                             Exhibit HHH-KKK Page 293 of 297


                                        Rewards Summary
Global Acceptance
For your convenience, your Luxury      Black Card Reward Points
Card is accepted at 8 million          Points Earned This Period                                                                                       0
                                       Bonus Points                                                                                  +                 0
domestic retailers and is part of an
                                       Points Redeemed This Period                                                                   -                 0
operating network in more than 210     Adjustments                                                                                   -                 0
countries and territories.             Total Points Earned                                                                           =             4,406

Extended Warranty Protection
Double the original manufacturer's      Activity for ROBIN C DIMAGGIO - card ending in 9683
warranty (or US store brand) where      Payments
each warranty is 24 months or less.     Trans Date Posting Date Transaction Description                                                         Amount
Coverage is eligible for most items     07/05      07/05        Payment Received       CITIBANK FSB                                             -$131.74
purchased with your Luxury Card.                                       Total Payment Activity                                                   -$131.74



                                        Summary of Fees and Interest
                                        Fees Charged
                                        Trans Date Posting Date Transaction Description                                                         Amount




                                                                                                                                                            051297 2/5
                                                                       Total Fees for this Period                                                  $0.00
                                        Interest Charged
                                        Trans Date Posting Date Transaction Description                                                         Amount

                                                                       Total Interest for this Period                                              $0.00


                                        Year-to-Date Summary of Fees and Interest Charged*
                                       Total Fees charged in 2017 $0.00                              Total Interest charged in 2017                $0.00
                                       *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                       dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                       been made.

                                       Interest Charge Calculation - 30 Days in Billing Cycle

                                                                                         Promotional Balance       ANNUAL
                                                                                          Rate End    Subject to PERCENTAGE                  Interest
                                                                                            Date    Interest Rate RATE (APR)                  Charge
                                        Purchases
                                         Current Purchases                                     ---              $0.00          15.99% (v)      $0.00
                                        Balance Transfers
                                         Current Balance Transfers/Checks                      ---              $0.00          15.99% (v)      $0.00
                                        Cash Advances
                                         Current Cash Advance                                  ---              $0.00          26.24% (v)      $0.00
                                        Total                                                                                                 $0.00
                                        Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                            EX. KKK - 165
                 Case 1:17-ap-01099-VK                          Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                                07/23/18    17:02:08October
                                                                                                       Due Date
                                                                                                                        Desc12, 2017
                                                                Exhibit HHH-KKK Page 294 of 297Minimum Payment Due          $115.12
                                                                                                                                 Previous Balance                                $0.00
                                                                                                                                 Statement Balance                          $11,512.08


Important Customer                                       Mastercard Black Card Statement
                                                         Issued by Barclaycard                                                                                               Page 1 of 5
   Information                                           Primary Account Number Ending in: 9683                                                            Questions? Call 844-724-2600
                                                         Statement Billing Period: 08/16/17 - 09/15/17                                                               myluxurycard.com

CREDIT LINE W ARNING                                      Account Summary                                                     Activity Summary
Your account balance is currently                         Minimum Payment Due                                $115.12          Previous Balance                                 $0.00
over the approved credit line. To                         Payment Due Date                                  10/12/17           - Payments                                      $0.00
bring your account into good                              Statement End Date                                09/15/17          + Purchases                                 $11,512.08
standing, please pay at least                             Revolving Line                                  $11,500.00           - Other Credits                                 $0.00
$127.20. This amount is equal to                          Available Revolving Line                             $0.00          + Balance Transfers                              $0.00
your minimum payment due of                               Cash Credit Line                                 $4,600.00          + Cash Advances                                  $0.00
$115.12 plus the amount over your                         Available Cash Line                                  $0.00          + Fees Charged                                   $0.00
credit line which is currently $12.08.                    Past Due Amount                                      $0.00          + Interest Charged                               $0.00
                                                          Overlimit Amount                                    $12.08          Statement Balance                           $11,512.08


D o n ’ t Forget Your Priority Pass
                                                           Payment Information
Select™ Card1




                                                                                                                                                                                                         054882 1/5
                                                           Statement Balance                                                                                            $11,512.08
Enjoy complimentary access to more
                                                           Minimum Payment Due                                                                                             $115.12
than 1,000 lounges in over 500 cities                      Payment Due Date                                                                                             10/12/2017
worldwide with Luxury Card’s VIP
                                                           Late Payment Warning: If we do not receive your minimum payment by the date
Airport Lounge Access program with
                                                           listed above, you may have to pay a late fee of up to $37.00.
Priority Pass Select.
                                                           Minimum Payment Warning: If you make only the minimum payment each period,
1
                                                           you will pay more in interest and it will take you longer to pay off your balance. For
 Benefit not available to                                  example:
Mastercard Titanium members.
                                                                If you make no additional                  You will pay off the
                                                               charges using this card and                balance shown on this                 And you will end up paying
                                                                  each month you pay…                     statement in about…                    an estimated total of…

                                                                Only the minimum payment                           25 years                                $26,076.00
                                                                                                                                                          $14,580.00
                                                                           $405.00                                  3 years
                                                                                                                                                    (Savings = $11,496.00)
                                                           If you would like information about credit counseling services, please call 800-570-1403.

                                                         * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                           statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                           to myluxurycard.com.



    Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




    Payment Coupon
      Make payments online at                                                                                                                                                                   2 3 11
                                                                  Card Services
       myluxurycard.com                                           P.O. Box 60517
                                                                  City of Industry, CA 91716-0517

      Check for address change.
      Complete form on the back.
                                                                                                       ------ manifest line ---------
                                                                                                       ROBIN C DIMAGGIO
                                                                                                       5737 KANAN RD 117
                                                                                                       AGOURA HILLS CA 91301-1601
       Amount Enclosed:        $

     Account Number                IDPOS=token001-8888
     Minimum Payment Due                             $115.12
     Statement Balance                           $11,512.08
     Payment Due Date                    October 12, 2017



                                                                                                                                                                       EX. KKK - 166
                                                                                                                                                Page 2 of 5
            Case 1:17-ap-01099-VK              Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                              Desc
                                               Exhibit HHH-KKK Page 295 of 297


                                          Rewards Summary
Back to School
With school back in session, life gets   Black Card Reward Points
even more hectic. Don't sweat the        Points Earned This Period                                                                                  11,511
                                         Bonus Points                                                                                  +                 0
small stuff! Let our dedicated
                                         Points Redeemed This Period                                                                   -            15,616
Concierge professionals assist you       Adjustments                                                                                   -                 0
with all your personal service needs,    Total Points Earned                                                                           =               301
large or small.

Return Protection                         Activity for ROBIN C DIMAGGIO - card ending in 9683
If you are not satisfied with a           Purchases
purchase and the retailer will not        Trans Date    Posting Date     Transaction Description                                                  Amount
allow it to be returned, Return           08/19         08/21            GUITAR CENTER #110       W HOLLYWOOD CA                                   $950.00
Protection provides coverage that         08/19         08/21            VIP SMOKE SHOP          WEST HOLLYWOOCA                                   $233.22
will reimburse you for the cost of an     08/19         08/23            BANG THE GAVEL AUCTION WESTLAKE VILLCA                                 $10,000.00
eligible item within 90 days of the       09/01         09/04            BOBBYS COFFEE SHOP        WOODLAND HILLCA                                  $27.29
                                          09/09         09/11            CHILDREN'S HOSPITAL LO LOS ANGELES CA                                      $17.28
date of purchase. Return Protection
                                          09/08         09/11            YOGIS GRILL WOODLAND WOODLAND HILLCA                                       $22.34
covers you for reimbursement of up        09/10         09/12            CHILDREN'S HOSPITAL OF LOS ANGELES CA                                      $10.00
to $500 per item at an annual             09/11         09/13            SHELL OIL 57444585301 CALABASAS CA                                         $29.00




                                                                                                                                                              054882 2/5
maximum of $1,000 per account.            09/11         09/13            ALBERTSONS 1335         CALABASAS CA                                      $222.95
Item(s) must be purchased with your                                      Total Purchase Activity                                                $11,512.08
eligible Luxury Card.

                                          Summary of Fees and Interest
                                          Fees Charged
                                          Trans Date Posting Date Transaction Description                                                         Amount

                                                                         Total Fees for this Period                                                  $0.00
                                          Interest Charged
                                          Trans Date Posting Date Transaction Description                                                         Amount

                                                                         Total Interest for this Period                                              $0.00


                                          Year-to-Date Summary of Fees and Interest Charged*
                                         Total Fees charged in 2017 $0.00                              Total Interest charged in 2017                $0.00
                                         *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                                         dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                                         been made.

                                         Interest Charge Calculation - 31 Days in Billing Cycle

                                                                                           Promotional Balance       ANNUAL
                                                                                            Rate End    Subject to PERCENTAGE                  Interest
                                                                                              Date    Interest Rate RATE (APR)                  Charge
                                          Purchases
                                           Current Purchases                                     ---              $0.00          15.99% (v)      $0.00
                                          Balance Transfers
                                           Current Balance Transfers/Checks                      ---              $0.00          15.99% (v)      $0.00
                                          Cash Advances
                                           Current Cash Advance                                  ---              $0.00          26.24% (v)      $0.00
                                          Total                                                                                                 $0.00
                                          Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                                              EX. KKK - 167
               Case 1:17-ap-01099-VK                          Doc 50-5 Filed 07/23/18 EnteredPayment
                                                                                              07/23/18    17:02:08
                                                                                                     Due Date
                                                                                                                      Desc
                                                                                                                 November 12, 2017
                                                              Exhibit HHH-KKK Page 296 of 297Minimum Payment Due           $97.62
                                                                                                                               Previous Balance                           $11,512.08
                                                                                                                               Statement Balance                           $9,762.08


Important Customer                                     Mastercard Black Card Statement
                                                       Issued by Barclaycard                                                                                               Page 1 of 5
   Information                                         Primary Account Number Ending in: 9683                                                            Questions? Call 844-724-2600
                                                       Statement Billing Period: 09/16/17 - 10/15/17                                                               myluxurycard.com

Holiday Travel                                          Account Summary                                                     Activity Summary
Contact Luxury Card Concierge to                        Minimum Payment Due                                   $97.62        Previous Balance                            $11,512.08
begin planning your holiday travel.                     Payment Due Date                                    11/12/17         - Payments                                  $1,750.00
Book flights, hotels, restaurant                        Statement End Date                                  10/15/17        + Purchases                                      $0.00
reservations and more for all of your                   Revolving Line                                         $0.00         - Other Credits                                 $0.00
family's festivities and plans.                         Available Revolving Line                               $0.00        + Balance Transfers                              $0.00
                                                        Cash Credit Line                                       $0.00        + Cash Advances                                  $0.00
Wireless Communication                                  Available Cash Line                                    $0.00        + Fees Charged                                   $0.00
Access secure and reliable                              Past Due Amount                                        $0.00        + Interest Charged                               $0.00
connections without high roaming                        Overlimit Amount                                       $0.00        Statement Balance                            $9,762.08
fees and enjoy peace of mind at
home and abroad. Call Luxury Card
Concierge to learn more.                                 Payment Information




                                                                                                                                                                                                     025182 1/5
                                                         Statement Balance                                                                                             $9,762.08
No Foreign Transaction Fees                              Minimum Payment Due                                                                                              $97.62
As a Luxury Card member you enjoy                        Payment Due Date                                                                                             11/12/2017
no foreign transaction fees on
                                                         Late Payment Warning: If we do not receive your minimum payment by the date
purchases made while traveling                           listed above, you may have to pay a late fee of up to $37.00.
abroad.
                                                         Minimum Payment Warning: If you make only the minimum payment each period,
                                                         you will pay more in interest and it will take you longer to pay off your balance. For
                                                         example:

                                                              If you make no additional                  You will pay off the
                                                             charges using this card and                balance shown on this                 And you will end up paying
                                                                each month you pay…                     statement in about…                    an estimated total of…

                                                              Only the minimum payment                           0 months                                    $0.00

                                                         If you would like information about credit counseling services, please call 800-570-1403.

                                                       * Repayment information is based on your account activity and the APRs on your account as of the closing date of this
                                                         statement. Account activity after the closing date is not reflected. To view your most recent transaction activity online, go
                                                         to myluxurycard.com.




  Additional messages may be on the next page(s). Make checks payable to "Card Services", allow 7-10 days for delivery. NOTICE: SEE REVERSE,OR END OF STATEMENT, FOR IMPORTANT INFORMATION.




Payment Coupon
    Make payments online at                                                                                                                                                                   1 11
                                                                Card Services
     myluxurycard.com                                           P.O. Box 60517
                                                                City of Industry, CA 91716-0517

    Check for address change.
    Complete form on the back.
                                                                                                     ------ manifest line ---------
                                                                                                     ROBIN C DIMAGGIO
                                                                                                     5737 KANAN RD 117
                                                                                                     AGOURA HILLS CA 91301-1601
     Amount Enclosed:        $

   Account Number                IDPOS=token001-8888
   Minimum Payment Due                              $97.62
   Statement Balance                             $9,762.08
   Payment Due Date                  November 12, 2017



                                                                                                                                                                     EX. KKK - 168
                                                                                                                          Page 2 of 5
Case 1:17-ap-01099-VK      Doc 50-5 Filed 07/23/18 Entered 07/23/18 17:02:08                                            Desc
                           Exhibit HHH-KKK Page 297 of 297


                    Rewards Summary
                   Black Card Reward Points
                   Points Earned This Period                                                                                        0
                   Bonus Points                                                                                  +                  0
                   Points Redeemed This Period                                                                   -                  0
                   Adjustments                                                                                   -                  0
                   Total Points Earned                                                                           =                  0


                    Activity for ROBIN C DIMAGGIO - card ending in 9683
                    Payments
                    Trans Date Posting Date Transaction Description                                                         Amount
                    09/27      09/28        PAYMENT RECEIVED-- THANK YOU                                                    -$150.00
                    10/04      10/04        Payment Received       CITIBANK FSB                                           -$1,600.00
                                                   Total Payment Activity                                                 -$1,750.00



                    Summary of Fees and Interest
                    Fees Charged




                                                                                                                                        025182 2/5
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Fees for this Period                                                  $0.00
                    Interest Charged
                    Trans Date Posting Date Transaction Description                                                         Amount

                                                   Total Interest for this Period                                              $0.00


                    Year-to-Date Summary of Fees and Interest Charged*
                    Total Fees charged in 2017 $0.00                             Total Interest charged in 2017                $0.00
                   *This Year-to-Date Summary reflects the Fees and Interest charged on billing statements with closing
                   dates in 2017. The Summary does not reflect any fees or interest adjustments and/or credits that have
                   been made.

                    Interest Charge Calculation - 30 Days in Billing Cycle

                                                                     Promotional Balance       ANNUAL
                                                                      Rate End    Subject to PERCENTAGE                  Interest
                                                                        Date    Interest Rate RATE (APR)                  Charge
                    Purchases
                        Current Purchases                                  ---              $0.00          15.99% (v)      $0.00
                    Balance Transfers
                        Current Balance Transfers/Checks                   ---              $0.00          15.99% (v)      $0.00
                    Cash Advances
                        Current Cash Advance                               ---              $0.00          26.24% (v)      $0.00
                    Total                                                                                                 $0.00
                    Your Annual Percentage Rate (APR) is the annual interest rate on your account. (v)=Variable Rate




                                                                                                                        EX. KKK - 169
